               Case 19-12269-CSS          Doc 81     Filed 11/13/19     Page 1 of 53


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )      Chapter 11
                                                    )
MTE HOLDINGS LLC, et al.,1                          )      Case No. 19-12269 (KBO)
                                                    )
                       Debtors.                     )      Joint Administration Requested
                                                    )

                       NOTICE OF FILING OF LIST OF CREDITORS

                PLEASE TAKE NOTICE that on November 13, 2019, the above-captioned

debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11

cases filed the attached consolidated list of creditors.

Dated: November 13, 2019                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                                         /s/ Daniel B. Butz
                                         Robert J. Dehney (No. 3578)
                                         Eric D. Schwartz (No. 3134)
                                         Daniel Butz (No. 4227)
                                         1201 North Market Street, 16th Floor
                                         P.O. Box 1347
                                         Wilmington, Delaware 19899-1347
                                         Telephone: (302) 658-9200
                                         Facsimile: (302) 658-3989
                                         Email: rdehney@mnat.com
                                                 eschwartz@mnat.com
                                                 dbutz@mnat.com

                                         - and -




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s
         federal tax identification number, are: MTE Holdings LLC (7894); MTE Partners LLC
         (1158); Olam Energy Resources I LLC (0770); MDC Energy LLC (9140); MDC Texas
         Operator LLC (1087); Ward I, LLC (6817); and MDC Reeves Energy LLC (3644). The
         Debtors’ address is 280 East 96th Street, Suite 210, Indianapolis, Indiana 46240.
             Case 19-12269-CSS    Doc 81    Filed 11/13/19    Page 2 of 53



                                 Andrew K. Glenn (admitted pro hac vice)
                                 Matthew B. Stein (admitted pro hac vice)
                                 David J. Mark (admitted pro hac vice)
                                 KASOWITZ BENSON TORRES LLP
                                 1633 Broadway
                                 New York, New York 10019
                                 Telephone: (212) 506-1700
                                 Facsimile: (212) 506-1800
                                 Email: AGlenn@kasowitz.com
                                         MStein@kasowitz.com
                                         DMark@kasowitz.com

                                 Proposed Counsel for Debtors and Debtors in
                                 Possession



13233711.2
                                                          Case 19-12269-CSS                   Doc 81             Filed 11/13/19   Page 3 of 53
                                                                                                  Creditor Matrix


             Name                        Address 1                         Address 2                          Address 3           Address 4            City         State       Zip      Country
1993 JEAN CAMP ROBILLARD       TRUST                          JEAN CAMP ROBILLARD MCINTOSH,           4154 BRUNSWICK DR.                      DALLAS           TX           75220
MCINTOSH                                                      TRUSTEE
2T PARTNERSHIP, LTD            P.O. BOX 1149                                                                                                  PECOS            TX           79772-1149
3:23 TRUCKING LLC              P.O. BOX 5404                                                                                                  MIDLAND          TX           79704
3D HOTSHOT SERVICE, LLC        1336 LINDBERG STREET                                                                                           ODESSA           TX           79763
3H TRUCKING, LLC               2840 S HWY 385                                                                                                 ODESSA           TX           79766
4C CONSTRUCTION                P.O. BOX 61850                                                                                                 MIDLAND          TX           79711
4-H FLOWBACK SERVICES, INC     NEW CENTURY FINANCIAL       P.O. BOX 27246                                                                     HOUSTON          TX           77227-7246
5J OILFIELD SERVICES, LLC      4090 N US HWY 79                                                                                               PALESTINE        TX           75801
A & E BRIERCREST, LLC          2249 CANYONBACK ROAD                                                                                           LOS ANGELES      CA           90049
A & G REED ENTERPRISES, LLC    P.O. BOX 1230                                                                                                  PORTERVILLE      CA           93258
A-1 SIGN ENGRAVERS, INC.       P.O. BOX 2641                                                                                                  MIDLAND          TX           79702
AAA WELL SERVICE, LLC          P.O. BOX 33                                                                                                    MILSAP           TX           76066
ABA DISPOSAL                   P.O. BOX 9025                                                                                                  MIDLAND          TX           79708
ABACUS COMPUTERS INC.          6 DESTA DRIVE, SUITE 1350                                                                                      MIDLAND          TX           79705
ABCD GIS MAPPING, LLC          8054 CAPTAIN MARY MILLER DR                                                                                    SHREVEPORT       LA           71115

ABIGAIL GRILLEY                8015 AVENELLO                                                                                                  SAN ANTONIO      TX           78250
ACCRETIVE ROYALTIES LTD        PARTNERSHIP, LLP               P.O. BOX 90037                                                                  HOUSTON          TX           77290
ACID SPECIALISTS LLC           P.O. BOX 47065                                                                                                 HOUSTON          TX           77210-7065
ACID TECH SERVICES             P.O. BOX 62708                                                                                                 MIDLAND          TX           79711
ADAMANDT OILFIELD SERVICES,    P.O. BOX 15110                                                                                                 ODESSA           TX           79768
LLC
ADDAX MINERALS FUND 2012 LP    5950 BERKSHIRE LANE,                                                                                           DALLAS           TX           75225
                               STE.1250
ADKINS SEPTIC SERVICES, LLC    311 W. COLLEGE ST.                                                                                             SONORA           TX           76950
ADMARC                         10 DESTA DRIVE , SUITE 170LL                                                                                   MIDLAND          TX           79705
ADNAN ALIMAHOMED               4415 NORTHCREST DR. , APT                                                                                      MIDLAND          TX           79707
                               2525
ADRIAN ZUNIGA                  CONSTRUCTION & TRUCKING        604 STOREY AVE                                                                  MIDLAND          TX           79701
ADVANCED SOLIDS CONTROL        5655 BEAR LANE, SUITE 100                                                                                      CORPUS CHRISTI   TX           78405
LLC
ADVANCED STIMULATION           P.O. BOX 2948                                                                                                  MIDLAND          TX           79702
TECHNOLOGIES
AES WATER SOLUTIONS         P.O. BOX 3685                                                                                                     LITTLE ROCK      AR           72202
AFD PETROLEUM, INC.         DBA AFD QUALITY FUELS &           11407 WCR 33                                                                    MIDLAND          TX           79707
                            PETROLEUM
AG ENERGY FUNDING, LLC      C/O ANGELO GORDON & CO.,          ATTN: CHAD HANOVER                      245 PARK AVE, 24TH                      NEW YORK         NY           10167
                            L.P.                                                                      FLOOR
AGGIETECH ENERGY SERVICES, BIG BEAR AGGIETECH                 P.O. BOX 7742                                                                   MIDLAND          TX           79708
LLC
AGUILAR ROYALTIES,LP        P.O. BOX 53188                                                                                                    LUBBOCK          TX           79453
AIM DIRECTIONAL SERVICES ID P.O. BOX 659506                                                                                                   SAN ANTONIO      TX           78265-9506
2138
AJ'S DRILLING RIG SUPPLIES, P.O. BOX 13058                                                                                                    ODESSA           TX           79768
LLC
ALAMO PRESSURE PUMPING LLC ATTN: JOE MCKIE                    P.O. BOX 641065                                                                 DALLAS           TX           75264-1034

ALAN DEAN WALLER               1450 LAKEVIEW RD                                                                                               WYLIE            TX           75098
ALAN R TRUCKING                3110 SHELL AVENUE                                                                                              MIDLAND          TX           79705
ALDAY TRUCKING LLC             920 EAST 25TH STREET                                                                                           ODESSA           TX           79761
ALDEN OESTREICH                10006 W. FM 580                                                                                                LAMPASAS         TX           76550
ALEX LORTE & MARIO A. ORTEGA   P.O. BOX 872                                                                                                   ODESSA           TX           79760

ALEX ORTEGA                    6110 HOLLOMAN AVE                                                                                              ODESSA           TX           79766
ALEXANDER OIL & GAS, LLC       3730 KIRBY DRIVE               SUITE 1000                                                                      HOUSTON          TX           77098
ALEXIS ANDERSON                2711 AZALEA AVE.               APT. 3115                                                                       FORT WORTH       TX           76107
ALFRED J. THIEDE               22858 NE 132ND PL                                                                                              REDMOND          WA           98053-5667


                                                                                              In re: MTE Holdings, LLC, et al.
                                                           Case 19-12269-CSS              Doc 81             Filed 11/13/19   Page 4 of 53
                                                                                              Creditor Matrix


            Name                          Address 1                           Address 2                      Address 3        Address 4          City         State       Zip      Country
ALLANA L. HARRIS                805 PARKHAVEN                                                                                             MESQUITE       TX           75149
ALLDALE MINERALS II, LP         2100 ROSS AVENUE            SUITE 1870 LB-9                                                               DALLAS         TX           75201
ALLDALE MINERALS, LP            2100 ROSS AVENUE            SUITE 1870 LB-9                                                               DALLAS         TX           75201
ALLEN W HAMILL JR FAMILY        PARTNERSHIP                 5 VIRGINIA AVE                                                                RICHMOND       VA           23226
ALLIED WIRELINE SERVICES, LLC   P.O. BOX 4346                                                                                             HOUSTON        TX           77210-4346

ALLY CONSULTING, LLC            P.O. BOX 17275                                                                                            DENVER         CO           80217
ALM INVESTMENTS, INC            27217 VERDI WAY                                                                                           MCKINNEY       TX           75070
ALNC INC.                       P.O. BOX 669                                                                                              SAN ANGELO     TX           76902
ALPHA & OMEGA, CONTRACT         SALES & CONSULTING          P.O. BOX 433                                                                  ODESSA         TX           79760
ALPHA KING ELECTRIC LLC.        6611 HALL OF FAME BLVD.                                                                                   MIDLAND        TX           79706
ALPHA TWENTY ONE
CORPORATION
ALPINE ROYALTIES, LLC           15601 N. DALLAS PARKWAY,                                                                                  ADDISON        TX           75001
                                SUITE 900
ALRON JONAH, LLC                3000 PONTIAC TRAIL                                                                                        COMMERCE       MI           48390
                                                                                                                                          TOWNSHIP
ALTON L HILLGER, TRUSTEE        ALTON L. HILLGER FAMILY     900 CR 430                                                                    BIG SPRING     TX           79720-7803
                                TRUST
ALTUS INTERVENTION USA,INC.     P.O. BOX 770249                                                                                           HOUSTON        TX           77215
AMANDA BLANKENSHIP              2103 ORLEANS DRIVE                                                                                        TALLAHASSEE    FL           32308
AMANDA CHAPMAN                  3604 ROCK TERRACE DR.                                                                                     LAGO VISTA     TX           78645
AMANDA EAGLE GEORGE             8627 MIDWAY RD                                                                                            DALLAS         TX           75209
AMANDA HENRY                    205 S CLARK ST                                                                                            ROCKWALL       TX           75087
AMANDA HOLLY                    P.O. BOX 80642                                                                                            MIDLAND        TX           79708
AMBER DENISE HILLGER            7801 BRANDON ROAD                                                                                         BIG SPRING     TX           79720
AMEGA-WEST SERVICES, LLC        7454 SOLUTION CENTER                                                                                      CHICAGO        IL           60777-004
AMERICAN EAGLE LOGISTICS,       1247 PETROLEUM PKWY                                                                                       BROUSSARD      LA           70518
LLC
AMERICAN SAFETY SERVICES        P.O. BOX 12874                                                                                            ODESSA         TX           79768
INC
AMERICAWEST ENERGY GROUP        GARY LAMB-MANAGING          P.O. BOX 3383                                                                 MIDLAND        TX           79702
LLC                             MEMBER
AMERIFLUSH                      PORTABLE SANITATION         4606 JOHNSON RD                                                               ODESSA         TX           79764
                                RENTALS
AMICUS SERVICES, INC.           P.O. BOX 3675                                                                                             MIDLAND        TX           79702
AMY DIANE ALLEN FULLERTON       P.O. BOX 10687                                                                                            MIDLAND        TX           79702
ANAYA TRUCKING, LLC             5327 W 42ND STREET                                                                                        ODESSA         TX           79764
ANCHOR DRILLING FLUIDS USA      ANCHOR USA                  P.O. BOX 1390                                                                 TULSA          OK           74101-1390
LLC
ANDERSON PERFORATING            DBA API PERFORATING         P.O. BOX 2037                                                                 ALBANY         TX           76430
SERVICES, LLC
ANDREWS ROYALTY LP              P.O. BOX 12208                                                                                            DALLAS         TX           75225
ANGELA DAWN PARTEN              204 FALL CREEK DRIVE                                                                                      RICHARDSON     TX           75080
ANGELA ESSMAN SPENCER           P.O. BOX 7501                                                                                             MIDLAND        TX           79708-7501
ANGELA HARRIS KILGORE           720 PARKHAVEN DRIVE                                                                                       MESQUITE       TX           75149
ANGELA K ALLEN                  P.O. BOX 10687                                                                                            MIDLAND        TX           79702
ANN ELAINE GLENN                202 VALLEY SPRING DRIVE                                                                                   ARLINGTON      TX           76018
ANN OSBORN SUTTEE               26227 100TH STREET          UNIT 3617                                                                     MAYSVILLE      OK           73057
ANN VAUGHN FARWELL
ANN W. WALZER LIVING TRUST      26 BEEHOLM ROAD                                                                                           WEST REDDING   CT           06896
ANNA K. MEYERS                  2707 GREENLEE DR.                                                                                         AUSTIN         TX           78703
ANNA NELSENE TUTT               498 KELLEY ROAD                                                                                           CROSSETT       AR           71635
ANNE BURNETT PHILLIPS           3310 WEST MAIN ST                                                                                         HOUSTON        TX           77098
ANNE DICKSON DANIEL
ANNE IRENE WALLACE ROGER-       207 BARLETT PEAK DRIVE                                                                                    GEORGETOWN     TX           78633
MCGOVNEY




                                                                                          In re: MTE Holdings, LLC, et al.
                                                       Case 19-12269-CSS                 Doc 81             Filed 11/13/19   Page 5 of 53
                                                                                             Creditor Matrix


           Name                        Address 1                             Address 2                      Address 3        Address 4         City            State       Zip      Country
ANNE M. PERRY               3781 WEST BLACK DIAMOND                                                                                      LECANTO          FL           34461
                            CIRCLE
ANNIE LADONIA RUNYON FAMILY U/A BANK OF AMERICA, N.A.,     P.O. BOX 840738                                                               DALLAS           TX           75284-0738
TRUST                       TRUSTEE
ANYTIME HOTSHOT, LLC        3602 W. MICHIGAN AVE                                                                                         MIDLAND          TX           79703
APERGY ESP SYSTEMS, LLC     ATTN: BOB HASKELL              19425 E 54TH STREET                                                           BROKEN ARROW     OK           74014
APERGY ESP SYSTEMS, LLC     JP MORGAN CHASE BANK, L.P.     P.O. BOX 732805                                                               DALLAS           TX           75373-0187
APOLLO LIGHTING SOLUTIONS   7903 W. INDUSTRIAL AVE                                                                                       MIDLAND          TX           79706
INC.
APOLLO PERFORATORS INC.     P.O. BOX 12940                                                                                               ODESSA           TX           79768-2940
APPLIED US ENERGY, INC.     DBA KNOX OILFIELD SUPPLY,      22510 NETWORK PLACE                                                           CHICAGO          IL           60673-1225
                            INC.
AQUARIUS CHEMICAL,LLC       4808 S. CR. 1140                                                                                             MIDLAND          TX           79706
ARC ELECTRIC LLC            P.O. BOX 80802                                                                                               MIDLAND          TX           79708
ARCHIE ROBERT & GWENDOLYN REVOCABLE TRUST                  P.O. BOX 1230                                                                 PORTERVILLE      CA           93257
REED
ARCHROCK SERVICES, L.P.     P.O. BOX 201160 , DALLAS, TX                                                                                 DALLAS           TX           75320-1160
ARIES WELL SERVICE,INC.     P.O. BOX 784                                                                                                 HOBBS            NM           88241
ARMAND SMITH, JR.           P.O. BOX 2865                                                                                                MIDLAND          TX           79702
ARMANDO MADRID              2607 HARVARD                                                                                                 MIDLAND          TX           79701
ARMSTRONG GAS LABS, INC.    P.O. BOX 988                                                                                                 MONAHANS         TX           79756
ARMSTRONG, BACKUS & CO. LLP 200 NORTH LORAINE STREET,      900 P.O. BOX 3487                                                             MIDLAND          TX           79702
                            SUITE
ARMSTRONG, BACKUS & CO.,    P.O. BOX 71                                                                                                  SAN ANGELO       TX           76902
LLP
ARNETTE ELIZABETH MAXWELL 1618 TUCUMCARI DR                                                                                              HOUSTON          TX           77090
LEE
ARROW FENCE CO              P.O. BOX 539                                                                                                 LEVELLAND        TX           79336
ARTHUR J. BRUNE, III        1610 STANOLIND AVE.                                                                                          MIDLAND          TX           79705
ART'S INSPECTION & PIPE     34 HORSESHOE BEND                                                                                            ODESSA           TX           79763
SERVICE
AT&T                        P.O. BOX 105414                                                                                              ATLANTA          GA           30348-5414
ATLAS SAND COMPANY,LLC      5914 W. COURTYARD DR.                                                                                        AUSTIN           TX           78730
                            STE.200
ATLAS TUBULAR, LLC          P.O. BOX 431                                                                                                 ROBSTOWN         TX           78380
AUGUST RESOURCES, LTD.      C/O H. L. BROWN OPERATING,     P.O. BOX 2237                                                                 MIDLAND          TX           79702-2237
                            LLC
AURORA CISNEROS GARCIA      8540 ADIRONDACK TRAIL #24                                                                                    AUSTIN           TX           78759
AUSTEN S. CAMPBELL, TRUSTEE P.O. BOX 11086                                                                                               MIDLAND          TX           79702

AUSTIN I. KING               2217 S. DANVILLE DRIVE                                                                                      ABILENE          TX           79605
AUTERS CORP
AVATAR SYSTEMS, INC.         2801 NETWORK BLVD., SUITE                                                                                   FRISCO           TX           75034
                             210
AVEDA TRANSPORTATION AND     SERVICES, RODAN TRANSPORT (USA), LTD, P.O. BOX 677619                                                       DALLAS           TX           75267-7619
ENERGY
AVEY RAYOS                   2410 N. BIG SPRING ST                                                                                       MIDLAND          TX           79705
AVIARE PLACE APARTMENTS      2600 LOOP 250                                                                                               MIDLAND          TX           79705
AVIATION INVESTMENT CORP.    3 WALNUT LANE                                                                                               ORCHARD LAKE     MI           48324
AXIS ENERGY SERVICES         AXIS PRESSURE CONTROL         DEPT #900-2                           P.O. BOX 4458                           HOUSTON          TX           77210-4458
                             SERVICES, LLC
AXIS PRESSURE CONTROL        DEPT.#900-2                   P.O. BOX 4458                                                                 HOUSTON          TX           77210-4458
SERVICES,LLC
AZOULAY FAMILY TRUST         U/A DATED 10-10-06            18111 PRESTON ROAD                    SUITE 1000                              DALLAS           TX           75252
AZOULAY, MOSHE               18111 PRESTON ROAD            SUITE 1000                                                                    DALLAS           TX           75252
AZTECA FABRICATION, INC.     P.O. BOX 1002                                                                                               MONAHANS         TX           79756
B & S NO. 1 LLC              20501 CHATSBORO DRIVE                                                                                       WOODLAND HILLS   CA           91346
B&L PIPECO SERVICES, INC.    ATTN: MIKE JOYCE              P.O. BOX 840280                                                               DALLAS           TX           75284-0280


                                                                                         In re: MTE Holdings, LLC, et al.
                                                                Case 19-12269-CSS                Doc 81             Filed 11/13/19   Page 6 of 53
                                                                                                     Creditor Matrix


              Name                        Address 1                                Address 2                        Address 3        Address 4         City           State       Zip      Country
B&T RENTALS                     1420 CARTER AVENUE                                                                                               MIDLAND         TX           79701
B&W CHEMICAL TOILETS, INC.      4500 SOUTH STATE HWY 349                                                                                         MIDLAND         TX           79706
B&W SOUTHERN PETROLEUM          35 WEST EDEN ELM CIRCLE                                                                                          THE WOODLANDS   TX           77381-4167
B. R. GRIFFIN OIL & GAS, LTD.   P.O. BOX 10126                                                                                                   LUBBOCK         TX           79408
BADGER BMB SERVICES, INC        1724 BALMORHEA HWY                                                                                               PECOS           TX           79772
BAILEY & GLASSER LLP            ATTN: BRIAN A. GLASSER KEVIN     1055 THOMAS JEFFERSON STREET NW                                                 WASHINGTON      DC           20007
                                W. BARRETT                       SUITE 540
BAKER BOTTS L.L.P.              P.O. BOX 301251                                                                                                  DALLAS          TX           75303-1251
BAKER HUGHES                    P.O. BOX 301057                                                                                                  DALLAS          TX           75303-1057
BALLPARKS FUTURE, LLC           2000 WINCHESTER                                                                                                  MCKINNEY        TX           75070
BANK OF MONTREAL                COMMODITY DERIVATIVE             3 SECOND ST., 12TH FLOOR                                                        JERSEY CITY     NJ           07302
                                OPERATIONS
BANK OF NEW YORK MELLON         240 GREENWICH STREET                                                                                             NEW YORK        NY           10286
BARBARA A. SNELL                422 VALLEY RANCH CIRCLE                                                                                          LITTLE ROCK     AR           72223
BARBARA ANN MERIWETHER          5004 PRESTON DRIVE                                                                                               MIDLAND         TX           79707
BARBARA ARMSTRONG               2703 KENROSS                                                                                                     HOUSTON         TX           77043
BARBARA C. TOCCO                6522 FALCON                                                                                                      LONG BEACH      CA           90805
BARBARA HARRIS                  C/O RICK COFER                   404 W. 13TH ST.                                                                 AUSTIN          TX           78701
BARBARA JEAN PANSOROSA          1730 WEST FOUNTAIN WAY                                                                                           FRESNO          CA           93705
BARBARA M. GOEDE                3232 FRUITVILLE RD.                                                                                              SARASOTA        FL           34237
BARBARA M. GOEDE                5202 MANORWOOD DR.                                                                                               SARASOTA        FL           34235
BARBARA M. RIESTER              3842 MALEC CIRCLE                                                                                                SARASOTA        FL           34233
BARBARA P. HILLIARD             32-B LAS TRES                                                                                                    LAMY            NM           87540
BARBARA PRIDDY CLARK            4600 GREENVILLE AVE              SUITE 129                                                                       DALLAS          TX           75231
BARBARA S STARK                 E 8696 WEST STATE HWY M28                                                                                        MUNISING        MI           49862
BARBARA W. CURRIE RATLIFF       P.O. BOX 238                                                                                                     GARDEN CITY     TX           79739
BARON HONEA                     6100 W. HWY 80                                                                                                   MIDLAND         TX           79706
BARRY HAILEY                    4900 WELETKA                                                                                                     AUSTIN          TX           78734
BARTON, EAST & CALDWELL,        700 NORTH SAINT MARY'S ST        SUITE 1825                                                                      SAN ANTONIO     TX           78205
P.L.L.C.
BASELINE ENERGY SERVICES,       P.O. BOX 470929                                                                                                  FORT WORTH      TX           76147
LP
BASIC ENERGY SERVICES           ATTN: DOUG DUNLAP                801 CHERRY STREET, SUITE 2100                                                   FT. WORTH       TX           76102
BASIC ENERGY SERVICES           P.O. BOX 841903                                                                                                  DALLAS          TX           75284-1903
BASIN ENGINE & PUMP, INC.       P.O. BOX 712465                                                                                                  CINCINNATI      OH           45271-2465
BASIN PACKER COMPANY, INC.      P.O. BOX 832                                                                                                     ODESSA          TX           79760
BASIN RIDGE TECHNOLOGIES,       3300 N A ST., BLDG 8, STE 105                                                                                    MIDLAND         TX           79705
LLC
BASIN SUPPLY, LP, WB SUPPLY,    P.O. BOX 206620                                                                                                  DALLAS          TX           75320-6620
LLC
BAXSTO LLC                      P.O. BOX 302857                                                                                                  AUSTIN          TX           78703
BAYSWATER FUND IV-B, LLC        730 17TH ST.               STE. 500                                                                              DENVER          CO           80202
BAYWATER RESOURCES, LLC         730 17TH ST.               STE. 500                                                                              DENVER          CO           80202
BB FREE MINERAL HOLDINGS,       C/O AMARILLO NATIONAL BANK AGENT- O&G                                    P.O. BOX 1                              AMARILLO        TX           79105-0001
LLC
BEACON
BEDROCK PETROLEUM               DEPT 2004                        P.O. BOX 122004                                                                 DALLAS          TX           75312-2004
CONSULTANTS, LLC
BEEKMAN ENTERPRISES INC         P.O. BOX 1671                                                                                                    MIDLAND         TX           79702
BELL FAMILY MINERALS, LP        DOUGLAS E. BELL, GENERAL         P.O. BOX 832021                                                                 RICHARDSON      TX           75083
                                PARTNER
BEN M ANDERSON
BEN R. YOUNG
BEN RUBINETT             P.O. BOX 1156                                                                                                           CRYSTAL BEACH   FL           34681
BENEDICT PAYEFF
BENJAMIN RALPH BICKLEY
BENJAMIN RANSOM BEAN     41 W 90TH ST APT 28                                                                                                     NEW YORK        NY           19024
BERKLEY DONAVAN ANDERSON                                                                                                                                         TX           11111


                                                                                                 In re: MTE Holdings, LLC, et al.
                                                            Case 19-12269-CSS           Doc 81             Filed 11/13/19   Page 7 of 53
                                                                                            Creditor Matrix


            Name                         Address 1                          Address 2                      Address 3        Address 4         City         State       Zip      Country
BERNADETTE MARY KIELY          3334 EAST COAST HWY #657                                                                                 CORONA DEL MAR CA          92625
BERNICE BRODKSY                TRUST, DATED NOVEMBER 12,     AMENDED                            3820 WEST KNOLLWOOD                     WEST BLOOMFIELD MI         48322
DECLARATION OF                 1996, AS                                                         CIRCLE
BERT H HILLGER                 903 TODD RD                                                                                              BIG SPRING       TX        79720
BEST BUY                       2511 LOOP 250 FRONTAGE RD                                                                                MIDLAND          TX        79705
BETTY JANE ROGERS              10861 PRIVATE ROAD 2242                                                                                  ABILENE          TX        79604
CRAWFORD
BETTYE ANN KEY, TRUSTEE        LUCILLE SHOWERS LIVING        P.O. BOX 199                                                               MORGAN MILL      TX        76465
                               TRUST
BEVERLY A LENTZ                505 RICHIE ROAD                                                                                          BIG SPRING       TX        79720
BEVERLY WILSON
BHL BORESIGHT, INC.            4550 KINSEY DRIVE                                                                                        TYLER            TX        75703
BHW CHARITABLE TRUST           DATED JAN. 31, 1997           265 N. BOBOLINK DRIVE                                                      BROOKFIELD       WI        53005
BIG B CRANE, LLC               P.O. BOX 1061                                                                                            BURLESON         TX        76097
BIG D EQUIPMENT COMPANY        P.O. BOX 7808                                                                                            MIDLAND          TX        79708
BIG E DRILLING COMPANY         4710 BELLAIRE BLVD. SUITE 350                                                                            BELLAIRE         TX        77401

BIG E SERVICES, LLC            P.O. BOX 62047                                                                                           MIDLAND          TX        79711
BIG GAME OILFIELD              20 NORTH PARK DR.                                                                                        BROKEN BOW       OK        74728
SERVICES,LLC
BIG H TRANSPORT, LLC           51 MAGNOLIA ROAD                                                                                         CLEVELAND        TX        77328-5993
BIG LAKE KAY CONSTRUCTION,     P.O. BOX 844                                                                                             BIGLAKE          TX        76932
INC.
BILL B. DAY & VERNENE F. DAY   REVOCABLE LIVING TRUST
BILLIE J. SAYLOR               1807 W. AVE. G                                                                                           MULESHOE         TX        79347
BILLY GRACE CAWLEY             ROUTE 1, BOX 81                                                                                          ELDORADO         TX        76936
BILLY JOE HILLGER              6005 APPLEWOOD RIDGE CIR                                                                                 COLORADO         CO        80918
                                                                                                                                        SPRINGS
BIRDIE SLACK INVESTMENTS LLC C/O KENNETH LESTER SLACK,       8626 MIDDLE DOWNS DRIVE                                                    DALLAS           TX        75243
                             JR., PRES
BISON TRUCKING, LLC          14201 CALIBER DRIVE , SUITE                                                                                OKLAHOMA CITY    OK        73134
                             300
BLACK GOLD RENTAL TOOLS,     P.O. BOX 9531                                                                                              CORPUS CHRISTI   TX        78469
INC.
BLACK PEARL ENERGY, LLC      203 W WALL STREET, SUITE                                                                                   MIDLAND          TX        79701
                             1202
BLACK STONE MINERALS         P.O. BOX 301267                                                                                            DALLAS           TX        75303-1267
COMPANY, LP
BLACKHAWK MEASUREMENT        CONSULTING, LLC                 P.O. BOX 248                                                               WICKETT          TX        79778
BLACKHAWK SERVICES, LLC      P.O. BOX 411                                                                                               LOVINGTON        NM        88260
BLACKSTONE MINERALS          ATTN: LAND DEPARTMENT           1001 FANNIN, SUITE 2020                                                    HOUSTON          TX        77002
COMPANY, L.P.
BLAIR TOOL LLC               P.O. BOX 160                                                                                               HOBBS            NM        88241
BLAIRBAX ENERGY LLC          815-A BRAZOS STREET #491                                                                                   AUSTIN           TX        78701
BLAKE OIL & GAS CORPORATION 400 NORTH MAIN STREET                                                                                       MIDLAND          TX        79701

BLAKE OIL AND GAS              400 NORTH MAIN                                                                                           MIDLAND          TX        79701
CORPORATION
BLAXTONE ENERGY,LLC            904 W 69TH ST                                                                                            ODESSA           TX        79764
BLAZE INTERESTS, LLC           218 N. MAIN ST                UNIT C                                                                     MIDLAND          TX        79701
BLAZE OIL COMPANY, LLC         218 N. MAIN STREET, UNIT C                                                                               MIDLAND          TX        79701
BLOOMER LIVING TRUST           DAVID BLOOMER, TRUSTEE        4912 WOOD LAKE DR.                                                         FRISCO           TX        75035
BLUE MESA LIMITED              3600 LOVERS LANE                                                                                         DALLAS           TX        75225
PARTNERSHIP
BLUE STREAK TRANSPORTATION     7600 WEST I-20                                                                                           MIDLAND          TX        79706

BLUE STREAK                    P.O. BOX 60448                                                                                           MIDLAND          TX        79711-0448
TRANSPORTATION, INC.


                                                                                        In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS            Doc 81             Filed 11/13/19   Page 8 of 53
                                                                                           Creditor Matrix


            Name                       Address 1                          Address 2                       Address 3        Address 4         City          State       Zip      Country
BLUMA A. SEIGAL REV. LIVING   DATED FEBRUARY 18, 1979       31054 OAK VALLEY DRIVE                                                     FARMINGTON HILLS MI         48331
TRUST
BML, INC.                     4841 HILL STREET                                                                                         ABILENE           TX        79602
BMO CAPITAL MARKETS CORP.     3 TIMES SQUARE                                                                                           NEW YORK          NY        10036
BMO HARRIS BANK N.A.          111 W. MONROE STREET                                                                                     CHICAGO           IL        60603
BMO HARRIS BANK N.A.          C/O MAYER BROWN LLP           ATTN: CHARLES S. KELLEY            700 LOUISIANA STREET,                   HOUSTON           TX        77002-2730
                                                                                               STE. 3400
BMO HARRIS BANK N.A.          C/O MAYER BROWN LLP           ATTN: SEAN T. SCOTT                71 SOUTH WACKER DR.                     CHICAGO           IL        60606
BNB CONSULTING SERVICES       P.O. BOX 13076                                                                                           ODESSA            TX        79768
INC.
BNN WEST TEXAS                370 VAN GORDON STREET                                                                                    LAKEWOOD        CO          80228
BOARD OF REGENTS OF TX A&M    SYSTEM - OFFICE OF GENERAL ATTN: SYSTEM REAL ESTATE OFFICE       301 TARROW, 6TH FLOOR                   COLLEGE STATION TX          77840-7896
UNIV.                         COUNSEL
BOBBIE E. GLIDEWELL           342 OLD POCKET ROAD                                                                                      LYNCH STATION     VA        24571
BOBBY BAKER                   P.O. BOX 670                                                                                             HEREFORD          TX        79045
BOBBY FREE                    P.O. BOX 258                                                                                             EARTH             TX        79031
BOBBY SHANNON MOSS            6617 ECR 102                                                                                             MIDLAND           TX        79706
BOLDRICK FAMILY PROPERTIES    C/O BOLDRICK MANAGEMENT P.O. BOX 10648                                                                   MIDLAND           TX        79702
LP                            CO.
BOND-COAT, INC.               P.O. BOX 60122                                                                                           MIDLAND           TX        79711-0122
BOOMERANG TRUCKING            P.O. BOX 9729                                                                                            MIDLAND           TX        79708
BOOMSLANG RESOURCES, LLC      P.O. BOX 141140                                                                                          DALLAS            TX        75214
BOOTS SMITH COMPLETION        C/O INTERSTATE BILLING     SERVICES, INC.                        P.O. BOX 2214                           DECATUR           AL        35609-2214
SERVICES LLC
BORDEN EXPLORATION &          6688 N CENTRAL EXPRESSWAY SUITE 1610                                                                     DALLAS            TX        75206
DEVELOPMENT LP
BOS SOLUTIONS,INC.            P.O. BOX 123096                                                                                          DALLAS            TX        75312-3096
BOSQUE DISPOSAL SYSTEMS,      420 THROCKMORTON , SUITE                                                                                 FORT WORTH        TX        76102
LLC                           640
BOSSIER LAND MANAGEMENT,      4111 LAGUNA CIRCLE                                                                                       MISSOURI CITY     TX        77459
LLC
BOUNTY FAMILY TRUST
BRACEWELL LLP                 P.O. BOX 207486                                                                                          DALLAS            TX        75320-7486
BRADCO SERVICES               1302 S. BRUCE AVE                                                                                        MONAHANS          TX        79756
BRADCO SERVICES               P.O. BOX 587                                                                                             MONAHANS          TX        79756-0587
BRADEN HENRY TUREK            8572 SABLE DRIVE                                                                                         HUNTINGTON        CA        92646
                                                                                                                                       BEACH
BRADFORD
BRADFORD L. SAUMS             2740 RANDALL WAY                                                                                         HAYWARD           CA        94541
BRADLEY T. SAUTERS            6527 SAINT JOSEPHS AVE. NW                                                                               ALBUQUERQUE       NM        87120
BRANDON CLINTON HAMNER        ROUTE 1, BOX 76E                                                                                         FORT STOCKTON     TX        79735
BRANNCO WIRELINE              4700 S. COUNTY ROAD 1310                                                                                 ODESSA            TX        79765
SERVICES,INC.
BRAZOS BEND 2012 TRUST        MIKE D. MURPHY, TRUSTEE   18093 OSAGE TRAIL DRIVE                                                        COLLEGE STATION   TX        77845
BREN MARR DAVIS               51 RIDGE STREEET                                                                                         JEROMESVILLE      OH        44840
BRIGHAM MINERALS, LLC         5914 WEST COURTYARD DRIVE SUITE 100                                                                      AUSTIN            TX        78730
BRIGHAM MINERALS, LLC         5914 WEST COURTYARD DRIVE SUITE 200                                                                      AUSTIN            TX        78734
BRILEY TRUCKING, LTD          P.O. BOX 5564                                                                                            MIDLAND           TX        79704
BRITT TRUCKING COMPANY        PO DRAWER 707                                                                                            LAMESA            TX        79331
BRONCO SERVICES , RAMON       P.O. BOX 2404                                                                                            HOBBS             NM        88241
PONCE
BROWER FAMILY PARTNERSHIP     3342 WHITEHALL DRIVE                                                                                     DALLAD            TX        75229
LP
BROWNING OIL COMPANY, INC.    12377 MERIT DRIVE , SUITE 450                                                                            DALLAS            TX        75251
BRUCE STEPHENS                3505 CEDARHURST DR                                                                                       DALLAS            TX        75233
BRYAN D. CHENAULT             3019 HYPERION AVE                                                                                        LOS ANGELES       CA        90027
BST OIL & GAS, LLC            ATTN: STEVE TRAFTON           4211 I-40 W.                       SUITE 202                               AMARILLO          TX        79106




                                                                                       In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS               Doc 81             Filed 11/13/19   Page 9 of 53
                                                                                            Creditor Matrix


            Name                      Address 1                             Address 2                      Address 3        Address 4         City              State       Zip      Country
BT & S TRUCKING SERVICES LLC 2201 MYRTLE ST.                                                                                            ODESSA             TX           79761

BT MIDSTREAM, LLC              ATTN: DAVID LYNN           P.O. BOX 5061                                                                 ABILENE            TX           79608
BUCK OIL & GAS, LLC            720 RUSK STREET                                                                                          HOUSTON            TX           77002
BUCKEYE, INC                   P.O. BOX 5564                                                                                            MIDLAND            TX           79704
BUFFALO OIL & GAS
BUFFY ENERGY LLC               P.O. BOX 1649                                                                                            AUSTIN             TX           78767-1649
BUFORD TIPTON CHESNEY          104 WINDRIDGE CIRCLE                                                                                     MIDLAND            TX           79705
BULLSEYE TESTING LLC           P.O. BOX 10317                                                                                           MIDLAND            TX           79702
BULLZEYE OILFIELD SERVICES,    581 CR 307                                                                                               TYE                TX           79563
LLC
BURDINE ANDERSON GIESE         P.O. BOX 10                                                                                              NURSERY            TX           77976
BUSH/GRIFFIN LIVING TRUST      JOHN F. GRIFFIN & JOHN BUSH CO-TRUSTEES                          7534 FM 2354                            BAYTOWN            TX           77520-9115
BUTCH'S RAT HOLE & ANCHOR      SERVICE, INC.               700 AUSTIN                                                                   LEVELLAND          TX           79336
BUTCH'S RAT HOLE & ANCHOR      ATTN: NORMAN ALLEN          12409 QUAKER AVENUE                                                          LUBBOCK            TX           79424
SERVICE
BWB LAND & MINERALS, LLC     2506 SEABOARD AVE.                                                                                         MIDLAND            TX           79705
BYRD OILFIELD SERVICES LLC   P.O. BOX 7269                                                                                              ABILENE            TX           79608
C & A ROYALTIES, LP          C/O RICHARD R. BIEL, CPA     4849 GREENVILLE AVE                   SUITE 1515                              DALLAS             TX           75206-4126
C & G FAMILY TRUST           8601 E. TANQUE VERDE                                                                                       TUCSON             AZ           85749
C & R OILFIELD SERVICES INC. P.O. BOX 1084                                                                                              SAN ANGELO         TX           76902
C HINTON ENTERPRISES         FISHING & RENTAL TOOLS, INC. P.O. BOX 14187                                                                ODESSA             TX           79768
C&G ELECTRICAL, LLC          C&G ENERGY SERVICES,         P.O. BOX 5935                                                                 TROY               MI           48007-5935
                             DRAWER 2474
C&J SPEC-RENT SERVICES, INC. P.O. BOX 733404                                                                                            DALLAS             TX           75373-3404

C. FAGG SANFORD, III        15496 JOSEPH ROAD                                                                                           TYLER              TX           75707
C.A. DAUGHERTY
CABALLO LOCO MIDSTREAM, LLC 400 EAST LOOP 250 NORTH ,                                                                                   MIDLAND            TX           79705
                            SUITE 113
CABRITO LTD                 P.O. BOX 2237                                                                                               MIDLAND            TX           79702
CACTUS FUEL, LLC            ATTN: ANDY FERTSCH            P.O. BOX 677924                                                               DALLAS             TX           75267-7924
CADDO MINERALS, INC.        2714 BEE CAVE ROAD            SUITE 202                                                                     AUSTIN             TX           78746
CAGLE FISHING & RENTAL      PO DRAWER 7769                                                                                              ODESSA             TX           79760
TOOLS, LTD
CALLIE DORIS FREETAGE       4705 GREENTREE BLVD                                                                                         MIDLAND            TX           79707
STEVENS
CALLIE STEVENS              4705 GREENTREE BLVD                                                                                         MIDLAND            TX           79707
CALTECH GLOBAL, LLC         14724 LONE STAR ROAD                                                                                        SAPULPA            OK           74066
CALVIN CAMPBELL
CALVIN DONAGHEY             961 FM 2404                                                                                                 ABILENE            TX           79601
CALVYN TOOL COMPANY         P.O. BOX 4841                                                                                               MIDLAND            TX           79704
CAMBRIDGE ROYALTY COMPANY

CAMERON INTERNATIONAL          P.O. BOX 731412                                                                                          DALLAS             TX           75373-1412
CORPORATION
CANARY DRILLING SERVICES       P.O. BOX 670257                                                                                          DALLAS             TX           75267-0257
CANON SAFETY SERVICES, LTD.    P.O. BOX 5504                                                                                            LONGVIEW           TX           75608
CANRIG DRILLING TECHNOLOGY     P.O. BOX 973608                                                                                          DALLAS             TX           75397-3608
LTD.
CANTRELL TRUCKING,INC.         P.O. BOX 52570             1511 S. COUNTY RD 1101                                                        MIDLAND            TX           79710
CAPITAL ONE BANK, USA          P.O. BOX 60599                                                                                           CITY OF INDUSTRY   CA           91716-0599
CAPITAL PREMIUM FINANCING      PARKER INSURANCE           P.O. BOX 660899                                                               DALLAS             TX           75266
CAPROCK OIL TOOLS, INC.        3446 S. MAIN                                                                                             PEARLAND           TX           77581
CAPROCK TITLE MIDLAND, LLC     315 EAST WALL STREET                                                                                     MIDLAND            TX           79701
CARLA M. HUNTER                5949 SHERRY LANE #780                                                                                    DALLAS             TX           75225
CARLY JO UNDERWOOD             4413 TANFORAN                                                                                            MIDLAND            TX           79707
CAROL A. NOONAN                6121 WOODGARDEN LANE                                                                                     BENBROOK           TX           76132


                                                                                        In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS                    Doc 81            Filed 11/13/19   Page 10 of 53
                                                                                                 Creditor Matrix


             Name                      Address 1                            Address 2                           Address 3       Address 4         City         State       Zip      Country
CAROLE ELIZABETH LATTNER      1665 COVENTRY COURT                                                                                           REEDSBURG     WI           53959
STEINMETZ
CAROLINE N. HOAGLAND          TRUSTEE                       P.O. BOX 1757                                                                   CAPITOLA      CA           95010
CAROLYN ANN BELL SARAS        3509 BALBIRNIE COURT                                                                                          THE COLONY    TX           75056
SCARBOROUGH
CAROLYN ANN BELL SARAS        406 CAPRI COURT                                                                                               BERTHOUD      CO           80513
SCARBOROUGH
CARRIZO OIL & GAS             500 DALLAS ST., SUITE 2300                                                                                    HOUSTON       TX           77002
CARROLLTON MINERAL            5950 BERKSHIRE LANE, SUITE                                                                                    DALLAS        TX           75225-5846
PARTNERS IV, LP               1125
CARSON BRYAN                  5311 LAVACA AVE                                                                                               MIDLAND       TX           79707
CARTER BLOODCARE              A TEXAS NON-PROFIT ORG        ATTN: STEPHEN EASON                      2205 HIGHWAY 121                       BEDFORD       TX           76021
CASEY G. RIGGAN               P.O. BOX 464                                                                                                  MIDLAND       TX           79702
CASEY NOLEN                   3616 W. LOUISIANA AVE                                                                                         MIDLAND       TX           79703
CASTLE PEAK DEVELOPMENT,      P.O. BOX 8929                                                                                                 MIDLAND       TX           79808
LTD
CATALYST OILFIELD SERVICES,   P.O. BOX 8485                                                                                                 MIDLAND       TX           79708
LLC
CATHRYN WITHROW               3419 WESTMINSTER              #241                                                                            DALLAS        TX           75205
CATHRYN WITHROW               3419 WESTMINSTER              #241                                                                            DALLAS        TX           75205
REVOCABLE TRUST
CATHY C. LUCAS                6503 MOUNT HOOD DR                                                                                            BAKERSFIELD   CA           93309
CAVALRY ENERGY SERVICES,      P.O. BOX 10846                                                                                                MIDLAND       TX           79702
INC.
CAVCO INVESTMENTS, LP         8214 WESTCHESTER DR.          SUITE 635                                                                       DALLAS        TX           75225
CAWLEY GILLESPIE &            306 WEST 7TH ST., SUITE 302                                                                                   FORT WORTH    TX           76102
ASSOCIATES
CC FORBES LLC                 P.O. BOX 250                                                                                                  ALICE         TX           78333
CC OIL & GAS VENTURES, LLC    C/O CHARLES CALVIN            1111 NORTH LOOP WEST, STE 1110                                                  HOUSTON       TX           77008
CDK PERFORATRING,LLC          DBA NINE ENERGY SERVICE       P.O. BOX 733552                                                                 DALLAS        TX           75373-3552
CECILIA CASTILLO              5913 OAK CREEK                                                                                                MIDLAND       TX           79707
CEMENT SPECIALISTS LLC        P.O. BOX 47066                                                                                                HOUSTON       TX           77210-7066
CENTAURUS CAPITAL LP          ATTN: CAMERON BANKS           1717 WEST LOOP SOUTH, SUITE 1800                                                HOUSTON       TX           77027
CENTAURUS CAPITAL LP          ATTN: STEPHEN DOUGLAS,        1717 WEST LOOP SOUTH, SUITE 1800                                                HOUSTON       TX           77027
                              GENERAL COUNSEL
CENTENNIAL RESOURCE           1001 SEVENTEENTH STREET       SUITE 1800                                                                      DENVER        CO           80202
DEVELOPMENT INC
CENTENNIAL RESOURCE           1001 SEVENTEENTH STREET       SUITE 1800                                                                      DENVER        CO           80202
PRODUCTION, LLC
CENTRAL TEXAS RECLAMATION,    P.O. BOX 2360                                                                                                 ABILENE       TX           79604-2360
LLC
CHAD AUSTIN BROWN             1721 EAST FRONTIER TERRACE                                                                                    MUSTANG       OK           73064
CHAD BUTLER                   3914 OPORTO ST.                                                                                               ODESSA        TX           79765
CHAD L. BUNN                  P.O. BOX 1888                                                                                                 GILMER        TX           76544
CHANCE TOOL, LTD              PO DRAWER J                                                                                                   KERMIT        TX           79745
CHANDLER SINCLAIR MEANS       143 E. 37TH STREET         APT 1G                                                                             NEW YORK      NY           10016
CHARGER SERVICES, LLC         23 WEST INDUSTRIAL LOOP                                                                                       MIDLAND       TX           79701
CHARLAINE MCCOY SPURLOCK      P.O. BOX 104                                                                                                  CLINTON       LA           70722
CHARLES COTTER                P.O. BOX 683                                                                                                  EOLA          TX           76937
CHARLES E. COLWELL            29 FAWN LN                                                                                                    SEDONA        AZ           86336
CHARLES EDWARD JORDAN         564 PRIM STREET                                                                                               ASHLAND       OR           97520
CHARLES F. CHAMBERS, III      11818 VILLAGE PARK CR                                                                                         HOUSTON       TX           77024
CHARLES H PRIDDY
CHARLES HEALD                 13676 W ALASKA PLACE                                                                                          LAKEWOOD      CO           80228-8105
CHARLES HEALD                 P.O. BOX 281105                                                                                               LAKEWOOD      CO           80228-8105
CHARLES M FREDE               1210 WATER ST                                                                                                 NAVASOTA      TX           77868
CHARLES M. MIRANDA            305 WEATHERING LN.                                                                                            AUSTIN        TX           72007
CHARLES MEYERS


                                                                                             In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS                 Doc 81            Filed 11/13/19   Page 11 of 53
                                                                                                Creditor Matrix


            Name                         Address 1                          Address 2                       Address 3          Address 4         City          State       Zip      Country
CHARLES R MEEKER TRUST         ATTN JANET ALLEN               BANK OF AMERICA, TRUSTEE              P.O. BOX 2546                          FORT WORTH       TX         76113
CHARLES R. ANDERSON &          ASSOCIATES, P.C.               16360 PARK TEN PLACE                  SUITE 115                              HOUSTON          TX         77084
CHARLES STEVEN KOLB            1365 NE 281                                                                                                 ANDREWS          TX         79714
CHARLES W. ELROD               3913 FEDERAL AVENUE                                                                                         EVERETT          WA         98201
CHARLOTTE HUDSON               10810 SAYLES RD.                                                                                            JACKSONVILLE     AR         72076
CHARLOTTE R. ODELL
CHARLOTTE T. SLACK             1820 WEST JEFFERSON                                                                                         PECOS            TX         79772
                               STREET
CHARLOTTE T. SLACK             4100 JACKSON AVENUE      #223                                                                               AUSTIN           TX         78731
CHASE HARRIS, INC.             ATTN: CHASE HARRIS       P.O. BOX 2428                                                                      STEPHENVILLE     TX         76401
CHASE HARRIS, INC.             C/O SOUTHWEST COMMERICAL CAPITAL, INC.                               P.O. BOX 872                           ODESSA           TX         79760

CHENAULT-VAUGHAN FAMILY        PARTNERSHIP, LTD.              2920 DRY HOLLOW DRIVE                                                        KERRVILLE        TX         78028
CHERRY CREEK MINERALS, LLC     100 ST. PAUL STREET            SUITE 400                                                                    DENVER           CO         80206
CHERRY TRANSPORT               3802 S COUNTY RD 1135                                                                                       MIDLAND          TX         79706
CHERYL LYNN MCGAHEY            A/K/A CHERYL KURZAWA
CHESTER J & PATSY P KESEY      ESTATE, C/O MONTE KESEY,       P.O. BOX 718                                                                 PECOS            TX         79772
LIFE                           TRUSTEE
CHEVRON PRODUCTS COMPANY       4865 WARD ROAD, SUITE 200                                                                                   WHEAT RIDGE      CO         80033
CHEYENNE SNAPP                 16794 NORTH DOGWOOD AVE                                                                                     GARDENDALE       TX         79758
CHIEF OILFIELD SERVICES, LLC   PAYABLE TO SECURITY            BUSINESS CAPITAL                      P.O. BOX 60593                         MIDLAND          TX         79711-0593
CHIEF SERVICES                 A WATSON PACKER, LLC           600 N BIG SPRING ST                                                          MIDLAND          TX         79701
                               COMPANY
CHOCK'S INC                    P.O. BOX 907                                                                                                ANDREWS          TX         79714
CHRIS STEPHENSON               P.O. BOX 4366                                                                                               MIDLAND          TX         79704
CHRISTINE B MOTYCKA            P.O. BOX 505                                                                                                MIDLAND          TX         79702-0505
CHRISTINE L. FISHER LIVING     CHRISTINE L. FISHER, TRUSTEE   3415 NEW HAVEN CIRCLE                                                        CASTLE ROCK      CO         80109
TRUST
CHRISTINE SARAS VLADECK        3165 WESTWOOD COURT                                                                                         BOULDER          CO         80304
CHRISTINE SARAS VLADECK        4543 STARBOARD DR.                                                                                          BOULDER          CO         80301
CHRISTOPHER COTTEN             3600 COUNTRY CLUB CIR                                                                                       FORT WORTH       TX         76100-1033
CHRISTOPHER L. FREE            224 ROWLAND ST.                                                                                             STEPHENVILLE     TX         76401
CHRISTOPHER MICHELSEN          14 WYLDWOOD DRIVE                                                                                           TARRYTOWN        NY         10591
CHRISTOPHER SHAWN GUTHRIE      332 MINOT STREET                                                                                            COLORADO         CO         80916
                                                                                                                                           SPRINGS
CHRISTOPHER STEPHENSON         P.O. BOX 4173                                                                                               ABILENE          TX         79608
CHRISTY LEONA COATES           2700 CONVEYER ROAD                                                                                          BURLESON         TX         79028
CJM ENERGY PARTNERS, LP        218 N. MAIN ST., UNIT C                                                                                     MIDLAND          TX         79701
CJM PARTNERS, LP               218 N. MAIN ST                 UNIT C                                                                       MIDLAND          TX         79701
CLAIRE STRAIN DUESING          6039 LUPTON DRIVE                                                                                           DALLAS           TX         75225-1918
CLAUD B HAMILL ESTATE
CLAUDA CROSSLER                P.O. BOX 767                                                                                                STERLING         TX         76951
CLAYTON WAYNE ARMSTRONG        TRUST, V. ARMSTRONG & C.       BLANKENSHIP, TRUSTEES                 2805 NORTHWEST 169TH                   EDMOND           OK         73012
FAMILY                                                                                              STREET
CLEAN CHEMISTRY,INC.           ACCOUNTS RECEIVABLE            5541 CENTRAL AVE.STE.110                                                     BOULDER          CO         80301
CLEARWATER RESOURCES, LLC      ATTN: SHANE GRISSOM            6837 82ND STREET, SUITE 101                                                  LUBBOCK          TX         79424
CMP ACQUISITIONS, LLC          5950 BERKSHIRE LANE, SUITE                                                                                  DALLAS           TX         75225-5854
                               1125
CMP PERMIAN, LP                5950 BERKSHIRE LANE, SUITE                                                                                  DALLAS           TX         75225-5854
                               1125
CMS TRUCKING, LLC              416 PLUM ST                                                                                                 PECOS            TX         79772
COASTAL ENERGY SERVICES,       311 SARATOGA BLVD                                                                                           CORPUS CHRISTI   TX         78417
LLC
CODY BEN SIMS                  131 WESTGATE DR.                                                                                            GREENWOOD        SC         29646
CODY DENNIS TRUCKING LLC       4773 N SIERRA AVE.                                                                                          ODESSA           TX         79764
COGENT ENERGY SERVICES         P.O. BOX 203152                                                                                             DALLAS           TX         75320
COIL TUBING PARTNERS, LLC      DEPT 3228                      P.O. BOX 123228                                                              DALLAS           TX         75312-3228
COLGATE


                                                                                            In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS                 Doc 81            Filed 11/13/19   Page 12 of 53
                                                                                                Creditor Matrix


            Name                         Address 1                            Address 2                      Address 3       Address 4          City           State       Zip          Country
COLGATE OPERATE, LLC           303 W WALL ST. #700                                                                                       MIDLAND          TX           79701
COMMERCIAL STEEL               P.O. BOX 674282                                                                                           DALLAS           TX           75267-4282
PRODUCTS,LLC
COMMISSIONER OF THE TEXAS      GENERAL LAND OFFICE          P.O. BOX 12873                                                               AUSTIN           TX           78711-2873
COMPLETE SERVICES              SECURITY BUSINESS CAPITAL    P.O. BOX 60593                                                               MIDLAND          TX           79711
CONCENTRIC MINERAL             P.O. BOX 11321                                                                                            MIDLAND          TX           79702
PARTNERS, L.P.
CONNECTION FIELD SERVICES,     P.O. BOX 192009                                                                                           DALLAS           TX           75219
LLC
CONNIE RAE KESEY COATS         189 ALEDO CREEKS ROAD                                                                                     FORT WORTH       TX           76126
CONQUEST COMPLETION            742 NORTH ASHLEY RIDGE                                                                                    SHREVEPORT       LA           71106
SERVICES, LLC                  LOOP
CONTENDER ENERGY               4851 LBJ FREEWAY             SUITE 325                                                                    DALLAS           TX           75244
PARTNERS, LP
CONTENDER PERMIAN II, LP       4851 LBJ FREEWAY             SUITE 325                                                                    DALLAS           TX           75244
CONTROL EQUIPMENT, INC.        2311 E 2ND ST                                                                                             ODESSA           TX           79761
COOPER HENDERSON ASKINS        904 PINE COURT                                                                                            MIDLAND          TX           79705-6527
COPPER CREEK ROYALTY, LLC      2501 N. LAMAR BLVD.          SUITE 300                                                                    AUSTIN           TX           78705
CORDAX DBA DATALOG LWT,        228 NW 59 ST.                                                                                             OKLAHOMA CITY    OK           73118
INC.
CORE & MAIN LP                 P.O. BOX 28330                                                                                            ST. LOUIS        MO           63146
CORNELIA CAMPBELL GRILLEY
CORNELIA CAMPBELL GRILLEY
ESTATE
CORNELL UNIVERSITY             REAL ESTATE DEPARTMENT       P.O. BOX 6779                                                                ITHACA           NY           14851-6779
CORP., RRC CONSTRUCTION        5023 PRINCETON AVE           SUITE #5                                                                     MIDLAND          TX           79703
CORROSION LTD                  4321 SCR 1290                                                                                             ODESSA           TX           79765
COUGAR DRILLING SOLUTIONS      19350 EAST HARDY ROAD                                                                                     HOUSTON          TX           77073
COUNTY OF REEVES               104 E. 4TH STREET            SUITE 102                                                                    PECOS            TX           79772
COURTNEY HEATH CARSWELL        700 CAMINO MILITAR                                                                                        SANTA FE         NM           87501
COVENANT TESTING               P.O. BOX 733809                                                                                           DALLAS           TX           75373-3809
TECHNOLOGIES, LLC
CPPIB CREDIT INVESTMENTS III   ATTN: MATTHEW HARE           ONE QUEEN STREET EAST, SUITE 2500                                            TORONTO          ON           M5C 2W5      CANADA
INC.
CPR HOTSHOT SERVICES ,         300 E. LONGVIEW                                                                                           MIDLAND          TX           79701
CHARLES ROSA
CRAFT OFFICE SYSTEMS INC.   P.O. BOX 60473                                                                                               MIDLAND          TX           79711-0473
CRAIG M. MCDONNOLD          505 N. BIG SPRING               SUITE 204                                                                    MIDLAND          TX           79701
CRAIG PATRICK GLENN         4805 S. COUNTRY CLUB ROAD                                                                                    GARLAND          TX           75043
CRAIG W BARR                1031 NW 43RD AVE                                                                                             CAMAS            WA           98607
CRAIG WILLIAM BECKNER       1248 HOMESTEAD AVE.                                                                                          WALNUT CREEK     CA           94598
CREED TRUCKING,LLC          P.O. BOX 15066                                                                                               ODESSA           TX           79768
CREEK PIPE COMPANY          P.O. BOX 120188                                                                                              ARLINGTON        TX           76012
CRESCENT DRILLING FOREMAN   2400 VETERANS MEMORIAL          SUITE 110                                                                    KENNER           LA           70062
                            BLVD.
CREST PUMPING               DBA NINE ENERGY SERVICE         P.O. BOX 733561                                                              DALLAS           TX           75373
TECHNOLOGIES, LLC           INC
CRETIC ENERGY SERVICES LLC 3040 POST OAK BLVD.              STE 1450                                                                     HOUSTON          TX           77056
CRETIC ENERGY SERVICES, LLC ATTN: L. MELVIN COOPER          P.O. BOX 2108                                                                ALICE            TX           78333

CROWN GEOCHEMISTRY, INC.       P.O. BOX 628                                                                                              BURNS FLAT       OK           73624
CSI COMPRESSCO OPERATING,      P.O. BOX 840082                                                                                           DALLAS           TX           75284-0082
INC
CSP-PERMIAN,LLC , CAPITAL      P.O. BOX 104960                                                                                           JEFFERSON CITY   MO           65110
SAND
CTAP, LLC                      2585 TRAILRIDGE DRIVE EAST                                                                                LAFAYETTE        CO           80026
CUDD PRESSURE CONTROL, INC.    P.O. BOX 203379                                                                                           DALLAS           TX           75320-3379




                                                                                          In re: MTE Holdings, LLC, et al.
                                                      Case 19-12269-CSS               Doc 81            Filed 11/13/19   Page 13 of 53
                                                                                          Creditor Matrix


             Name                      Address 1                          Address 2                      Address 3       Address 4         City            State       Zip      Country
CULLIGAN WATER OF WEST       P.O. BOX 60275                                                                                          MIDLAND          TX           79711-0275
TEXAS, INC.
CUTTER DRILLING SYSTEMS      P.O. BOX 204806                                                                                         DALLAS           TX           75320-4806
CYNTHIA COPELAND SPURLOCK    210 GUINEVERE DR                                                                                        WEATHERFORD      TX           76086
CYNTHIA GAYLE BARTHELME      5721 ANTHONY                                                                                            GARDEN GROVE     CA           92645
CYNTHIA KAY ALLEY            1334 BELAIRE                                                                                            RICHARDSON       TX           75080
CYNTHIA SUZANNE KESEY        1760 N FM 730                                                                                           DECATUR          TX           76234
ALEXANDER
D. COVINGTON FAMILY TRUST    3535 E. COAST HIGHWAY #101                                                                              CORONA DEL MAR   CA           92625
D.G. RENTALS INC.            P.O. BOX 7592                                                                                           ODESSA           TX           79760
DALTON H COBB JR             P.O. BOX 470547                                                                                         FORT WORTH       TX           76147
DAN R. HONEYFIELD            DBA FLYING H CHEMICAL CO.    1301 SCR 1127                                                              MIDLAND          TX           79706
DANIEL D. HARKIN             1134 N. PATTERSON                                                                                       SANTA BARBARA    CA           93111
DANIEL H. PAPPAS             1250 ELDER AVENUE            APT. 8                                                                     BOULDER          CO           80304
DANIEL ROY STEVENS           350 HIOAKS DRIVE             APT. 404                                                                   RICHMOND         VA           23225
DANIEL WESLEY REYNOLDS       11977 EAGLE CLIFF CT                                                                                    RALEIGH          NC           27613
DANIEL WESLEY REYNOLDS       11977 EAGLE CLIFF CT                                                                                    RALEIGH          NC           27613
DANNY R. O'BRIEN             P.O. BOX 769                                                                                            OCEAN PARK       WA           98640
DARK ENERGY, INC.            P.O. BOX 50694                                                                                          MIDLAND          TX           79710-0694
DATALOG GEOLOGICAL           DEPARTMENT 2219              P.O. BOX 2219                                                              HOUSTON          TX           77210-4356
SERVICES, LLC
DAVE'S TUBING TESTING HOT    OIL SERVICES                 P.O. BOX 3129                                                              BIG SPRING       TX           79721-3129
DAVID B WILSON               2807 MORNINGSIDE AVE                                                                                    PARKERSBURG      WV           26101
DAVID C WILSON               3306 EAGLE COVE                                                                                         MIDLAND          TX           79707
DAVID COX                    3155 CR C3400                                                                                           LENORAH          TX           79749
DAVID CROW , BULLET          28 ROAD 5150                                                                                            BLOOMFIELD       NM           87413
ENTERPRISES
DAVID DENNIS AND SHARLENE    18735 CABERNET DRIVE                                                                                    SARATOGA         CA           95070
DENNIS
DAVID E. & SHELLEY W.        31 CRESTVIEW DRIVE                                                                                      PLEASANTVILLE    NY           10570
SHEINKOPF
DAVID EARL GLENN             C/O DOLORES KELLEY           P.O. BOX 6695                                                              TEXARKANA        TX           75505
DAVID EARL HAGEMAN           802 CONWAY                                                                                              SAN MARCOS       TX           78660
DAVID EDWARD HAUBEGGER       614 OYSTER CREED DRIVE                                                                                  SUGARLAND        TX           77478
DAVID FARMER EXPLORATION     P.O. BOX 1173                                                                                           MIDLAND          TX           79702
LLC
DAVID HENRY HILLGER          P.O. BOX 2134                                                                                           BIG SPRING       TX           79721
DAVID HENRY HILLGER, JR.     7707 BRANDON ROAD                                                                                       BIG SPRING       TX           77920
DAVID HUNTER STRAIN          113 BIKEWAY LANE                                                                                        SAN ANTONIO      TX           78231
DAVID J. ENTZMINGER          ENTZMINGER GEOSCIENCE        5606 RIDGEMONT                                                             MIDLAND          TX           79707
                             SERVICES, LLC
DAVID JESS ST. CLAIR         1401 BELLEFONTE LANE                                                                                    COLLEYVILLE      TX           76034
DAVID L. FRAKES FLP LLP      15601 N. DALLAS PARKWAY,                                                                                ADDISON          TX           75001
                             SUITE 900
DAVID M COOK                 1140 FM 2104                                                                                            SMITHVILLE       TX           78957
DAVID OLIVER DANIEL          9655 ATHLONE DR                                                                                         DALLAS           TX           75218
DAVID STRAIN, TRUSTEE OF THE CHARLES HUNTER STRAIN        113 BIKEWAY LANE                                                           SAN ANTONIO      TX           78231
                             FAMILY TRUST
DAVID Y. CHUNG               4845 LEE STREET                                                                                         SKOKIE           IL           60077
DB CORING SOLUTIONS, LLC     P.O. BOX 9326                                                                                           MIDLAND          TX           79708
DCC SERVICES, LLC            P.O. BOX 727                                                                                            HOBBS            NM           88241
DCP MIDSTREAM, LLC           10 DESTA DRIVE, SUITE 600W                                                                              MIDLAND          TX           79705
DEAL COMMISSION
DEAN L. GREENBURG            2233 MAXWELL AVENUE                                                                                     NEWPORT          MN           55055
REVOCABLE TRUST
DEBORAH DAVIDSON NAPOLI      300 PERSHING                                                                                            COLLEGE STATION TX            77840
DEBORAH K. PERRY NOYES       106 LAKEWOOD POINT                                                                                      BOSSIER CITY    LA            71111
DEBORAH LYNN FOWLER          P.O. BOX 302                                                                                            ANDREWS         TX            79714


                                                                                      In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS                 Doc 81            Filed 11/13/19   Page 14 of 53
                                                                                              Creditor Matrix


             Name                       Address 1                             Address 2                      Address 3       Address 4         City           State       Zip      Country
DEC GLOBAL                    1030 ANDREWS HIGHWAY,                                                                                      MIDLAND         TX           79705
                              SUITE 220
DEDE SPIVA POWELL             1109 PIDCOKE ST                                                                                            GATESVILLE      TX           76528
DEEPWELL ENERGY SERVICES,     DEPT #0944                     P.O. BOX 1000                                                               MEMPHIS         TN           38148-0944
LLC
DEIRDRE APPEL                 7328 BRENISH DR                                                                                            GAITHERSBURG    MD           20879
DELANA F. HUSTON              2431 COUNTY ROAD 490                                                                                       STEPHENVILLE    TX           76401
DELAWARE STATE TREASURY       820 SILVER LAKE BLVD., SUITE                                                                               DOVER           DE           19904
                              100
DELBERT L. RUNYON             216 MESQUITE ST.                                                                                           ZAPATA          TX           78076
DEL'S FLUID CALIPERS, INC     P.O. BOX 14892                                                                                             ODESSA          TX           79768
DEL'S INSPECTION SERVICE      COMPANY, LLC                   P.O. BOX 70226                                                              ODESSA          TX           79769
DEPENDABLE WELL SERVICE       P.O. BOX 52610                                                                                             MIDLAND         TX           79710
LLC
DESERT PARTNERS IV LP         P.O. BOX 3579                                                                                              MIDLAND         TX           79701
DESERT PARTNERS IV, LP        P.O. BOX 3579                                                                                              MIDLAND         TX           79702
DESERT PARTNERS V LP          P.O. BOX 3579                                                                                              MIDLAND         TX           79702
DESERT WOLFPACK MOBILE,       2137 W MCCORMICK ST                                                                                        ODESSA          TX           79766
INC.
DGM SUPPLY, INC.              P.O. BOX 9933                                                                                              MIDLAND         TX           79708
DIAHN EHLERS                  5224 MCCORMICK MOUNTAIN                                                                                    AUSTIN          TX           78734
                              DRIVE
DIALOG WIRELINE SERVICES,     3100 MAVERICK DRIVE                                                                                        KILGORE         TX           75662
LLC
DIAMOND G OILFIELD SERVICES   P.O. BOX 149                                                                                               FORT STOCKTON   TX           79735
DIAMOND G OILFIELD SUPPLY     P.O. BOX 550                                                                                               FORT STOCKTON   TX           79735
DIAMOND M TRUCKING            ATTN: ROSIE MARTINEZ           P.O. BOX 2075                                                               PECOS           TX           79772
DIANA C. DUNN                 1531 TAMAR LANE                                                                                            AUSTIN          TX           78727
DIANA SAENZ                   3711 CEDAR SPRING                                                                                          MIDLAND         TX           79703
DIANE E. BENSON               6046 CIELO CIRCLE                                                                                          SPARKS          NV           89436
DICK GLOVER COMPANY, INC      P.O. BOX 1893                                                                                              ODESSA          TX           79760
DILL LAND & CATTLE, LLC       ATTN: JACK DILL                16913 FM 179                                                                WOLFFORTH       TX           79382
DINOSAUR PETROLEUM LLC        C/O ALAN TALESNICK             5030 BOW MAR DRIVE                                                          LITTLETON       CO           80123
DISCOUNT TIRE                 3100 LOOP 250 FRONTAGE RD                                                                                  MIDLAND         TX           79705
DIVERSIFIED DETECTION         1712 SCR 1310 , P.O. BOX 684                                                                               ODESSA          TX           79760
SERVICES, INC
DIVERTERPLUS, LLC             P.O. BOX 796015                                                                                            ST LOUIS        MO           63179-6000
D-JAX CORPORATION             P.O. BOX 1073                                                                                              MIDLAND         TX           79702
DKL INVESTMENTS LP            5956 SHERRY LANE               SUITE 1221                                                                  DALLAS          TX           75225
DNS TRUCKING, LLC             P.O. BOX 885                                                                                               PECOS           TX           79772
DOC'S REVERSE UNITS &         P.O. BOX 1540                                                                                              MONAHANS        TX           79756
RENTAL TOOLS
DOCUMENT SHREDDING AND        P.O. BOX 8468                                                                                              AMARILLO        TX           79114
STORAGE
DODSON FAMILY LLC             1ST FINANCIAL TRUST & ASSET MGT COMP                                P.O. BOX 701                           ABILENE         TX           79601
DON CHAMBERS                  1818 ELMWOOD DRIVE                                                                                         ABILENE         TX           79605
DON HARRIS                    5007 ROLLINGWOOD DRIVE                                                                                     AUSTIN          TX           78746
DONALD BRADLEY, BRADLEY       1910 W. JEFFERSON ST.                                                                                      PECOS           TX           79772
MEASUREMENT
DONALD E. JAHNCKE LIVING      U/T/A DATED MAY 4,1972         2000 LONGSHORE                                                              ANN ARBOR       MI           48105
TRUST
DONALD L. CALLAHAN JR         6363 SKYLINE DR.               APT 53                                                                      HOUSTON         TX           77057
DONALD R WALLACE              807 LEHMAN #34                                                                                             HOUSTON         TX           77018
DONNA CALDWELL PROPERTIES,    40998 N. RED DOG DRIVE                                                                                     CAVE CREEK      AZ           85331
LLC
DONNA PEPPER                  141 MEREDITH DR.                                                                                           SAN ANTONIO     TX           78228
DONNA RUTH KIRK               4776 VZ CR 2301                                                                                            CANTON          TX           75103
DONNABELLE HUTT               1114 AINSLEE STREET                                                                                        MIDLAND         TX           79701


                                                                                          In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS                  Doc 81            Filed 11/13/19   Page 15 of 53
                                                                                                Creditor Matrix


           Name                         Address 1                               Address 2                      Address 3       Address 4          City           State       Zip      Country
DON-NAN PUMP & SUPPLY         P.O. BOX 11367                                                                                               MIDLAND          TX           79702
DOREEN L STAUFFER             151 W LANGLEY RD                                                                                             BATTLE CREEK     MI           49015
DORR PETROLEUM LAND           P.O. BOX 51638                                                                                               MIDLAND          TX           79702
MANAGEMENT, LLC
DOUBLE E TRUCKING             P.O. BOX 69436                                                                                               ODESSA           TX           79769
DOUBLE H SERVICES             P.O. BOX 8966                                                                                                MIDLAND          TX           79708-8966
DOUBLEPINE INVESTMENTS,       4851 LBJ FREEWAY                 SUITE 210                                                                   DALLAS           TX           75244
LTD.
DOUGLAS EARL BELL             P.O. BOX 832021                                                                                              RICHARDSON       TX           75083
DOUGLAS G HECK                P.O. BOX 4460                                                                                                MIDLAND          TX           79704-4460
DOUGLAS M. CHENAULT           202 SOUTH ARTHUR STREET                                                                                      KENNEWICK        WA           99336
DOUGLAS RAY HART              DAVID STEVENS, AS GUARDIAN 5518 LIPES BLVD                            APT #226                               CORPUS CHRISTI   TX           78413

DOUGLAS W FERGUSON            P.O. BOX 432                                                                                                 MIDLAND          TX           79702
DOWN HOLE INSPECTION, INC     P.O. BOX 274                                                                                                 MONAHANS         TX           79756
DOWNHOLE TECHNOLOGY, LLC      12450 CUTTEN RD.                                                                                             HOUSTON          TX           77066
DRILFORMANCE, LLC             15815 WAVERLY DRIVE                                                                                          HOUSTON          TX           77032
DRILL2FRAC                    20018 CHATEAU BEND DRIVE                                                                                     KATY             TX           77450
DRILLCHEM DRILLING            P.O. BOX 81735                                                                                               LAFAYETTE        LA           70598-1735
SOLUTIONS,LLC
DRILLING INFO INC.            P.O. BOX 678128                                                                                              DALLAS           TX           75267-8128
DRILLINGPRO                   MIDLAND DRILLING PRO LLC         P.O. BOX 81087                                                              MIDLAND          TX           79708
DTC ENERGY GROUP, INC.        CRESTMARK BANK                   DRAWER 2039                          P.O. BOX 5935                          TROY             MI           48007-5935
D-TECH DRILLING TOOLS,INC.    4667 KENNEDY COMMERCE                                                                                        HOUSTON          TX           77032
                              DRIVE
DURACHEM PRODUCTION           P.O. BOX 216                                                                                                 ANDREWS          TX           79714
SERVICES, LLC
DUSTIN CREEK                  105 TURNBERRY CT.                                                                                            ALEDO            TX           76008
DWJ REAL PROPERTIES, LLC      12463 SHORE STREET                                                                                           LEAVENWORTH      WA           98826
DYNAMIC DOWNHOLE SERVICES,    DBA GRIZZLY COMPLETION           17806 W IH 10                        SUITE 3100                             SAN ANTONIO      TX           78257
LLC                           SERVICES
DYNAMIC OILFIELD SERVICES     P.O. BOX 181137                                                                                              CORPUS CHRISTI   TX           78480-1137
INC
DYNASTY DOWNHOLE SERVICES     13007 W. C.R. 91                                                                                             MIDLAND          TX           79707

DYNOMAX DRILLING TOOLS USA    2830 FARRELL RD.                                                                                             HOUSTON          TX           77073
INC.
E & R REED ENTERPRISES, LLC   P.O. BOX 1230                                                                                                PORTERVILLE      CA           93258
E&V OIL FIELD SERVICES        903 W INDUSTRIAL                                                                                             MIDLAND          TX           79701
E. F. HUMPHRIES
E3 LAND & MINERALS, LLC       327 N ROBERTS ST                                                                                             GILMER           TX           75644
EAGLE PROPANE & FUELS         P.O. BOX 61777                                                                                               MIDLAND          TX           79711
EAGLECLAW MIDSTREAM           500 W ILLINOIS AVE, SUITE 7000                                                                               MIDLAND          TX           79701
VENTURES, LLC
EAGLECLAW MIDSTREAM           700 WEST ILLINOIS STREET         SUITE 700                                                                   MIDLAND          TX           79701
VENTURES, LLC
EARL AND RUTH REED            REVOCABLE TRUST                  P.O. BOX 1230                                                               PORTERVILLE      CA           93257
EARL AND RUTH REED            P.O. BOX 1230                                                                                                PORTERVILLE      CA           93257
REVOCABLE TRUS
EARL MICHAEL ROGERS           5237 CHIRICAHUA TRAIL                                                                                        LAS CRUCES       NM           88012
ECHO MINERALS AC III, LLC     3817 NORTHWEST                   SUITE 840                                                                   OKLAHOMA CITY    OK           73112
                              EXPRESSWAY
ECHO MINERALS AC III, LLC     3817 NW EXPRESSWAY               SUITE 480                                                                   OKLAHOMA CITY    OK           73112
ECHO MINERALS, LP             3817 NORTHWEST                   SUITE 840                                                                   OKLAHOMA CITY    OK           73112
                              EXPRESSWAY
ED C. BARRETT                 P.O. BOX 670                                                                                                 HEREFORD         TX           79045
EDDIE B. GOMEZ                1961 TEXAN TRAIL                                                                                             ODESSA           TX           79766




                                                                                            In re: MTE Holdings, LLC, et al.
                                                       Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 16 of 53
                                                                                          Creditor Matrix


           Name                         Address 1                         Address 2                      Address 3       Address 4         City             State       Zip          Country
EDGE MANUFACTURING &          P.O. BOX 10581                                                                                         MIDLAND           TX           79702
TECHNOLOGY
EDWARD P. MELLON, II, TUW     C/O SUN TRUST BANK,       515 KING ST                           ALX05602                               ALEXANDRIA        VA           22314
                              TRUSTEE
EDWARD P. MELLON, II, TUW     C/O SUNTRUST BANK         ATTN ANDREW H. LEWIS                  P.O. BOX 4655-MC252                    HOUSTON           TX           77210-4346
EDWARD W HOPPER
EDWARD WARREN HOPPER          633 S. UNION                                                                                           CONCORD           NC           28025
EDWIN FINLEY HOLDINGS, LLC    C/O JENNIFER SCHOOLS      3033 RIDGEBEND DR.                                                           GRAPEVINE         TX           76051
EGGELHOF INC.                 P.O. BOX 4346             DEPT 171                                                                     HOUSTON           TX           77210-4346
ELAH PROPERTIES LTD           5001 CHICAGO AVE.                                                                                      LUBBOCK           TX           79414
ELAINE BARNES                 P.O. BOX 505                                                                                           MIDLAND           TX           79702
ELICIA GREEN                  411 RIVER MOUNTAIN DR.                                                                                 BOERNE            TX           78006
ELISA CASTILLO                4208 DAKOTA AVE                                                                                        ODESSA            TX           79762
ELISA NOBLE FAMILY LTD.       PARTNERSHIP LLP           15601 N. DALLAS PARKWAY               SUITE 900                              ADDISON           TX           75001
ELIZABETH CODY RUTTER         740 BURLEY DRIVE                                                                                       WEST VANCOUVER    BC           V7T 1Z6      CANADA
ELIZABETH PENDLETON           3 WINDWARD DRIVE                                                                                       FORT WORTH        TX           76132
REYNOLDS
ELLA RING
ELLEN COLWELL HALL            5072 CASTLE CREEK LANE                                                                                 PLANO             TX           75093
ELLISON FLUID CALIPERS, LLC   P.O. BOX 66                                                                                            ALLEN             TX           75013
ELSR, LP                      8080 N. CENTRAL           SUITE 1420                                                                   DALLAS            TX           75206
                              EXPRESSWAY
EMMET, MARVIN & MARTIN, LLP   120 BROADWAY                                                                                           NEW YORK          NY           10271
EMPLOYBRIDGE HOLDING          DECCA CONSULTING          P.O. BOX 845669                                                              LOS ANGELES       CA           90084
COMPANY
ENCORE WELLHEAD SYSTEMS,      P.O. BOX 27380                                                                                         HOUSTON           TX           77227
LLC
ENDEAVOR ENERGY               110 N MARIENFELD          SUITE 200                                                                    MIDLAND           TX           79701
RESOURCES, LP
ENERGY PERSONNEL              P.O. BOX 203379                                                                                        DALLAS            TX           75320-3379
INTERNATIONAL
ENERGY TRANSFER PARTNERS,     8111 WESTCHESTER DR                                                                                    DALLAS            TX           75225
LP
ENERGY, FISHING & RENTAL      SERVICES, INC.            P.O. BOX 116587                                                              ATLANTA           GA           30368
ENTERPRISE CRUDE OIL          4600 E HWY 80                                                                                          MIDLAND           TX           79706
ENTERPRISE PRODUCTS           1100 LOUISIANA ST                                                                                      HOUSTON           TX           77002
PARTNERS, LP
ENVENTURE GLOBAL              DEPT. 630                 P.O. BOX 4346                                                                HOUSTON           TX           77210
TECHNOLOGY, INC.
ENVIRO VAT, LP                P.O. BOX 8208                                                                                          MIDLAND           TX           79708
ENVIROLOGIC SOLUTIONS, INC    P.O. BOX 452                                                                                           TUSCOLA           TX           79562
DBA ELS
EPIC MANAGEMENT               13103 FM 1960 W           SUITE 216                                                                    HOUSTON           TX           77065
RESOURCES, LLC
ERIC ESCHBERGER               1200 PORTSMOUTH COURT                                                                                  COLLEGE STATION   TX           77845
ERICA HARO                    6704 ECR 107                                                                                           MIDLAND           TX           79706
ERMA MEUTH                    5002 SPERMAN DR                                                                                        COLLEGE STATION   TX           77845
ERVIN WELL SITE               801 TRADEWINDS BLVD.      SUITE A                                                                      MIDLAND           TX           79706
CONSULTANTS, LLC
ERWIN SCHWARTZ SR.            2001 CR 270                                                                                            GARDEN CITY       TX           79739
ESSMAN FAMILY PARTNERSHIP     C/O JAMES H ESSMAN        P.O. BOX 302                                                                 MIDLAND           TX           79702
LP
ESTATE CLAUD B. HAMILL
ESTATE OF CHRISTOPHER
FRANKS, DECD.
ESTATE OF E.F. HUMPHRIES      12119 BROKEN BOUGH DR                                                                                  HOUSTON           TX           77024
ESTATE OF EDWIN C. FINLEY,    JENNIFER LYNN FINLEY      INDEPENDENT EXEC                      1317 NUECES COURT                      BENBROOK          TX           76126
DECEASED


                                                                                      In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS           Doc 81            Filed 11/13/19   Page 17 of 53
                                                                                          Creditor Matrix


            Name                         Address 1                        Address 2                   Address 3          Address 4          City         State       Zip      Country
ESTATE OF GERALD W. CURRIE     BARBARA CURRIE RATLIFF       INDEPENDENT EXEC                  P.O. BOX 238                           GARDEN CITY    TX           79739
ESTATE OF JAMES EDWARD         MEG BROOKS, INDEPENDENT      6207 PEGGY ST                                                            AUSTIN         TX           78723
BROOKS                         EXECUTRIX
ESTATE OF JAMES W CARMACK,     30443 KINGS VALLEY DRIVE                                                                              CONIFER        CO           80433
DECEASED
ESTATE OF JOHN G. AULD         915 JACKSON ST.                                                                                       PHILADELPHIA   PA           19148
ESTATE OF O. BARTON BUSH       ATTN: SYLVIA BUSH            6839 SPRING LARK                                                         SAN ANTONIO    TX           78249
ESTATE OF P.A. MEYERS
ESTATE OF PATSY RUTH YOUNG
ESTATE OF RAYMOUND A.
YOUNG
ESTATE OF RODNEY L. GILLS      1049 FAWN HOLLOW                                                                                      BOSSIER CITY   LA           71111
ESTATE OF VIOLA BARNES         CHRISTINE BARNES MOTYCKA     INDEPENDENT EX                    REDISTRIBUTED PER                      MIDLAND        TX           79702
                                                                                              ASSIGNMENT
ESTATE OF W. D. BUSH           BUSH-GRIFFIN LIVING TRUST    7534 FM 2354                                                             BAYTOWN        TX           77520-9115
ETC FIELD SERVICES, LLC        P.O. BOX 209034                                                                                       DALLAS         TX           75320-9034
ETC TEXAS PIPELINE,LTD         P.O. BOX 951439                                                                                       DALLAS         TX           75395-1439
EUGENE PICA                    4000 GREATWOOD PATH                                                                                   ALPHARETTA     GA           30005
EVA MAY O'BRIEN
EVALIE GRIGG                   189 HOHMANN ROAD                                                                                      SAN ANGELO     TX           76905
EVAN MICHAEL ROBINSON          C/O WELLS FARGO, OIL, GAS,   MINERAL ADMIN                     P.O. BOX 5383                          DENVER         CO           80217
                               AND
EVANS PETROLEUM                AND SERVICES                 5213 ARBOR COURT                                                         ODESSA         TX           79762
CONSULTANTS
EVELYN A. MALEY                9182 BALMORAL BEND                                                                                    IOLA           TX           77861
EVELYN CARPENTER
EVELYN DOYLE SPEARMAN          7416 INNISFREE PLACE                                                                                  CHARLOTTE      NC           28226
EVERGREEN NATURAL              P.O. BOX 2062                                                                                         MIDLAND        TX           79702
RESOURCES, LLC
EVO INCORPORATED               1557 W. SAM HOUSTON PKWY N SUITE 100                                                                  HOUSTON        TX           77043

EWING'S BLUE STREAK LLC        ATTN: BAYARD C. EWING        3150 E JEWELL AVE                                                        DENVER         CO           80210
EXILE ROYALTY COMPANY, LLC     515 HOUSTON ST.              SUITE 631                                                                FORT WORTH     TX           76102
EXPRESS ENERGY SERVICES        P.O. BOX 843971                                                                                       DALLAS         TX           75284
EXTERNAL SYSTEMS               201 W WASHINGTON AVE                                                                                  MIDLAND        TX           79701-5056
EXTERRAN ENERGY SOLUTIONS,     P.O. BOX 205805                                                                                       DALLAS         TX           75320-5805
LP
F&C TRANSPORTS, INC.           P.O. BOX 1162                                                                                         MONAHANS       TX           79756
F. L. STEPHENS                 TRUSTEE                      5733 BEN FICKLIN ROADS                                                   SAN ANGELO     TX           76904
F.S. TRUCKING, INC.            3205 S. COUNTY ROAD WEST                                                                              ODESSA         TX           79766
FAB TECH DRILLING EQUIPMENT,   P.O. BOX 13862                                                                                        ODESSA         TX           79768
INC.
FAIRMOUNT LAND & MINERALS,     6615 SNIDER PLAZA            SUITE 201E                                                               DALLAS         TX           75205
LLC
FALCON ENERGY SERVICES         P.O. BOX 1118                                                                                         LEVELLAND      TX           79336
FEAGAN GATHERING COMPANY       P.O. BOX 50307                                                                                        MIDLAND        TX           79710
FEDERICO ENTERPRISES, INC.     22174 ORTEGA HIGHWAY                                                                                  SAN JUAN       CA           92675
                                                                                                                                     CAPISTRANO
FENWOOD ROAD CAPITAL           ATTN: TIMOTHY J. DETMERING   2700 FENWOOD ROAD                                                        HOUSTON        TX           77005
PARTNERS, LP
FERGUSON RESOURCES INC         P.O. BOX 2508                                                                                         BAKERSFIELD    CA           93303
FERN HILL VILLAGE              17100 CLINTON RIVER ROAD                                                                              CLINTON        MI           48038
APARTMENTS                                                                                                                           TOWNSHIP
FESCO LTD , PETROLEUM          1000 AVE.                                                                                             ALICE          TX           78332
ENGINEERS
FIRETHORNE DOWNHOLE            8820 NORTHWEST LOOP 338      BLDG 7                                                                   ODESSA         TX           79764
FIRST NATIONAL BANK OF         P.O. BOX 400                                                                                          GRANBURY       TX           77604
GRANBURY


                                                                                      In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 18 of 53
                                                                                            Creditor Matrix


             Name                     Address 1                             Address 2                      Address 3       Address 4         City         State       Zip      Country
FLEAUX SERVICES OF           230 LYNBROOK BLVD                                                                                         SHREVEPORT    LA           71106
LOUISIANA, LLC
FLEXPIPE SYSTEMS, A          P.O. BOX 975369                                                                                           DALLAS        TX           75397-5369
SHAWCOR COMPANY
FLEXSTEEL PIPELINE           TECHNOLOGIES, INC.           P.O. BOX 732853                                                              DALLAS        TX           75373-2853
FLEXSTEEL USA, LLC           1201 LOUISIANA STREET        SUITE 2700                                                                   HOUSTON       TX           77002
FLORENCE MARIE HALL TRUSTS   BANK OF AMERICA, N.A.,       P.O. BOX 830308                                                              DALLAS        TX           75283-0308
                             TRUSTEE
FLORENCE THELMA HALL         BANK OF AMERICA, N.A.,       P.O. BOX 830308                                                              DALLAS        TX           75283-0308
TRUSTS                       TRUSTEE
FLOTEK CHEMISTRY, LLC, PCM   P.O. BOX 677495                                                                                           DALLAS        TX           75267-7496
DIVISION
FLO-TEST, INC.               P.O. BOX 12820                                                                                            ODESSA        TX           79768
FLOWCO PRODUCTION            DEPT 229                     P.O. BOX 4458                                                                HOUSTON       TX           77210-4458
SOLUTIONS, LLC
FLOYD C. DODSON, JR. TRUST   1ST FINANCIAL TRUST & ASSET MGT COMP                               P.O. BOX 701                           ABILENE       TX           79601
FLOYD CUMMINGS DODSON        1ST FINANCIAL TRUST & ASSET MGT COMP                               P.O. BOX 701                           ABILENE       TX           79601
KEEBLE TRUST
FLOYD RANDOLPH HUMPHRIES     17 SOUTH BLUE HERON                                                                                       PORT LAVACA   TX           77979
FLUID DELIVERY SOLUTIONS,    ATTN: PHILIP KUNTZ           6795 CORPRATION PARKWAY, SUITE 200                                           FT. WORTH     TX           76126
LLC
FLYING A PUMPING SERVICES,   P.O. BOX 2123                                                                                             ALBANY        TX           76430
LLC
FM HALL LP                   C/O ANB, AGENT- OIL & GAS    P.O. BOX 1                                                                   AMARILLO      TX           79105
                             DEPT.
FMH FOUNDATION               C/O BANK OF AMERICA, N.A.    P.O. BOX 840738                                                              DALLAS        TX           75284-0738
FORD MOTOR CREDIT            P.O. BOX 650575                                                                                           DALLAS        TX           75265
FORRISTER GENERATION-        C/O CLASSIC SOFT TRIM        4516 SETON CENTER PARKWAY             SUITE 135                              AUSTIN        TX           78757
SKIPPING TRUST
FORTRESS BANK                1345 AVENUE OF THE           46TH FLOOR                                                                   NEW YORK      NY           10105
                             AMERICAS
FORTRESS ENERGY PARTNERS     1208 W. WALL ST.                                                                                          MIDLAND       TX           79701
II, LP
FORTRESS ENERGY PARTNERS     P.O. BOX 4695                                                                                             MIDLAND       TX           79704
II, LP
FORTRESS EXCHANGE            P.O. BOX 4695                                                                                             MIDLAND       TX           79704
PROPERTIES, LLC
FORTRESS-THIRD PARTY         1345 AVENUE OF THE           46TH FLOOR                                                                   NEW YORK      NY           10105
CLOSING COSTS                AMERICAS
FORTUNA MINERALS, LLC        2 GREENWAY PLAZA             SUITE 240                                                                    HOUSTON       TX           77046
FOSTER & FOSTER LAW, PC      3300 N. A STREET             BUILDING 7, SUITE 120                                                        MIDLAND       TX           79705
FOSTER ROYALTIES, LP         P.O. BOX 53188                                                                                            LUBBOCK       TX           79453
FOUNDATION MINERALS, LLC     P.O. BOX 50820                                                                                            MIDLAND       TX           79710
FOX TANK COMPANY             P.O. BOX 2260                                                                                             ALBANY        TX           76430
FR ENERGY, LLC               2 GREENWAY PLAZA             SUITE 240                                                                    HOUSTON       TX           77046
FRAC SPECIALISTS, LLC        P.O. BOX 11342                                                                                            MIDLAND       TX           79702
FRANCES FARWELL DIABETI      1464 KNOLL PARK GLEN                                                                                      ESCONDIDO     CA           92029
FRANCES LUCIDO               61658 COTSWOLD DR.                                                                                        WASHINGTON    MI           48094
FRANCES M WILLIAMS           3712 BEVERLY DR                                                                                           DALLAS        TX           75205
FRANCES RATLIFF              1607 WINFIELD RD                                                                                          MIDLAND       TX           79705
FRANCIS C. SANDERS           149 FRANKLIN ST                                                                                           SANTA CRUZ    CA           95060
FRANCIS MONTGOMERY
WILLIAMS
FRANK & BILLIE M SLACK REV   C/O KENNETH ROY SLACK        7420 N CHRISTIE DR                                                           TUCSON        AZ           85718
TRUST
FRANK K HOPPER               6204 SPRING TIME DR.                                                                                      SAN ANTONIO   TX           78249
FRAZEE ARLEDGE               1603 NORTHHAVEN DRIVE                                                                                     DENTON        TX           76210
FRED A CECERE                4503 LELAND ST                                                                                            CHEVY CHASE   MD           20815


                                                                                        In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS            Doc 81            Filed 11/13/19          Page 19 of 53
                                                                                           Creditor Matrix


             Name                          Address 1                       Address 2                      Address 3              Address 4            City           State       Zip      Country
FRED HAINES
FRED L. PHILLIPS               330 MARSHALL STREET         SUITE 300                                                                         SHREVEPORT         LA           71101
FREDA BLAHOSKY TRUST           PIERCE N. THOMAS, TRUSTEE   9447 WOLF PACK TERRACE                                                            MIDLAND            TX           79702
FREELAND ROUSTABOUT &          P.O. BOX 11311                                                                                                MIDLAND            TX           79702
EQUIPMENT LLC
FRIED FRANK                    ONE NEW YORK PLAZA                                                                                            NEW YORK           NY           10004-1980
FRIENDLY TRUCKING              1705 S. STOCKTON                                                                                              MONAHANS           TX           79756
FROZEN FOOD EXPRESS            P.O. BOX 847576                                                                                               DALLAS             TX           75284-7576
FTS INTERNATIONAL SERVICES,    777 MAIN ST                 SUITE 2900                                                                        FORT WORTH         TX           76102
LLC
FTS INTERNATIONAL SERVICES,    C/O COZEN O' CONNOR         ATTN: MARK E. FELGER                1201 N. MARKET ST.         STE. 1001          WILMINGTON         DE           19801
LLC
G & N PUMPING & COMPRESSOR     1302 SOUTH BRUCE                                                                                              MONAHANS           TX           79756
SERVICE
G. ALAN CHAPMAN                1418 AVE. A                                                                                                   KATY               TX           77493
G.C. & SONS TRUCKING, INC.     P.O. BOX 69555                                                                                                ODESSA             TX           79769
G6 ENERGY SERVICES             P.O. BOX 8568                                                                                                 MIDLAND            TX           79708
GABRIEL GOLD                   14753 OSTEGO STREET                                                                                           SHERMAN OAKS       CA           91403
GARLAND PUMPING &              ROUSTABOUT SERVICE, INC.    P.O. BOX 320                                                                      PYOTE              TX           79777
GARY B. SMITH 1992 REVOCABLE   MANAGEMENT TRUST                                                                                              ALEDO              TX           78006

GARY EARL REED & CHRISTINE     DIANE REED REVOCABLE        P.O. BOX 1230                                                                     PORTERVILLE        CA           93258
                               TRUST
GARY EARL REED, SSP            P.O. BOX 1230                                                                                                 PORTERVILLE        CA           93258
GARY PHILIP ROGERS             6521 WHITEMARSH VALLEY                                                                                        AUSTIN             TX           78746
                               WALK
GAURAV RAI                     2600 WEST LOOP 250 NORTH    APT 302                                                                           MIDLAND            TX           79705
GE OIL & GAS ESP, INC.         P.O. BOX 301200                                                                                               DALLAS             TX           75303-1338
GE OIL & GAS PRESSURE          P.O. BOX 911776                                                                                               DALLAS             TX           75391
CONTROL LP
GENESIS ENERGY                 919 MILAM ST, SUITE 2100                                                                                      HOUSTON          TX             77002
GEOFF HAWKINS, INC.            P.O. BOX 641                                                                                                  DRIPPING SPRINGS TX             78620-0641
GEORGE C. NEALE , ATTORNEYS    1601 RIO GRANDE STREET      SUITE 335                                                                         AUSTIN           TX             78701
AT LAW
GEORGE F. MEYERS               17183 E. CEDAR GULCH DR.                                                                                      PARKER             CO           80134
GEORGE L. RUNYON               24741 STATE ROUTE WW                                                                                          STE. GENEVIEVE     MO           65536
GEORGE RAY SPARKS              P.O. BOX 284                                                                                                  STERLING CITY      TX           76951
GEORGE SUSAT                   3812 ACAPULCO COURT                                                                                           IRVING             TX           75062
GEORGE W GANTT III             1088 WINGATE DR                                                                                               MARIETTA           GA           30064
GEORGIA ELROD CONGLETON        4055 37TH AVE. SW                                                                                             SEATTLE            WA           98126
GEOSYSTEMS LLP                 1410 STONEHOLLOW DR.                                                                                          KINGWOOD           TX           77339
GESCH CONTRACTING, INC.        P.O. BOX 52988                                                                                                MIDLAND            TX           79710
GILLS FAMILY REVOCABLE         P.O. BOX 152                                                                                                  MURFREESBORO       AR           71958
TRUST
GILMORE FABRICATION &          2816 FRENCH KINGSTON                                                                                          GRANBURY           TX           76049
SERVICE, LP                    COURT
GIRARD EXPLORATION &           6688 N CENTRAL EXPRESSWAY SUITE 1250                                                                          DALLAS             TX           75206-3950
PRODUCTION LLC
GLADIATOR ENERGY SERVICES,     DEPT.1670                   P.O. BOX 100                                                                      BIXBY              OK           74008-0100
LLC
GLASSCOCK COUNTY               NANCY HILLGER               TAX ASSESSOR-COLLECTOR              P.O. BOX 89                                   GARDEN CITY        TX           79739
GLEN C. BICKLEY
GLENN H. LIEBOWITZ TRUST       U/A DATED FEB. 22, 1994     28246 DANVERS COURT                                                               FARMINGTON HILLS   MI           74334
GLOBE ENERGY SERVICES          P.O. BOX 204676                                                                                               DALLAS             TX           75320-4676
GLYNETH J. HOLMES              179 BUCCANEER DR.                                                                                             HEMPHILL           TX           75948
GM OILFIELD & TRUCKING         P.O. BOX 915183                                                                                               DALLAS             TX           75391-5173
SERVICES LLC
GORDON KING HUMPHRIES          363 CONNAUGHT WAY                                                                                             HOUSTON            TX           77015


                                                                                       In re: MTE Holdings, LLC, et al.
                                                            Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 20 of 53
                                                                                               Creditor Matrix


            Name                         Address 1                             Address 2                      Address 3       Address 4          City         State       Zip      Country
GORDON MIXON, JR.              1991 RYAN AVE.                                                                                             ST. PAUL         MN         55113
GORDON W MIXON JR              1991 RYAN AVENUE WEST                                                                                      ST PAUL          MN         55113
GR ENERGY SERVICES,            FLEX FLOW SERVICES            DEPT 490                              P.O. BOX 4346                          HOUSTON          TX         77210-4346
GRADIANT ENERGY SERVICES,      90 MADISON STREET             SUITE 400                                                                    DENVER           CO         80206
INC.
GRADY'S WESTERN SUPPLY CO.,    P.O. DRAWER 429                                                                                            PECOS            TX         79772
INC.
GRANDE COMMUNICATIONS          401 CARLSON CIRCLE                                                                                         SAN MARCOS       TX         78666
GRANDE COMMUNICATIONS          P.O. BOX 660401                                                                                            DALLAS           TX         75266-0401
GRAVITY OILFIELD SERVICES,     3300 NORTH A. STREET          BUILDING FOUR, SUITE 100                                                     MIDLAND          TX         79705
LLC
GRAVITY OILFIELD SERVICES,     ATTN: MARK ZIMMERMAN          P.O. BOX 734128                                                              DALLAS           TX         75373-4128
LLC
GRAY SURFACE SPECIALTIES       3416 W. WALL ST.              SUITE 100                                                                    MIDLAND          TX         79701
GREAT PLAINS WELL LOGGING,     1501 LERA DRIVE, SUITE 3                                                                                   WEATHERFORD      OK         73096-2670
INC.
GREEN TREE COUNTRY CLUB,       4900 GREEN TREE BLVD.                                                                                      MIDLAND          TX         79707
INC.
GREENHILL SCHOOL               4141 SPRING VALLEY ROAD                                                                                    ADDISON          TX         75001
GREENWELL ENERGY               P.O. BOX 800579                                                                                            HOUSTON          TX         77280
SOLUTIONS, LLC
GREGORY P. MILLER              4028 TAMWORTH ROAD                                                                                         FORT WORTH       TX         76116
GRETHER FAMILY TRUST           18795 BOLERO LANE                                                                                          HUNTINGTON       CA         92649
                                                                                                                                          BEACH
GREYSON GEORGE SEYMOUR         P.O. BOX 27497                                                                                             AUSTIN           TX         78755
GRIFFIN RICKER TRUST           1ST FINANCIAL TRUST & ASSET MGT COMP                                P.O. BOX 701                           ABILENE          TX         79601
GRINGOTTS 5404 LLC             200 CRESCENT COURT          SUITE 1310                                                                     DALLAS           TX         75201
GRISSOM'S OILFIELD SERVICE,    1000 MORNINGSIDE                                                                                           ANDREWS          TX         79714
LLC
GULF COAST BUSINESS CREDIT     ROCK IRON TRANSPORT        P.O. BOX 732951                                                                 DALLAS           TX         75373-2951
GWENDOLYN B. GELTEMEYER        203 ROSEHEART                                                                                              SAN ANTONIO      TX         78259-2377
GYRODATA INCORPORATED          23000 NORTHWEST LAKE DRIVE                                                                                 HOUSTON          TX         77095

H & M BUIE INVESTMENTS, LTD.   2025 STERLING DRIVE                                                                                        TYLER            TX         75701
H.T. HILLIARD ESTATE           13426 CHALK HILL ROAD                                                                                      HEALDSBURG       CA         95448
H2OIL DISPOSAL & RECOVERY      MSC #900                      P.O. BOX 4906                                                                HOUSTON          TX         77210-4906
SERVICES
HACKBERRY, LLC                 C/O CORWIN L. COLLINS         P.O. BOX 630888                                                              IRVING           TX         75063
HADCO SERVICES, INC.           P.O. BOX 81189                                                                                             LAFAYETTE        LA         70598
HAILEY'S HOT SHOT,LLC          5104 N. COUNTY RD. 1150                                                                                    MIDLAND          TX         79705
HAIR FAMILY LIMITED            P.O. BOX 8122                                                                                              MIDLAND          TX         79708
PARTNERSHIP
HALL-FREE ENERGY               C/O BANK OF AMERICA, N.A.,    P.O. BOX 830308                                                              DALLAS           TX         75283
INVESTMENTS                    INV. MGR
HALLIBURTON ENERGY             P.O. BOX 301341                                                                                            DALLAS           TX         75303-1341
SERVICES, INC.
HAMMER PERFORATING, LLC        C/O CASHFLOW EXPERTS          P.O. BOX 260074                                                              CORPUS CHRISTI   TX         78426
HANGING H RANCH                P.O. BOX 568                                                                                               PECOS            TX         79772
HANNATHON PETROLEUM LLC        223 W WALL ST                 SUITE 800                                                                    MIDLAND          TX         79701
HAPPY OTTER HOLDINGS, LP       1536 CR 4660                                                                                               WINNSBORO        TX         75494
HARRIS ACOUSTICS OF            P.O. BOX 4342                                                                                              MIDLAND          TX         79704
MIDLAND, INC.
HARRIS FAMILY TRUST            RAYMOND & VIVIAN HARRIS,      9507 WEST BURNS DRIVE                                                        SUN CITY         AZ         85351-1401
                               TRUSTEE
HARRISON HERITAGE              P.O. BOX 332                                                                                               BIG SPRING       TX         79721-0332
ENTERPRISES, INC.
HARVEY H. MUELLER, II          6467 SOUTHWEST BLVD.                                                                                       FORT WORTH       TX         76132
HEADWATERS MINERALS II, LP     3300 NORTH A STREET           BUILDING 8, SUITE 106                                                        MIDLAND          TX         79705


                                                                                           In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 21 of 53
                                                                                             Creditor Matrix


            Name                       Address 1                             Address 2                      Address 3       Address 4            City        State       Zip      Country
HED ENTERPRISES, LP           4925 GREENVILLE AVENUE       SUITE 500                                                                    DALLAS          TX           75206
HEDLOC INVESTMENT COMPANY
LP
HELEN BICKLEY POOLE
HELEN CHRISTINE YANCY, LIFE
ESTATE
HELEN HANAN                   317 N. LAFFERTY                                                                                           JEANNETTE       PA           15644
HELEN TAYLOR GALBRAITH        1500 CEDARBROOK DR                                                                                        HOUSTON         TX           77055
HELL'S GATE RESOURCES         4153 IDLEWILD DR.                                                                                         FORT WORTH      TX           76107
HELMERICH & PAYNE, INC.       DEPARTMENT #41109            P.O. BOX 650823                                                              DALLAS          TX           75265
HENSKI OILFIELD SERVICES      C/O CHARTER CAPITAL          P.O. BOX 270568                                                              HOUSTON         TX           77277-0568
HERBERT R. REHDERS III        P.O. BOX 3579                                                                                             MIDLAND         TX           79702
HFLP E&P LLC
HIDALGO FALLS LP              4768 STONEBRAIR CIRCLE                                                                                    COLLEGE STATION TX           77845
HIGH PEAK RENTAL &            P.O. BOX 1570                                                                                             MONAHANS        TX           79756
CONSTRUCTION LLC
HILLGER BECKNELL FAMILY       PARTNERSHIP LTD              2888 COUNTY RD 818                                                           BLACK           MO           63625
HILLGER LEGACY, LP            1365 NE 281                                                                                               ANDREWS         TX           76714
HOLTEN G. CAMPBELL            P.O. BOX 11086                                                                                            MIDLAND         TX           79702
HOOKER ENERGY HOLDINGS,       C/O FIRST FINANCIAL TRUST    P.O. BOX 701                                                                 ABILENE         TX           79604
LLC
HORIZONTAL SOLUTIONS          15851 N DALLAS PARKWAY       SUITE 1250                                                                   ADDISON         TX           75001
INTERNATIONAL
HORTON ROYALTY, LLC           P.O. BOX 50938                                                                                            MIDLAND         TX           79710
HOT ROD'S HOT SHOT SERVICE,   P.O. BOX 6565                                                                                             LUBBOCK         TX           79493-6565
LLC
HOWARD MANTLE                 605 IDLEWOOD DRIVE                                                                                        ATLANTA         GA           30327
HOWARD MEASUREMENT CO.,       1637 ENTERPRISE STREET                                                                                    ATHENS          TX           75751
INC.
HSE INTEGRATED, LLC           P.O. BOX 202552                                                                                           DALLAS          TX           75320-2252
HUCKABY LP                    HUCKABY MANAGEMENT LLC       800 W. 5TH ST.                        UNIT 302                               AUSTIN          TX           78703
HUGHES OILFIELD               2513 N MERCURY AVE                                                                                        ODESSA          TX           79763
TRANSPORTATION INC
HUGO G MEUTH                  5002 SPEARMAN DR                                                                                          COLLEGE STATION TX           77845
HUNTER FAMILY PARTNERSHIP,    5949 SHERRY LANE #780                                                                                     DALLAS          TX           75225
LTD
HYBRID LODGING, LLC           1010 S. EDDY ST.             SUITE A                                                                      PECOS           TX           79772
HYDE OIL & GAS CORPORATION    ATTN: BLAIR HAMBURG          6300 RIDGLEA PLACE                    SUITE 1018                             FORT WORTH      TX           76116
HYDROCARBONS UNLIMITED                                                                                                                                  TX           11111
HYDROTX CLEANING SERVICES,    P.O. BOX 1198                                                                                             KERMIT          TX           79745
LLC
IHS GLOBAL INC.               P.O. BOX 847193                                                                                           DALLAS          TX           75284-7193
IITFWI, LLC                   292 PINTAIL PL                                                                                            GILMER          TX           75645
IMPAC EXPLORATION SERVICES,   24306 E. ROAD 1030                                                                                        WEATHERFORD     OK           73096
INC.
INNOVEX DOWNHOLE              P.O. BOX 679456                                                                                           DALLAS          TX           75267-9456
SOLUTIONS, INC.
INNOVEX PRODUCTION            5226 BRITTMOORE                                                                                           HOUSTON         TX           77041
SOLUTIONS
INSIGNIFICANT OIL, LLC        15 FOREST PERCH PLACE                                                                                     THE WOODLANDS   TX           77382
INSIGNIFICANT OIL, LLC        6 EDGECLIFF PLACE                                                                                         THE WOODLANDS   TX           77382
INTEGRITY DIRECTIONAL         (TRIUMPH COMMERCIAL        DEPT 5001                               P.O. BOX 220                           BETTENDORF      IA           52722
SERVICES, LLC                 FINANCE)
INTEGRITY GAS SERVICES,LLC    7906 N.SAM HOUSTON PKWY W. SUITE 202                                                                      HOUSTON         TX           77064

INTEGRITY SERVICES, LLC       P.O. BOX 5989                                                                                             MIDLAND         TX           79704
INTERNAL REVENUE SERVICE      P.O. BOX 7346                                                                                             PHILADELPHIA    PA           19101-7346
INTERNAL REVENUE SERVICE      844 KING STREET                                                                                           WILMINGTON      DE           19801


                                                                                         In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS            Doc 81            Filed 11/13/19   Page 22 of 53
                                                                                           Creditor Matrix


             Name                       Address 1                          Address 2                      Address 3       Address 4         City            State       Zip      Country
INVESTIGATIONS & SECURITY,    7500 N. COUNTY ROAD 1294                                                                                MIDLAND          TX           79707
INC
IRA PLUS SOUTHWEST LLC,       F/B/O THOMAS S. ROY          822 DOUGLAS AVE.                    SUITE 332                              DALLAS           TX           75225-5225
CUSTODIAN
IRA PUMP & SUPPLY CO.         P.O. BOX 29                                                                                             IRA              TX           79527
IRON HORSE TOOLS, LLC         P.O. BOX 7762                                                                                           CORPUS CHRISTI   TX           78467
IRONMAN SPECIALTY FLUIDS      P.O. BOX 155                                                                                            SAN MARCOS       TX           78667
LLC
ISAACS TRANSPORT              13452 FM 206                                                                                            TYLER            TX           75709
ISABEL COLE BROOKS            1520 ROBIN ST                                                                                           MINEOLA          TX           75773
ISABEL COLE BROOKS            C/O JEANIE GIBSON            3522 E. BENGAL BLVD                                                        SALT LAKE CITY   UT           84121
J RAY'S RENTALS               3602 SINCLAIR AVE                                                                                       MIDLAND          TX           79707
J&R REVERSE UNITS & RENTAL    P.O. BOX 386                                                                                            MONAHANS         TX           79756
TOOLS LL
J&W SERVICES & EQUIPMENT      P.O. BOX 11021                                                                                          MIDLAND          TX           79702
COMPANY
J. B. ROYALTIES, LLC          19406 BELLA FLOR                                                                                        SAN ANTONIO      TX           78256-4404
J. DEVIN ALSUP, TRUSTEE       300 N MARIENFELD ST          SUITE 700                                                                  MIDLAND          TX           79701
J. DOUGLAS BRADLEY, LLP       902 TROON CIRCLE                                                                                        RICHARDSON       TX           75081
J. G. EICHSTAEDT 1997 TRUST   10536 WOLDRICH STREET                                                                                   LAKE VIEW        CA           91341
                                                                                                                                      TERRACE
J. JAN JIRCIK, P.C.           13231 CHAMPION FOREST        SUITE 402                                                                  HOUSTON          TX           77069
                              DRIVE
J. W. PERRY
J.E. CARMACK                  ATTN: JANET CARMACK,         404 KIVA COURT, SUITE E                                                    SANTA FE         NM           87505
                              PRESIDENT
J.L. HENRY CORPORATION        DBA TO A TEE HOT SHOT        P.O. BOX 872                                                               ODESSA           TX           78760
                              SERVICE
J6 ENERGY SERVICES            ATTN: JURY VALLADAREZ        23060 FM 159                                                               NAVASOTA         TX           77868
JA OILFIELD MANUFACTURING,    P.O. BOX 95545                                                                                          OKLAHOMA CITY    OK           73143
INC.
JACK BICKLEY
JACK LOUIS MCGOWEN            711 N. TRAVIS                                                                                           SHERMAN          TX           75090
JACK MILLSAP COMPANY INC.     P.O. BOX 12936                                                                                          ODESSA           TX           79768-2936
JACK P. WOLFE                 1205 NORWALK LANE            BLDG F-2                                                                   AUSTIN           TX           78703
JACK P. WOLFE                 1300 WEST LYNN, SUITE 107                                                                               AUSTIN           TX           78703
JACK PHARISS                  400 NW 19TH ST                                                                                          HAMLIN           TX           79520
JACQUELINE CAMPBELL SHEETZ
ESTATE
JACQUELINE WALLER             1116 KING GEORGE LANE                                                                                   SAVANNAH         TX           76227
MOREHEAD
JACQUELINE YVETTER            1116 KING GEORGE LANE                                                                                   SAVANNAH         GA           76227
MOREHEAD
JAMES (RON) WILSON                                                                                                                                     TX           11111
JAMES A HECK                  3403 MOUNTAINTOP CIRCLE                                                                                 AUSTIN           TX           78731
JAMES A REICHERT              7516 CHEVY CHASE DR.                                                                                    HOUSTON          TX           77063
JAMES A YANCY
JAMES A. CARTER               TRUSTEE                      515 W. HARRIS                       SUITE 100                              SAN ANGELO       TX           76903
JAMES B & TRACY M ANDERSON    C/O LAURA ANDERSON DAVIS     6502 HONEY HL                                                              SAN ANTONIO      TX           78229
TRUST                         TRUSTEE
JAMES B. BICKLEY
JAMES BRIAN ANDERSON          C/O TRACY MODISETTE          24602 IKES LANE                                                            HUFFMAN          TX           77336
JAMES BROWN RATLIFF, III      P.O. BOX 195                                                                                            RANKIN           TX           79778
JAMES BURNS                   821 S. AVE. C                                                                                           KERMIT           TX           79745
JAMES G. SMITH                DBA VISTA OIL                1516 LE MANS LANE                                                          SOUTHLAKE        TX           76092
JAMES G. SMITH                DBA VISTA OIL                P.O. BOX 3234                                                              MIDLAND          TX           79701
JAMES H. ESSMAN               P.O. BOX 302                                                                                            MIDLAND          TX           79702
JAMES H. LIMBRIGHT            2536 SE 24TH AVE.                                                                                       CAPE CORAL       FL           33904-3310


                                                                                       In re: MTE Holdings, LLC, et al.
                                                           Case 19-12269-CSS                Doc 81            Filed 11/13/19   Page 23 of 53
                                                                                                Creditor Matrix


            Name                       Address 1                             Address 2                         Address 3       Address 4           City           State       Zip       Country
JAMES M. TRESTER & HOLLY M.   6412 STONE CANYON DRIVE                                                                                      PLANO             TX           75024
TRESTER
JAMES MICHEAL WILSON          957 FROG HOLLER ROAD                                                                                         BOWIE             TX           76230
JAMES R CUNNINGHAM JR         11 EAGLE RIDGE DR                                                                                            HAUGHTON          LA           71037
JAMES R DOYLE
JAMES R. BERENS               1200 35TH STREET              SUITE 304-17                                                                   WEST DES MOINES IA             50266
JAMES RICHARD HILLGER         2103 ORLEANS DRIVE                                                                                           TALLAHASSEE     FL             32308
JAMES ROBERT BIRD             DBA BIRD CONTRACTING          3707 HUMBLE AVE                                                                MIDLAND         TX             79707
JAMES ROBERT STORY, JR.
JAMES THOMAS DANIEL III       P.O. BOX 116                                                                                                 GODLEY            TX           76044
JAMES W CARMACK II            30443 KINGS VALLEY DR                                                                                        CONIFER           CO           80433
JAMES W ESSMAN                1209 COUNTRY CLUB DR                                                                                         MIDLAND           TX           79701
JAMES W SPENCE JR             81 SUNNYVALE DR                                                                                              FORT MITCHELL     KY           41017
JAMES W. ESSMAN                                                                                                                            MIDLAND           TX           79701
JAN ELECTRIC LLC              402 TECHNOLOGY DRIVE                                                                                         BASTROP           TX           78602
JAN M MURPHY                  18093 OSAGE TRAIL DR                                                                                         COLLEGE STATION   TX           77845
JANA GILLS MORRIS             439 ROY RD.                                                                                                  NASHVILLE         AR           71852
JANA RICE                     7403 SAGE OAK TRAIL                                                                                          AUSTIN            TX           78759
JANAN WHITE LITTLE, TRUSTEE   THE JANAN WHITE LITTLE        WING MINERAL                            218 RIDGEMONT                          SAN ANTONIO       TX           78209
                              WHITE
JANE DANIS                    DRUMHELLER DISTRICT           FOUNDATION                              696-6 AVE E                            DRUMHELLER        AB           T0J 0Y5   CANADA
                              SENIORS
JANE L BRODSKY DECLARATION DATED JULY 24, 1998, AS          3820 WEST KNOLLWOOD CIRCLE                                                     WEST BLOOMFIELD MI             48322
OF TRUST                      AMENDED
JANET LORENA BYRNES           P.O. BOX 592195                                                                                              SAN ANTONIO       TX           78259
JANET PRUITT                  1205 W. LOUISIANA                                                                                            MIDLAND           TX           79701
JANICE CAMPBELL ESTATE        C/O AUSTIN S CAMPBELL,        P.O. BOX 11086                                                                 MIDLAND           TX           79702
                              AGENT
JANICE HILLGER MELTON         4400 N BIG SPRING STE C-24                                                                                   MIDLAND           TX           79705
JANIE B NICHOLS               8718 CHARRO LN                                                                                               SAN ANTONIO       TX           78217
JANSZEN REVOCABLE LIVING      9011 QUAIL BROOK COURT                                                                                       BAKERSFIELD       CA           93312
TRUST
JANYSS S. SULLIVAN 1999 TRUST DATED APRIL 14, 1999          4623 ROCK MEADOW PLACE                                                         SANTA ROSA        CA           95405

JASON BRANDES                 AKA JASON LEE BROWN           4602 SECLUDED CREEK CT                                                         BLACK FOREST      CO           80908
JASON GALINDO                 4321 HARLOWE DRIVE                                                                                           MIDLAND           TX           79703
JAY BICKLEY                   4762 N MAYFAIR CIRCLE                                                                                        TUCSON            AZ           85750
JE CARMACK LLC                308 BECKWORTH DR.                                                                                            TAYLOR            SC           29687
JEBEN'S PETROLEUM             P.O. BOX 608                                                                                                 LIBERTY HILL      TX           78642
ENGINEERING, LLC
JEFF AND NADA MAE DAVIS       CHARITABLE FOUNDATION         WELLS FARGO BANK TEXAS, N.A.,           P.O. BOX 1959                          MIDLAND           TX           79702
                                                            TRUSTEE
JEFF HARKIN                   1693 NEW SALEM CIRCLE                                                                                        NORTONVILLE       KY           42442
JEFF HEALD                    1131 COUGAR ROAD                                                                                             LIPAN             TX           76462
JEFFERY D. SAMMONS            7314 JAMES RIVER ROAD                                                                                        NEW ALBANY        OH           43054
JEFFERY GRIFFITH              6809 3RD STREET                                                                                              LUBBOCK           TX           79416
JEFFREY D. CHENAULT           6112 MAYWOOD AVE.                                                                                            BALTIMORE         MD           21209
JEFFREY D. HART               2611 DAME BRISEN DRIVE                                                                                       LEWISVILLE        TX           75056
JEFFREY GRASTY                401 WEST TROTTERS DRIVE                                                                                      MAITLAND          FL           32751
JENNIFER JO GEORGE            2433 WHITMIRE BLVD #31                                                                                       MIDLAND           TX           79705
JENSEN KOHL ANGELLOZ          514 THAT WAY ST., APT. 1513                                                                                  LAKE JACKSON      TX           77566
JERRAD CHANCE YOUNG           2606 HUGHES ST                                                                                               MIDLAND           TX           79705
JERRY D COTTER                6437 INDIAN PATH                                                                                             SAN ANGELO        TX           76901
JERRY M MOORE                 3483 FM 3090 ROAD                                                                                            NAVASOTA          TX           77868
JERRY STANSELL                2572 CRESTLINE DRIVE                                                                                         ABILENE           TX           79602
JERRY T. DOYLE
JERRY THOMPSON                2707 CAMBRIDGE STREET                                                                                        ODESSA            TX           79761
JERRY VELA                    4418 106 ST                                                                                                  LUBBOCK           TX           79424


                                                                                            In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS                Doc 81            Filed 11/13/19   Page 24 of 53
                                                                                              Creditor Matrix


             Name                        Address 1                            Address 2                      Address 3       Address 4            City        State       Zip      Country
JERRY W BAYLESS & RHONDA W      4105 WALNUT MEADOW LANE                                                                                  DALLAS          TX           75229
BAYLESS
JERRY WAYNE BELL                2640 RANEY                                                                                               SAN ANGELO      TX           76901
JESUS OROSCO                    2033 IVEY                                                                                                PECOS           TX           79772
JET SPECIALTY, INC.             P.O. BOX 678286                                                                                          DALLAS          TX           75267-8286
JETSTREAM OIL AND GAS           3012 W. LANCASTER AVE.       SUITE 120                                                                   FORT WORTH      TX           76107
PARTNERS, LP
JGT OILFIELD SERVICE LLC        P.O. BOX 2148                                                                                            ANDREWS         TX           79714
JIM SAM CAMP, TRUSTEE           2519 FAIRWAY DR.                                                                                         SUGAR LAND      TX           77478
JIMMY R. COX, JRC WELL          412 MILE HIGH RD                                                                                         MIDLAND         TX           79706
CONSULTING
JL BUTLER RESOURCES, LLC        12153 ARCTURUS DR                                                                                        WILLIS          TX           77318
JO ANN ROGERS LANNOM            P.O. BOX 406                                                                                             CLYDE           TX           79510
JODY'S OILFIELD SERVICE, INC.   110 SW MUSTANG DRIVE                                                                                     ANDREWS         TX           79714
JOE CAMPBELL ESTATE
JOE D. RAINEY & MICHELLE D.     DEPT AE2                     P.O. BOX 4684                                                               HOUSTON         TX           77210
RAINEY
JOEY BEN SIMS                   1201 S CR 1072                                                                                           MIDLAND         TX           79706
JOEY SIMS                       1201 SCR 1072                                                                                            MIDLAND         TX           79706
JOHN & THERESA HILLMAN          FAMILY PROPERTIES, LP        P.O. BOX 50187                                                              MIDLAND         TX           79710
JOHN B. ASHMUN                  2929 BUFFALO SPEEDWAY ,                                                                                  HOUSTON         TX           77098
                                UNIT #809
JOHN B. POOLE                   14380 RIVA DEL LAGO DR.      APT 2103                                                                    FORT MYERS      FL           33907-7832
JOHN COLLINS PREWIT,            JOHN C. PREWIT REVOCABLE     6159 PRESTON CREEK DRIVE                                                    DALLAS          TX           75240
TRUSTEE                         TRUST
JOHN COOPER                     4900 TROBAUGH BLVD                                                                                       MIDLAND         TX           79707
JOHN D WILSON                                                                                                                                            TX           11111
JOHN D. SAUTERS, III            901 WOLF SPRINGS RD                                                                                      FERRIS          TX           75125
JOHN E. COONAN                  1431 SUMMIT AVE                                                                                          ST. PAUL        MN           55105
JOHN F BARKWELL                 1921 JAPONICA ROAD #130309                                                                               WINTER PARK     FL           32792
JOHN H. CRILLY & CAROLYN R.     116 SUMMER RIDGE LN.                                                                                     GEORGETOWN      TX           78633-5174
CRILLY
JOHN HENRY VOGEL                85 BAY DRIVE                                                                                             ANNAPOLIS       MD           21403-4439
JOHN HUDDLESTON                 REEVES COUNTY APPRAISAL      P.O. BOX 183                                                                PECOS           TX           79772
                                DISTRICT
JOHN J. CODY                    412 ORCHARD LANE                                                                                         HIGHLAND PARK   IL           60035
JOHN KRUGER                     P.O. BOX 21                                                                                              PECOS           TX           79772
JOHN M. JAMES
JOHN PASSMORE                   P.O. BOX 1164                                                                                            PECOS           TX           79772-1164
JOHN PAUL SHABY                 12063 W. JEFFERSON                                                                                       CULVER CITY     CO           90230
                                BOULEVARD
JOHN PEERY SEARLS               P.O. BOX 4023                                                                                            ODESSA          TX           79760
JOHN R ATKINSON JR              1007 38TH ST.                                                                                            VIENNA          WV           26105
JOHN R. FINLEY                  1938 W FM 696                                                                                            LEXINGTON       TX           78947
JOHN ROBERT CRAVEY              NO. 20 WINDING WAY                                                                                       PECOS           TX           79772
JOHN SHELDON CLARK              3701 TURTLE CREEK            SUITE 10-J                                                                  DALLAS          TX           75219
JOHNNIE MARIE POWELL            600 THOREAU LANE                                                                                         ALLEN           TX           75002
ASHLEY
JOHNSTON & CLOUD                940 EAST 51ST STREET        SUITE 103                                                                    AUSTIN          TX           78751
JON CHRISTOPHER ST. CLAIR       1ST FINANCIAL TRUST & ASSET MGT COMP                              P.O. BOX 701                           ABILENE         TX           79601
JONATHON COTTEN                 3605 PARK HILL DR.                                                                                       FORT WORTH      TX           76109-1051
JOSE CHAVEZ                     P.O. BOX 226                                                                                             KERMIT          TX           79745
JOSE DAVID TOVAR                5916 PEDERNALES DRIVE                                                                                    MIDLAND         TX           79707
JOSEPH A COURTEMANCHE           1404-A NE 8TH ST                                                                                         SMITHVILLE      TX           78957
JOSEPH MARK GREGORY             14012 CHANDELLE DR                                                                                       NEWALLA         OK           74857-7821
JOSEPH MARK GREGORY             P.O. BOX 136879                                                                                          FORT WORTH      TX           76136
JOSEPH W SPENCE                 24 FINCH AVE                                                                                             WHEELING        WV           26003
JOSLYN PRIDDY                   2821 CASTRO ST.             #1                                                                           AUSTIN          TX           78702


                                                                                          In re: MTE Holdings, LLC, et al.
                                                   Case 19-12269-CSS             Doc 81            Filed 11/13/19   Page 25 of 53
                                                                                     Creditor Matrix


            Name                      Address 1                      Address 2                      Address 3       Address 4          City          State       Zip      Country
JSJ LEE TRUCKING, LLC      P.O. BOX 216                                                                                         ANDREWS         TX           79714
JUANITA HUMPHRIES HAMPTON  5109 JESSIE JAMES DRIVE                                                                              EDMOND          OK           73034
JUANITA RATLIFF JOHNSON    P.O. BOX 1503                                                                                        FORT STOCKTON   TX           79735
JUDITH CAMP SAUER, TRUSTEE 5064 FIELDWOOD DR.                                                                                   HOUSTON         TX           77056
JUIDTH A. MOSLEY BENCH     P.O. BOX 733                                                                                         BROWNWOOD       TX           76804
JULIA WORKMAN              1250 DILLINGHAM RD.                                                                                  BARNARDSVILLE   NC           28709
JULIE CANON                701 OLEANDER ST.                                                                                     PECOS           TX           79772
JULIE E BARNES             P.O. BOX 505                                                                                         MIDLAND         TX           79702
JULIE GRAMMER SHUSKO       6168 HIDDEN CANYON ROAD                                                                              CENTERVILLE     VA           20120
JULIE GRAMMER SHUSKO       823 UNION STREET                                                                                     DUXBURY         MA           02332
JULIE MOSLEY               5213 SCENIC DRIVE                                                                                    NACOGDOCHES     TX           75965
JUNE SANFORD THARP         P.O. BOX 8722                                                                                        GREENVILLE      TX           75404
JUSTIN DALLAS ST. CLAIR    1ST FINANCIAL TRUST & ASSET MGT COMP                          P.O. BOX 701                           ABILENE         TX           79601
JUSTIN SULLIVAN            500 NE 2000                                                                                          ANDREWS         TX           79714
J-W POWER COMPANY          P.O. BOX 226406                                                                                      DALLAS          TX           75222-6406
JW POWERLINE               P.O. BOX 732290                                                                                      DALLAS          TX           75373-2290
JW TRUCKING, LLC           C/O ADVANTAGE BUSINESS      DEPT. 6145                        P.O. BOX 4283                          HOUSTON         TX           77210-4283
                           CAPITAL, INC
K&G RENTAL SERVICE, INC.   4310 S. STATE HWY 349                                                                                MIDLAND         TX           79706
KALE CAPITAL ADVISORS, LLC 3771 ROBINHOOD ST.                                                                                   HOUSTON         TX           77005
KAREN ANN ROGERS EDGEMON 5540 FARQUHAR LANE                                                                                     DALLAS          TX           75209
KAREN HOOD                 MIDLAND CNTY TAX ASSESSOR- P.O. BOX 712                                                              MIDLAND         TX           79702-0712
                           COL
KAREN JANE ALEXANDER       258 COLONIAL CIRCLE                                                                                  ATHENS          TX           75751
KARL HARRIS                #26 ANTEBELLUM COURT                                                                                 ODESSA          TX           79762
KARRIE ANN SELF            P.O. BOX 332                                                                                         RANKING         TX           79778
KATCH KAN USA              13610 POPLAR CIRCLE                                                                                  CONROE          TX           77304
KATHERINE A. ROGERS HEARN 6229 PUEBLO PASS                                                                                      SAN ANGELO      TX           76901
KATHERINE GAYNOR SAUMS     512 SUMMIT DR                                                                                        RICHARDSON      TX           75081
CORNETT
KATHERINE MCADEN           3303 SILVERLEAF DR                                                                                   AUSTIN          TX           78757
KATHERINE MEYERS GARON     1167 S. HIGH STREET                                                                                  DENVER          CO           80210
KATHERINE STEPHENSON       P.O. BOX 52601                                                                                       MIDLAND         TX           79710
KATHIE GAIL COURTEMANCHE   1076 FM 2104                                                                                         SMITHVILLE      TX           78957
KATHLEEN ANNE GATTS CUBINE 13302 DOOR KEY ROAD                                                                                  SAN ANGELO      TX           76904
KATHLEEN ELAINE YOUNG
KATHY LEE PARR FERREIRA    5814 73RD ST.                                                                                        LUBBOCK         TX           79424
KATHY STEPHENSON           P.O. BOX 4366                                                                                        MIDLAND         TX           79704
KATLYNN O'BRIEN MICHAEL    516 N. HOMESTEAD DR.                                                                                 LIBERY LAKE     WA           99019-7580
KATT PORTABLE SOLUTIONS    P.O. BOX 2455                                                                                        MIDLAND         TX           79702
KAY GRAMMER CAMP           2025 EAST KINGS HIGHWAY                                                                              SHREVEPORT      LA           71105
KAY GRAMMER CAMP           6134 LOVERS LANE                                                                                     SHREVEPORT      LA           71105
KC PIPE                    P.O. BOX 61507                                                                                       MIDLAND         TX           79711
KE ANDREWS & COMPANY       1900 DALROCK ROAD                                                                                    ROWLETT         TX           75088
KEITH CAMP
KEITH J OBERMAIER          11 PALO DURO RD                                                                                      SANTA FE        NM           87506
KELLY H. BAXTER ESTATE     P.O. BOX 1649                                                                                        AUSTIN          TX           78767
KELLY LYNN COLWELL YANCY
KENDALL SMITH              1010 W CUTHBERT AVE                                                                                  MIDLAND         TX           79705
KENNEDY MINERALS LTD       500 W TEXAS STE 655                                                                                  MIDLAND         TX           79701
KENNETH A. HEDRICK         5701 GEORGETOWN RD                                                                                   EDMOND          OK           73034
KENNETH D. BROWN           4994 MCGILL WAY                                                                                      SAN DIEGO       CA           92130
KENNETH R POOLE INC , KRP  P.O. BOX 69365                                                                                       ODESSA          TX           79769-0365
RENTALS
KENNETH S. GUNTER          26 WEST CONCHO                                                                                       SAN ANGELO      TX           76903
REVOCABLE TRUST
KERRY LOTT                 2101 IRONWOOD                                                                                        MIDLAND         TX           79707
KEVIN COOK                 P.O. BOX 914                                                                                         STANTON         TX           79782


                                                                                 In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS                Doc 81            Filed 11/13/19   Page 26 of 53
                                                                                             Creditor Matrix


            Name                         Address 1                           Address 2                      Address 3       Address 4          City           State       Zip      Country
KEVIN DEBBS                    9684 MONTELANCIO              LOOP 203                                                                   NAPLES             FL         34119
KEVIN GLASPIE                  P.O. BOX 1466                                                                                            STANTON            TX         79782
KEVIN LOUIS ROBERSON           400 LIGHTHOUSE POINTE                                                                                    LAKE ST. LOUIS     MO         63367
                               DRIVE
KIM DYESS                      P.O. BOX 1300                                                                                            GRAHAM             TX         76450
KIMBERLY ANN TORREZ            3518 ARBOR TRAIL                                                                                         GARLAND            TX         75043
KIMBERLY KAY TEAGUE            P.O. BOX 3387                                                                                            MIDLAND            TX         79702
KIMBERLY ROBERSON              836 BROCKWELL DRIVE                                                                                      DARDENNE PRAIRIE   MO         63368
REYNOLDS
KINGS                          P.O. BOX 69570                                                                                           ODESSA             TX         79769
KINLER OIL & GAS, INC.         3122 TIMBER VILLAGE DRIVE                                                                                HOUSTON            TX         77068
KIRK FARQUHAR                  47 LAFAYETTE PLACE                                                                                       MIDLAND            TX         79705
KKW 2003 TRUST                 5949 SHERRY LANE              SUITE 1735                                                                 DALLAS             TX         75225
KLAMATH OIL & GAS, LLC         2525 RIDGMAR BLVD             #440                                                                       FT. WORTH          TX         76116
KLT MINERALS, LLC              P.O. BOX 5896                                                                                            FRISCO             TX         75035
KLX ENERGY SERVICES, LLC       28099 NETWORK PLACE                                                                                      CHICAGO            IL         60673-1280
KM RESOURCES                   1618 MORRIS                                                                                              PECOS              TX         79772
KMF LAND, LLC                  1144 15TH STREET              SUITE 2650                                                                 DENVER             CO         80202
KMP RESOURCES, LLC             P.O. BOX 50968                                                                                           MIDLAND            TX         79710
KNEBEL FAMILY HOLDINGS, LLC    1ST FINANCIAL TRUST & ASSET   MGT COMP                            P.O. BOX 701                           ABILENE            TX         79601
KNIGHT OIL TOOLS, LLC          P.O. BOX 52688                                                                                           LAFAYETTE          LA         70505-2688
KNOCKOUT TRUCKING, LLC         P.O. BOX 872                                                                                             ODESSA             TX         79760
KODIAK GAS SERVICES,LLC        P.O. BOX 732235                                                                                          DALLAS             TX         75373-2235
KRISTEN COOPER                 4312 S. ONG                                                                                              AMARILLO           TX         79110
KRISTEN PRIDDY                 500 WESTOVER DRIVE            BOX 11787                                                                  SANFORD            NC         27330
KRISTI L. REYNOLDS             1309 BROOKLYN WALK NE                                                                                    ISSAQUAH           WA         98029
KRYSTA O'BRIEN                 14920 W. JANES LN.                                                                                       SPOKANE            WA         99224
KSW OILFIELD RENTAL,LLC        P.O. BOX 731972                                                                                          DALLAS             TX         75373-1972
KUTNER LAND COMPANY, LLC       3011 WHITTLE WAY                                                                                         MIDLAND            TX         79707
KW INTERNATIONAL, LLC , KWI-   DEPT 292-1                    P.O. BOX 4346                                                              HOUSTON            TX         77210-4346
MIDLAND
KWF ENTERPRISES, LP            4925 GREENVILLE AVENUE        SUITE 500                                                                  DALLAS             TX         75206
KYLE H. MCDONNOLD              505 N. BIG SPRING             SUITE 204                                                                  MIDLAND            TX         79701
KYM COMER                      5949 SHERRY LANE #780                                                                                    DALLAS             TX         75225
L&R BIT COMPANY                6702 EL PASO                                                                                             ODESSA             TX         79762
L. K. ADAMSON
L.F. MANUFACTURING, INC.       P.O. BOX 4458                 DEPT 221                                                                   HOUSTON            TX         77210-4458
LACIE NICOLE LIVING TRUST      P.O. BOX 10351                                                                                           COLORADO           CO         80932
                                                                                                                                        SPRINGS
LAINE A. DAY
LAINE VALLE               P.O. BOX 9294                                                                                                 MIDLAND            TX         79708
LAMAR LOYD                P.O. BOX 90037                                                                                                HOUSTON            TX         77290
LAMBERT LAND COMPANY, LLC 5109 82ND ST.                      SUITE 7 #105                                                               LUBBOCK            TX         79424
LAMBERT LAND COMPANY, LLC P.O. BOX 2401                                                                                                 MIDLAND            TX         79702
LANDSHARK HYDROEXCAVATION P.O. BOX 841172                                                                                               PEARLAND           TX         77584
SERVIC
LANDY R. BAXTER           P.O. BOX 4582                                                                                                 MIDLAND            TX         79704
LAREDO PETROLEUM, INC.    15 W 6TH ST                        SUITE 900                                                                  TULSA              OK         74119
LARREZ GREEN              P.O. BOX 80846                                                                                                MIDLAND            TX         79708
LARRY EDWARD DAY          405 CEDAR MEADOW CIRCLE                                                                                       AMARILLO           TX         79124
LARRY F. RAY              3811 BRILLIANT DRIVE                                                                                          LOS ANGELES        CA         90065
LARRY MILTON BELL         ATTN: CAROLYN SCARBORO             3509 BALBIRNIE CT.                                                         THE COLONY         TX         75056
LARRY MILTON BELL         ATTN: CAROLYN                      406 CAPRI COURT                                                            BERTHOAD           CO         80513
                          SCARBOROUGH
LATISHA JEAN PULLEN       3401 SCR 1180                                                                                                 MIDLAND            TX         79706
LATSHAW DRILLING COMPANY, P.O. BOX 691017                                                                                               TULSA              OK         74169
LLC
LAURA ANDERSON DAVIS      6502 HONEY HILL                                                                                               SAN ANTONIO        TX         78229


                                                                                         In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS               Doc 81            Filed 11/13/19   Page 27 of 53
                                                                                             Creditor Matrix


            Name                          Address 1                          Address 2                      Address 3       Address 4          City             State       Zip      Country
LAURA BECKNER HOLM              1627 W MAIN ST. #156                                                                                    BOZEMON            MT           59715
LAURA MCDONALD                  1802 WOODRIDGE DR.                                                                                      ARLINGTON          TX           76013
LAURA SUZANNE ALLEY             1334 BELAIRE                                                                                            RICHARDSON         TX           75080
LAUREN DAVIS
LAUREN GRILLEY                  8642 FREDRICKSBURG RD.      APT. 105                                                                    SAN ANTONIO        TX           78240
LAURIE BARR FAMILY TRUST        C/O WELLS FARGO OGM         P.O. BOX 41779                                                              AUSTIN             TX           78704
                                OPERATIONS
LAW OFFICE OF DAVID GROSS       12400 HWY 71 WEST           SUITE 350-230                                                               AUSTIN             TX           78738
LAW OFFICES OF DAKSHINI R.      7100 REGENCY SQUARE BLVD.                                                                               HOUSTON            TX           77036
SEN, PC                         STE 190
LAW OFFICES OF JAY E. REEDY     IN TRUST FOR L&D ENERGY     SERVICES, LLC                        1770 RUFE SNOW DRIVE,                  KELLER             TX           76248
                                                                                                 SUITE B
LDA, LIMITED PARTNERSHIP        30301 NORTHWESTERN          SUITE 200                                                                   FARMINGTON HILLS MI             48334
                                HIGHWAY
LEEK SAFETY & FIRE              P.O. BOX 1583                                                                                           ODESSA             TX           79760
EQUIPMENT, INC.
LEGACY ARTIFICIAL LIFT          SOLUTIONS, LLC              P.O. BOX 35075                                                              FORT WORTH         TX           76162
LEGACY DIRECTIONAL DRILLING,    ATTN: BRENT JANNER          103 ABIGAYLE'S ROW                                                          SCOTT              LA           70583
LLC
LEGACY DIRECTIONAL DRILLING,    P.O. BOX 733801                                                                                         DALLAS             TX           75373-3801
LLC
LEGACY ROYALTIES, LTD           P.O. BOX 1360                                                                                           TYLER              TX           75710
LEGEND ENERGY SERVICES, LLC     5801 N. BROADWAY EXTENSION SUITE 210                                                                    OKLAHOMA CITY      OK           73118

LEGEND WELL SITE SOLUTIONS,     4525 VALOR DRIVE                                                                                        CORPUS CHRISTI     TX           78413
LLC
LEGENDS DRILLING                & DESIGN, LLC               ATTN: JASON KINCAID                  P.O. BOX 52663                         MIDLAND            TX           79710
MANAGEMENT
LEO VILLAREAL                                                                                                                                            TX             11111
LEONARD G. MILLER               5325 ELMGATE BAY                                                                                        ORCHARD LAKE     MI             48234
LEONARD G. SIEGAL REV. LIVING   DATED JANUARY 17, 1974      31054 OAK VALLEY DRIVE                                                      FARMINGTON HILLS MI             48331
TRUST
LES T TOMA                      10500 SAN MARCOS                                                                                        ATASCADERO         CA           93422
LESLEY CARMACK                  30443 KINGS VALLEY DR                                                                                   CONIFER            CO           80433
LEWIS GILLS                     P.O. BOX 152                                                                                            MURFREESBORO       AR           71958
LEWIS M VASQUEZ & SHAUNA        P.O. BOX 9622                                                                                           MIDLAND            TX           79708
VASQUEZ
LEZLIE SUE WATKINS TIPTON       9535 DARTRIDGE CIRCLE                                                                                   DALLAS             TX           75238
LG PUMP, INC.                   P.O. BOX 35                                                                                             GOLDSMITH          TX           79741
LIBERTY ENERGY                  175 BERKELEY ST                                                                                         BOSTON             MA           02116
LIBERTY FISHING & RENTAL        P.O. BOX 13590                                                                                          ODESSA             TX           79768
TOOLS, INC
LIBERTY WELL SERVICE,LLC        P.O. BOX 460                                                                                            LAFITTE            LA           70067
LIEBOWITZ LIVING TRUST          U/A DATED 2.22.94           35309 GLENGARY CIRCLE                                                       FARMINGTON HILLS   MI           48331
LIGHT DUTY SERVICES,LLC         2182 SANTA ANNA                                                                                         MIDLAND            TX           79705
LIGHT TOWER RENTALS, INC        3300 NORTH A STREET         BUILDING FOUR, SUITE 100                                                    MIDLAND            TX           79705
LIGHTNING OILFIELD SERVICES,    11830 N SAGINAW BLVD                                                                                    FORT WORTH         TX           76179
INC.
LINDA GRILLEY                   7436 N US HWY 281                                                                                       STEPHENVILLE       TX           76401
LINDA H STEVENS                 3414 W CR 118                                                                                           MIDLAND            TX           79706-3440
LINDA JANE MYERS                8613 DEWLAND DRIVE                                                                                      MCKINNEY           TX           75070
LINDA S MEUTH                   2374 COUNTY ROAD 209                                                                                    GIDDINGS           TX           78942
LINDA SEARLS NEIDERT            9307 RALEIGH AVE                                                                                        LUBBOCK            TX           79424
LINDA SUE HILLGER               P.O. BOX 908                                                                                            STANTON            TX           79782
LINDLEY ENERGY, LLC             P.O. BOX 10220                                                                                          MIDLAND            TX           79702
LISA COTTER                     P.O. BOX 36                                                                                             BOYD               TX           76023
LISA MARIE POWELL               P.O. BOX 5335                                                                                           TEXARKANA          TX           75505
LISA NICHOLS                    1408 SUNFLOWER CIRCLE N.                                                                                PALM SPRINGS       CA           92262-1725


                                                                                         In re: MTE Holdings, LLC, et al.
                                                       Case 19-12269-CSS            Doc 81            Filed 11/13/19   Page 28 of 53
                                                                                        Creditor Matrix


             Name                      Address 1                     Address 2                      Address 3          Address 4         City            State       Zip      Country
LLG ENERGY SERVICES, LLC     DBA MOONLIGHT FISHING &    RENTAL SERVICES                     1851 N MERCURY AVE                     ODESSA           TX           79763
LOBO TRANSPORT INC.          P.O. BOX 1974                                                                                         MONAHANS         TX           79756
LOIS H. LAWLESS
LOIS HEFFINGTON              1317 RANDY DRIVE                                                                                      GRAHAM           TX           76450
LOIS JEAN HILLGER PAGE       3400 WEDGWOOD ST                                                                                      MIDLAND          TX           79707
LOIS YOUNG WALKER            309 S. LOIS LANE                                                                                      RICHARDSON       TX           75081
LONA SPRUILL ESTATE
LONE STAR TRUCKING           808 TOWER DRIVE            SUITE 6                                                                    ODESSA           TX           79761
LONE STAR WIRELINE           P.O. BOX 497                                                                                          DANBURY          TX           77534
SERVICES, LLC
LONG STAR TRUCKING AND       P.O. BOX 4174                                                                                         MIDLAND          TX           79704
FIELD SERVIC
LOREN WINSLOW MEANS          4154 GRASSMERE LN                                                                                     DALLAS           TX           75205
LORI HELMAN POGODA           DATED SEPTEMBER 4, 1992    25815 FRANKLIN PARK DRIVE                                                  FRAMKLIM         MI           46025
REVOCABLE TRUST
LORI TUDOR                   2705 URSULA COURT                                                                                     MANSFIELD        TX           76063
LOTUS LLC                    P.O. BOX 1278                                                                                         ANDREWS          TX           79714
LUBBOCK AUDIO VISUAL, INC.   2120 AVENUE Q                                                                                         LUBBOCK          TX           79411
LUCKY MCD PETROLEUM, LLC     JOHN A. MCDERMOTT II       56 EMERALD BAY                                                             LAGUNA BEACH     CA           92651
LUCKY MCDERMOTT              56 EMERALD BAY                                                                                        LAGUNA BEACH     CA           92651
PETROLEUM, LLC
LUCKY RENTAL TOOL LLC        P.O. BOX 520                                                                                          HOBBS            NM           88241
LUCKY SERVICES INC.          P.O. BOX 610                                                                                          HOBBS            NM           88241
LUCY JOHNETTE WILLIAMS       3209 DREXEL                                                                                           BIG SPRING       TX           79720
LUFKIN INDUSTRIES, LLC       P.O. BOX 301199                                                                                       DALLAS           TX           75303-1199
LUIS A MARTINEZ & ROSIE      P.O. BOX 2075                                                                                         PECOS            TX           79772
MARTINEZ
LUXE OPERATING, LLC          6500 RIVER PLACE BLVD.    BUILDING 5, SUITE 150                                                       AUSTIN           TX           78730
LUXE ROYALTIES, LLC          6500 RIVER PLACE BLVD.    BUILDING 5, SUITE 150                                                       AUSTIN           TX           79730
LYNN HUGHES                  14311 GOLDEN CYPRESS LANE                                                                             CYPRESS          TX           77429
LYNNE C. PARSLEY             1503 CLUB DRIVE                                                                                       MIDLAND          TX           79701
M & W HOT OIL, INC.          P.O. BOX 69370                                                                                        ODESSA           TX           79769
M MCDONNOLD JR               505 N BIG SPRING STE 204                                                                              MIDLAND          TX           79701-4347
M&M GENERAL CONTRACTORS,     P.O. BOX 2181                                                                                         BIG SPRING       TX           79721-2181
INC
M. F. LAWLESS
M. F. LAWLESS TESTAMENTARY
M.D. ABEL CO.                P.O. BOX 949                                                                                          LAMPASAS         TX           76550
MACIEL TRUCKING, LLC         1405 W. 3RD STREET                                                                                    PECOS            TX           79772
MAC'S BBQ & CATERING         P.O. BOX 50993                                                                                        MIDLAND          TX           79710
MACY ANDERSON                6020 WELCH AVE.                                                                                       FORT WORTH       TX           76133
MAEFIELD DEVELOPMENT         280 E. 96TH ST             STE 210                                                                    INDIANAPOLIS     IN           46240
COMPANY
MAGGIE KAY KEY               5311 LAVACA AVE                                                                                       MIDLAND          TX           79707
MAGNUM OIL TOOLS             5655 BEAR LANE             SUITE 100                                                                  CORPUS CHRISTI   TX           78405
INTERNATIONAL LTD
MAI LING SLAUGHTER
MAJESTIC MINERALS AND        24 LAKES DRIVE                                                                                        MIDLAND          TX           79705
ROYALTY MGMT
MAJESTIC MINERALS AND        P.O. BOX 1072                                                                                         MIDLAND          TX           79702
ROYALTY, LP
MANDANA B LIVINGSTON         C/O JUSTYN LIVINGSTON      1122 NW UNION STREET                                                       BEND             OR           97701
IRREVOC TRUST                TRUSTEE
MANTI TARKA PERMIAN, LP      4900 WOODWAY DRIVE         SUITE 1100                                                                 HOUSTON          TX           77056
MANUEL HERRERA
MAP RESOURCES, INC.          P.O. BOX 2836                                                                                         MIDLAND          TX           79702
MARCELLE W REED TRUST        C/O TAMMI AUTRIX-KILBOURNE, 23158 HARBOR SEAL COURT                                                   WILDOMAR         CA           92595
                             TRUSTEE


                                                                                    In re: MTE Holdings, LLC, et al.
                                                     Case 19-12269-CSS                  Doc 81            Filed 11/13/19   Page 29 of 53
                                                                                            Creditor Matrix


           Name                       Address 1                            Address 2                       Address 3       Address 4          City            State       Zip      Country
MARGARET A. MURPHY           2210 HOWARD ST.             ROOM 203                                                                      SAN ANGELO        TX           76901-1318
MARGARET M. REESE            13951 EAGLE RIDGE LAKES DR.                                                                               FT. MYERS         FL           33912-0703

MARGARET S. MALLARD ESTATE   1ST FINANCIAL TRUST & ASSET INDEPENDENT EXECUTOR                   P.O. BOX 701                           ABILENE           TX           79601
MARGARET STACY REYNOLDS      3 WINDWARD DR                                                                                             FORT WORTH        TX           76132
MARGIE B GENTRY              1602 HOLLY CREEK DR                                                                                       TYLER             TX           75703
MARIAN MILLER MONTGOMERY
MARIBETH STEPHENS            2570 LAKEWAY BRANCH DR                                                                                    ORLANDO           FL           32839
                             #2907
MARIE C. LODOWASKI, TRUSTEE CHARLES FREDRICK              TRUST                                 3325 WELGENHAUSEN RD                   FREDRICKSBURG     TX           78624
                             CHAMBERS FAMILY
MARIE C. LODOWSKI            3325 WELGENHAUSEN RD                                                                                      FREDRICKSBURG     TX           78624
MARIE C. LODOWSKI            TRUST B                      ROBERT T. LODOWSKI, TRUSTEE           3325 WELGEHAUSEN ROAD                  FREDERICKSBERG    TX           78624
TESTAMENTARY
MARILYN HORNE                780-A HAVILLAH ROAD                                                                                       TONASKET          WA           98855
MARILYN MATHENY CASTO        2 WYNGATE COURT                                                                                           PARKERSBURG       WV           26105
MARILYN RUTH MAXWELL         1606 SHADOW CREST DR.                                                                                     CORINTH           TX           76210
HATFIELD
MARIO A. ORTEGA , DBA MAN ON P.O. BOX 872                                                                                              ODESSA            TX           79760
FIRE
MARISA BORREGO               4906 BROWNWOOD                                                                                            MIDLAND           TX           79703
MARK A SMITH TRUST FBO       TEXAS STATE BANK, TRUSTEE    P.O. BOX 3782                                                                SAN ANGELO        TX           76902
EVALIE GRIGG
MARK A. SMITH IRREVOCABLE    EVALIE GRIGG                 P.O. BOX 41779                                                               AUSTIN            TX           78704
TUA FBO
MARK A. SMITH IRREVOCABLE    MARGARET A. MURPHY           P.O. BOX 41779                                                               AUSTIN            TX           78704
TUA FBO
MARK ALVIN WAGNER , MKW      2806 ANN DR.                                                                                              MIDLAND           TX           79705
CONSULTING
MARK C. HUMPHRIES            326 WEST TEXAS ST.                                                                                        AMITY             AR           71921
MARK E. SAUTERS              6527 SAINT JOSEPHS AVE. NW                                                                                ALBUQUERQUE       NM           87120
MARK GRIFFIN                 5202 FOURTH STREET                                                                                        LUBBOCK           TX           79416
MARK. A. SMITH TRUST         FBO MARGARET MURPHY          TEXAS STATE BANK, TRUSTEE             P.O. BOX 3782                          SAN ANGELO        TX           76902
MARS ADVERTISING, INC.       25200 TELEGRAPH RD. #5                                                                                    SOUTHFIELD        MI           48033
MARSHA S. CLIFFORD           1402 BONITA DR.                                                                                           QUITMAN           TX           75783
MARSHA SUE CLIFFORD          C/O MARSHA SUE CLIFFORD      1402 BONITA DRIVE                                                            QUITMAN           TX           75782
REVOCABLE TRUST
MARTHA ANN SLACK REID        P.O. BOX 193                                                                                              RIPLEY            MS           38663
MARTHA MEYERS
MARTHA MIXON GAGNON          378 CITY ROAD F                                                                                           HUDSON            WI           54018
MARTHA STRAIN WILKINSON      2007 VISTA LANE                                                                                           AUSTIN            TX           78703-2955
MARVIN GARDENS CAPITAL, LLC P.O. BOX 9222                                                                                              AMARILLO          TX           79105
MARVOS MINERALS, LLC
MARY ANDERSON ABELL          4608 CRESTWAY                                                                                             AUSTIN            TX           78731
MARY ANN KAWAJA              1207 PRESTON TRAIL           UNIT B                                                                       WOLFFORTH         TX           79382
MARY ANN MCLNNIS             6935 LIVELY ROAD                                                                                          PONDER            TX           76259
MARY ARNETT                  933 SKYLINE DR.                                                                                           ARGYLE            TX           76224
MARY CAROLYN PUCKETT         P.O. BOX 1043                                                                                             BELEN             NM           87002
MARY COMBEST ARNETT          933 SKYLINE DR.                                                                                           ARGYLE            TX           76224
MARY E ESCHBERGER            1204 PORTSMOUTH COURT                                                                                     COLLEGE STATION   TX           77845
MARY G FLYNT                 1619 RIPON PLACE                                                                                          ALEXANDRIA        VA           22302
MARY HICKEY BELL             9626 SOUTH MILLARD AVENUE                                                                                 EVERGREEN PARK    IL           60805
MARY JANE CRAWFORD           1371 CR 162                                                                                               LAWN              TX           79530
MARY LYNLEE SAYLES DARBY     5502 FM 89                                                                                                TUSCOLA           TX           79562
MARY R CALLAHAN              BY: BARBARA C. TOCCO         6522 FALCON AVENUE                                                           LONG BEACH        CA           90805
MARY SUSAN ARDITI & EDWARD 162 WESTCHESTER AVENUE                                                                                      TUCKAHOE          NY           10707
ADAMS
MARY VIRGINIA HARKIN


                                                                                        In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS               Doc 81                Filed 11/13/19   Page 30 of 53
                                                                                                 Creditor Matrix


           Name                         Address 1                          Address 2                            Address 3       Address 4         City          State       Zip      Country
MARY WANDA ROGERS BLACK       CARRIGE INN APT. #518          2805 LAKE ROAD                                                                 HUNTSVILLE     TX           77340
MASON ASKINS                  904 PINE COURT                                                                                                MIDLAND        TX           79705
MASON DAVID HOUNSHELL         603 SOUTH HACKBERRY                                                                                           PECOS          TX           79772
                              STREET
MASON WELL SERVICE            P.O. BOX 61166                                                                                                MIDLAND        TX           79711
MATADOR DRILLING CORP
MATAGORDA B1, LP              2001 KIRBY DRIVE               SUITE 1200                                                                     HOUSTON        TX           77019
MATHENY MOTOR TRUCK           P.O. BOX 1304                                                                                                 PARKERSBURG    WV           26102
COMPANY
MATTHEW GREGORY DANIEL        1800 HANOVER DR                                                                                               RICHARDSON     TX           75081
MATTHEW J. HILLGER            1650 S. JOHN KING BLVD         APT 3201                                                                       ROCKWALL       TX           75032
MATTHEW R & TIFFANY           P.O. BOX 8355                                                                                                 MIDLAND        TX           79708
DAUGHERTY
MATTHEW THERRELL              428 EAST COWAN DRIVE                                                                                          HOUSTON        TX           77007
MAVERICK FIELD SERVICES       GULF COAST BANK & TRUST        FA:MFS LLC                              P.O. BOX 262                           LA GRANGE      TX           78945
                              CO.
MAVROS MINERALS II, LLC       P.O. BOX 50820                                                                                                MIDLAND        TX           79710
MAVROS MINERALS, LLC          P.O. BOX 50820                                                                                                MIDLAND        TX           79710
MCADA DRILLING FLUIDS, INC    P.O. BOX 1080                                                                                                 BAY CITY       TX           77404
MCCAULEY FAMILY TRUST         ROBERT J AND SANDRA K          TRUSTEES                                9231 S OAK ST                          TEMPE          AZ           85284
                              MCCAULEY
MCCLATCHY BROS., INC.         TRUCKING CONTRACTORS           P.O. BOX 4126                                                                  MIDLAND        TX           79704-4126
MCCLINTON ENERGY GROUP,       ATTN: TONY MCCLINTON           P.O. BOX 15110                                                                 ODESSA         TX           79768
LLC
MCDERMOTT TRUST               DATED NOVEMBER 13, 2014        MICHAEL A. MCDERMOTT, TRUSTEE           34 BRIARWOOD                           IRVINE         CA           92604
MCDONNOLD PETROLEUM LLC       505 N. BIG SPRING, SUITE 204                                                                                  MIDLAND        TX           79701
MCELROY, SULLIVAN, MILLER,    WEBER & OLMSTEAD, L.L.P.       P.O. BOX 12127                                                                 AUSTIN         TX           78711
MCMULLEN MINERALS, LLC        ATTN: WILLIAM MALLOY           P.O. BOX 470857                                                                FORT WORTH     TX           76147
MDC ACQUISITION LLC           280 E. 96TH ST                 STE 210                                                                        INDIANAPOLIS   IN           46240
MDC REEVES ENERGY LLC         MDC TEXAS OPERATOR LLC         24 SMITH RD., SUITE 501A                                                       MIDLAND        TX           79705
MDC TEXAS ENERGY LLC          MDC TEXAS OPERATOR LLC         24 SMITH RD., SUITE 501A                                                       MIDLAND        TX           79705
MEADOWBROOK LANE, LLC         P.O. BOX 2296                                                                                                 MIDLAND        TX           79702
MEG BROOKS, INDEPENDENT       ESTATE OF JAMES EDWARD         6207 PEGGY ST.                                                                 PECOS          TX           79772
EXECUTRIX                     BROOKS
MEGAN M. BOOTH                505 N. BIG SPRING              SUITE 204                                                                      MIDLAND        TX           79701
MELANIE LEE                   1912 WEST JEFFERSON ST.                                                                                       PECOS          TX           79772
MELANIE M KOLBY               1519 E. WASHINGTON AVE.                                                                                       NAVASOTA       TX           77868
MELANIE S LEE                 P.O. BOX 1161                                                                                                 PECOS          TX           79772
MELINDA MCENTEE HILLIARD      1208 IMPERIAL DRIVE                                                                                           NAPLES         FL           34110
SHAW
MELISSA O'KELLEY              P.O. BOX 8313                                                                                                 HORSHOE BAY    TX           78657
MELODY BUSINESS FINANCE,      ATTN: NOTICES                  60 ARCH STREET                                                                 GREENWICH      CT           06830
LLC
MELODY DELONG                 P.O. BOX 1300                                                                                                 GRAHAM         TX           76450
MELVIN L COWAN, II            3726 LINK VALLEY DRIVE                                                                                        HOUSTON        TX           77025
MANAGEMENT TRUST
MENDFORD TRUCKING, LLC        P.O. BOX 87                                                                                                   WINK           TX           79789
MEREDITH MCBEE                2113 BRADFORD CT                                                                                              MIDLAND        TX           79705
MEREDITH S. BAKER             C/O JEFFERY SAMMONS            7314 JAMES RIVER ROAD                                                          NEW ALBANY     OH           43054
MERRILL COMMUNICATIONS, LLC   CM-9638                                                                                                       ST. PAUL       MN           55170-9638

MESA NATURAL GAS SOLUTIONS    5151 RESERVE DRIVE                                                                                            EVANSVILLE     WY           82636
MEYER ENERGY SERVICES, LLC    3001 W LOOP 250 N              SUITE C-105 #170                                                               MIDLAND        TX           79705
MGHJR, LTD.                   7610 MEADOW OAKS DRIVE                                                                                        DALLAS         TX           75230
M-I LLC , SULFATREAT          A BUSINESS UNIT OF M-I LLC     P.O. BOX 732135                                                                DALLAS         TX           75373-2135
MI SWACO, M-I LLC             P.O. BOX 732135                                                                                               DALLAS         TX           75373-2135
MICA POWELL HOPKINS           3824 PALLOS VERDES DR                                                                                         DALLAS         TX           75229




                                                                                             In re: MTE Holdings, LLC, et al.
                                                     Case 19-12269-CSS                      Doc 81            Filed 11/13/19   Page 31 of 53
                                                                                                Creditor Matrix


            Name                         Address 1                           Address 2                         Address 3       Address 4         City           State       Zip      Country
MICA TOOL & TUBULAR           A DIV. OF ACCEL WORKOVER     P.O. BOX 13326                                                                  ODESSA          TX           79768
                              SERVICES
MICHAEL A. KULENGUSKI         279 JONES MOUNTAIN ROAD                                                                                      MADISON         VA           22727
MICHAEL A. MCDERMOTT          34 BRIARWOOD                                                                                                 IRVINE          CA           92604-3755
MICHAEL ALLAN HARRIS          225 PINEWOOD TRAIL                                                                                           FORNEY          TX           75126
MICHAEL B COBB                44 SANCTUARY LN                                                                                              DURANGO         CO           81301
MICHAEL BANSCHBACH            OIL, GAS & NGL MARKETING     505 N BIG SPRING ST, SUITE 504                                                  MIDLAND         TX           79701
                              CONSULTANT
MICHAEL D & PHILLIP S HILLGER TRUSTEES OF BRITNI ANN       TRUST, P.O. BOX 203                                                             GARDEN CITY     TX           79739
                              COOK REV
MICHAEL D & PHILLIP S HILLGER TRUSTEES OF THE MARCUS       COOK REV TRU                             P.O. BOX 203                           GARDEN CITY     TX           79739
                              RYAN
MICHAEL DALE HILLGER          P.O. BOX 124                                                                                                 GARDEN CITY     TX           79739
MICHAEL J. CANON, P.C.        P.O. BOX 52542                                                                                               MIDLAND         TX           79710
MICHAEL KENT WILLIAMS         1307 CASTLEFORD ROAD                                                                                         MIDLAND         TX           79705
MICHAEL LESTER RATLIFF        P.O. BOX 715                                                                                                 RANKIN          TX           79778
MICHAEL MATHENY               P.O. BOX 1304                                                                                                PARKERSBURG     WV           26102
MICHAEL R. DRAKE              15227 BEACHAM                                                                                                HOUSTON         TX           77070
MICHAEL RUNYON                13 RIVERFRONT TRL.                                                                                           LEBANON         MO           65536
MICHEAL HEDRICK               902 COUNTRY CLUB DR                                                                                          MIDLAND         TX           79701
MICHELE C. HEALY              2616 STOUT ST.                                                                                               DENVER          CO           80205
MIDAMERICAN ENERGY            P.O. BOX 8020                                                                                                DAVENPORT       IA           52808-8020
COMPANY
MIDAMERICAN ENERGY            320 LECLAIRE                 P.O. BOX 4290                                                                   DAVENPORT       IA           52808-4290
SERVICES, LLC
MIDCENTRAL ENERGY             P.O. BOX 258889                                                                                              OKLAHOMA CITY   OK           73125-8889
SERVICES,LLC
MIDESSA TELEPHONE SYSTEMS P.O. BOX 60688                                                                                                   MIDLAND         TX           79711
MIDLAND CENTRAL APPRAISAL 4631 ANDREWS HWY                 P.O. BOX 908002                                                                 MIDLAND         TX           79708-0002
DISTRICT
MIDLAND DRILLING PRODUCTS P.O. BOX 4942                                                                                                    MIDLAND         TX           79704-4942
MIDLAND MAP COMPANY, LLC      P.O. BOX 1229                                                                                                MIDLAND         TX           79702
MIDLAND PIPE & EQUIPMENT      MPE SERVICES                 P.O. BOX 8715                                                                   MIDLAND         TX           79708
INC.
MIDLAND SAFETY AND HEALTH P.O. BOX 60814                                                                                                   MIDLAND         TX           79711
SALES
MIKAL SCOTT YOUNG             166 BREELAND AVENUE                                                                                          AXTELL          TX           76624
MIKE WOMACK, INC.             DBA MWI OILFIELD SERVICE     P.O. BOX 1040                                                                   SUNDOWN         TX           79372-1040
                              CO.
MILDRED A BELL ESTATE         I/C/O CAROLYN SCARBOROUGH    3509 BALBIRNIE CT.                                                              THE COLONY      TX           75056

MILESTONE ENVIRONMENTAL      SERVICES, LLC                 15721 PARK ROW DRIVE                     SUITE 150                              HOUSTON         TX           77084
MIMIPA KAHLE TRUST           1ST FINANCIAL TRUST & ASSET   MGT COMP                                 P.O. BOX 701                           ABILENE         TX           79601
MITCHELL ROYALTY, LP         7950 NORTH WITCHITA AVE                                                                                       HASKELL         OK           74436
MJP INVESTMENTS, INC.        P.O. BOX 222                                                                                                  ALBANY          TX           76430
MMV AND JLM FAMILY TRUST     LAUREN MUNN & RICHARD         CO-TRUSTEES                              15 CAMELOT OAK COURT                   THE WOODLANDS   TX           77382
                             MUNN
MOMENTUM MINERALS            750 TOWN & COUNTRY BLVD.      SUITE420                                                                        HOUSTON         TX           77024
OPERATING, LP
MOMENTUM OPERATING CO.,      P.O. BOX 2439                                                                                                 ALBANY          TX           76430
INC.
MONAHANS NIPPLE-UP SERVICE   P.O. BOX 1552                                                                                                 MONAHANS        TX           79756
MONERAL, LTD.                P.O. BOX 43658                                                                                                MOTCLAIR        NJ           07043
MONTA SEWELL
MOONLIGHT ENERGY SERVICES    P.O. BOX 2542                                                                                                 AMARILLO        TX           79105-2542
MOORE CAPITAL LTD.           4813 BELVEDERE ST.            UNIT 1                                                                          AUSTIN          TX           78731
MORADO ENERGY MINERALS,      4403 NORTH CENTRAL            SUITE 120                                                                       DALLAS          TX           75205-4260
LLC                          EXPRESSWAY


                                                                                            In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS                Doc 81             Filed 11/13/19       Page 32 of 53
                                                                                                 Creditor Matrix


           Name                         Address 1                     Address 2                                Address 3            Address 4            City        State       Zip      Country
MORRIS COLWELL                 17303 TOMMIE LANE                                                                                                   RAMONA         CA         92065
MOSER ENGINE SERVICE           DBA MOSER ENERGY SYSTEMS 260 CRAIG THOMAS BLVD                                                                      EVANSVILLE     WY         82636

MOTLEY ASSET                   P.O. BOX 13415                                                                                                      ODESSA         TX         79768
MANAGEMENT,LLC
MOUNTAIN SUPPLY & SERVICE,     P.O. BOX 3111                                                                                                       LONGVIEW       TX         75606
LLC
MOVEST CAPITAL                 P.O. BOX 2439                                                                                                       ALBANY         TX         76430
MPS ENTERPRISES, INC.,         7607 W. INDUSTRIAL AVENUE                                                                                           MIDLAND        TX         79706
MILFORD PIPE
MRC, MCJUNKIN RED MAN          P.O. BOX 204392                                                                                                     DALLAS         TX         75320-4392
CORPORATION
MS ENERGY SERVICES, MULTI-     P.O. BOX 201567                                                                                                     DALLAS         TX         75320-1567
SHOT, LLC
MT.SNOW CONSTRUCTION,LLC       DBA NIMBLE CRANE            89 TIMSON HILL ROAD                                                                     NEWFANE        VT         05345
MTE HOLDINGS LLC               24 SMITH ROAD               SUITE 501A                                                                              MIDLAND        TX         79705
MUCKLEROY ENERGY COMPANY       505 N BIG SPRING STE 204                                                                                            MIDLAND        TX         79701-4347
MULHOLLAND ENERGY              P.O. BOX 4227                                                                                                       ODESSA         TX         79760
SERVICES, LLC
MURIEL E. GRAF FAMILY TRUST    MURIEL PARDEE BAZE,         P.O. BOX 541                                                                            RANCHO SANTA FE CA        92067
                               TRUSTEE
MURPHREE TOOL COMPANY,         7500 EAST COUNTY ROAD 110                                                                                           MIDLAND        TX         79706
INC.
MUSTANG WELL SERVICE,LLC       P.O. BOX 77                                                                                                         ANDREWS        TX         79714
MYANMAR OIL & GAS, LLC         C/O BURMA LAFARGE           103 MESA CIRCLE                                                                         SALIDA         CO         81201
N NOBLE FLP LLP                15601 N. DALLAS PARKWAY,                                                                                            ADDISON        TX         75001
                               SUITE 900
N&B WELL SERVICE, LLC          DBA: N&B TRANSPORTS         P.O. BOX 715                                                                            MONAHANS       TX         79756
NABORS COMPLETION &            SERVICES                    P.O. BOX 975682                                                                         DALLAS         TX         75397-5682
PRODUCTION
NABORS DRILLING                USA, INC.                   P.O. BOX 206308                                                                         DALLAS         TX         75320-6308
TECHNOLOGIES
NAMP HOLDINGS, LLC             1001 FANNIN STREET          SUITE 2020                                                                              HOUSTON        TX         77002
NANCY CATHERINE ROGERS         22 SHADY VALLEY DRIVE                                                                                               CONWAY         AR         72034
STOUT
NANCY K COOK FALK              7803 MISTY PARK ST                                                                                                  SAN ANTONIO    TX         78250
NANCY SUE COLWELL SAVOY        5910 PINEWOOD SPRINGS DR.                                                                                           HOUSTON        TX         77066
NANCY WHITE DENNIS             1 SABROSO PLACE                                                                                                     SANTA FE       NM         87508
NATALIE NICHOLS STROUP         3501 RIVERCREST DR.                                                                                                 AUSTIN         TX         78746
NATHAN D. HILLGER              3356 PINE GROVE DR                                                                                                  HUNTSVILLE     TX         77340
NATIONAL OILWELL DHT - MD      P.O. BOX 201153                                                                                                     DALLAS         TX         75320
TOTCO
NATIONAL OILWELL VARCO, L.P.   DOWNHOLE                    P.O. BOX 202631                                                                         DALLAS         TX         75320
NATIONAL OILWELL VARCO, L.P.   FLUIDS/SOLIDS CONTROL       P.O. BOX 202631                                                                         DALLAS         TX         75320
NATIONAL TANK & EQUIPMENT      P.O. BOX 1839                                                                                                       DEER PARK      TX         77536
NATIXIS NEW YORK               1251 6TH AVE                                                                                                        NEW YORK       NY         10020
NATIXIS, NEW YORK BRANCH       AS ADMINISTRATIVE AGENT     ATTN: HANA BECKLES                       1251 AVENUE OF THE                             NEW YORK       NY         10020
                                                                                                    AMERICAS, 5TH FL
NATIXIS, NEW YORK BRANCH       AS ADMINISTRATIVE AGENT     ATTN: URS FISCHER                        1251 AVENUE OF THE                             NEW YORK       NY         10020
                                                                                                    AMERICAS, 5TH FL
NATIXIS, NEW YORK BRANCH       AS ISSUER OF THE NOTES      ATTN: WILBERT VELAZQUEZ                  VP - LOC MGR, GLOBAL      1251 AVENUE OF THE   NEW YORK       NY         10020
                                                                                                    FINANCE OPS               AMERICAS, 5TH FL
NATIXIS, NEW YORK BRANCH       C/O BAYARD                  ATTN: ERIN R. FAY, DANIEL N. BROGAN      600 N. KING STREET, SUITE                      WILMINGTON     DE         19801
                                                                                                    400
NATIXIS, NEW YORK BRANCH       C/O BRACEWELL LLP           ATTN: DAVID J. BALL, DAVID R. KOLKER,    1251 AVENUE OF THE                             NEW YORK       NY         10020
                                                           FINNEY ABRAHAM                           AMERICAS, 49TH FLOOR
NATIXIS, NEW YORK BRANCH       C/O BRACEWELL LLP           ATTN: MARK E. DENDINGER                  CITYPLACE I, 34TH FLOOR 185 ASYLUM STREET      HARTFORD       CT         06103




                                                                                            In re: MTE Holdings, LLC, et al.
                                                           Case 19-12269-CSS                   Doc 81            Filed 11/13/19   Page 33 of 53
                                                                                                   Creditor Matrix


            Name                          Address 1                        Address 2                           Address 3          Address 4         City            State       Zip      Country
NATIXIS, NEW YORK BRANCH         C/O BRACEWELL LLP          ATTN: WILLIAM A. (TREY) WOOD III           711 LOUISIANA STREET,                  HOUSTON         TX            77002
                                                                                                       SUITE 2300
NCS MULTISTAGE                   SPECTRUM TRACER SERVICES   P.O. BOX 733849                                                                   DALLAS          TX            75373-2446
                                 LLC
NES GLOBAL, LLC, HSBC NES        GLOBAL, LLC, DEPT 3433     P.O. BOX 123433                                                                   DALLAS          TX            75312-3433
NEW JUTLAND PARTNERS, LP         ATTN: BRIAN TERP           3530 BAILEY ROAD                                                                  FRANKLIN        TN            37064
NEW TECH GLOBAL VENTURES,        P.O. BOX 4724              MSC 800                                                                           HOUSTON         TX            77210
LLC
NEWFORK ROYALTIES                P.O. BOX 660082                                                                                              DALLAS          TX            75266-0082
NEXTERA ENERGY MARKETING,        700 UNIVERSE BLVD                                                                                            JUNO BEACH      FL            33408
LLC
NEXUS II , DIRECTIONAL           SPECIALISTS, LTD           10314 STATE HIGHWAY 191                                                           MIDLAND         TX            79707
DRILLING
NGL WATER SOLUTIONS              1509 W. WALL ST.           STE 306                                                                           MIDLAND         TX            79701
PERMIAN, LLC
NICK TIPTON
NICK WESTBY                      P.O. BOX 5062                                                                                                MIDLAND         TX            79704
NICOLAS BRISSETTE                1412 E MOCKINGBIRD LANE                                                                                      MIDLAND         TX            79705
NITRO CONSTRUCTION               P.O. BOX 582                                                                                                 YORKTOWN        TX            78164
NITRO FLUIDS                     P.O. BOX 585                                                                                                 YORKTOWN        TX            78164
NOBLE ROYALTIES, INC.            FUND III LP                P.O. BOX 660082                                                                   DALLAS          TX            75266-0082
NOBLE ROYALTIES, INC.            FUND IV LP                 P.O. BOX 660082                                                                   DALLAS          TX            75266-0082
NOBLE ROYALTIES, INC.            FUND V LP                  P.O. BOX 660082                                                                   DALLAS          TX            75266-0082
NOBLE ROYALTIES, INC. FUND III   P.O. BOX 660082                                                                                              DALLAS          TX            75266-0082
LP
NOBLE ROYALTIES, INC. FUND IV    P.O. BOX 660082                                                                                              DALLAS          TX            75266-0082
LP
NOBLE ROYALTIES, INC. FUND V     P.O. BOX 660082                                                                                              DALLAS          TX            75266-0082
LP
NOBLE ROYALTY ACCESS FUND I      15601 N. DALLAS PARKWAY    SUITE 900                                                                         ADDISON         TX            75001
LP
NOBLE ROYALTY ACCESS FUND        15601 N. DALLAS PARKWAY    SUITE 900                                                                         ADDISON         TX            75001
II LP
NOBLE ROYALTY ACCESS FUND        15601 N. DALLAS PARKWAY    SUITE 900                                                                         ADDISON         TX            75001
VII LP
NOEL UPFALL REVOCABLE            U/A DATED MAY 13, 2003     3870 PINE HARBOR DRIVE                                                            WEST BLOOMFIELD MI            48323
TRUST
NOEMI ARMENDARIZ                 3321 NEELY AVE , APT P4                                                                                      MIDLAND         TX            79707
NORMA DWIGHT ROGERS
NORMA JEAN KOLB                  P.O. BOX 1345                                                                                                ANDREWS          TX           79714
NORMAN A. PAPPAS TRUST           U/A DATED SEPTEMBER 4, 1974 30301 NORTHWESTERN HIGHWAY                SUITE 200                              FARMINGTON HILLS MI           48334

NORMAN ROBERT HAILEY             P.O. BOX 617                                                                                                 ABILENE         TX            79604
NOTARY PUBLIC UNIT               P.O. BOX 13375                                                                                               AUSTIN          TX            78711-3375
NOV DHT, L.P. , WELLS FARGO      P.O. BOX 201153                                                                                              DALLAS          TX            75320
BANK NA
O. F. HEDRICK JR.
OAK VALLEY MINERAL AND           P.O. BOX 50820                                                                                               MIDLAND         TX            79710
LAND, LP
OCCIDENTAL OIL AND GAS           5 GREENWAY PLAZA           SUITE 110                                                                         HOUSTON         TX            77046
CORPORATION
ODESSA PACKER SERVICE, INC.      P.O. BOX 12970                                                                                               ODESSA          TX            79768-2970

ODESSA PUMPS & EQUIPMENT,        P.O. BOX 60429                                                                                               MIDLAND         TX            79711-0429
INC.
ODIE B. FINLEY                   120 POLO PONY                                                                                                LIBERTY HILL    TX            78642
OFFICE DEPOT                     P.O. BOX 630813                                                                                              CINCINNATI      OH            45263-0813




                                                                                               In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 34 of 53
                                                                                            Creditor Matrix


            Name                        Address 1                       Address 2                     Address 3            Address 4          City          State       Zip      Country
OFFICE OF THE UNITED STATES   ATTN: LINDA CASEY           844 KING STREET, SUITE 2207           LOCKBOX 35                             WILMINGTON      DE           19801
TRUSTEE
OIL PATCH GROUP, INC          AND ALL SUBSIDIARIES        P.O. BOX 204667                                                              DALLAS          TX           75320-4667
OIL STATES ENERGY SERVICES,   P.O. BOX 203567                                                                                          DALLAS          TX           75320-3567
LLC
OILFIELD CHEMICAL             4014 MCCULLOUGH AVE.                                                                                     SAN ANTONIO     TX           78212
SOLUTIONS,LLC
OILFIELD SAFETY &             SERVICES, OFSES, LLC        1330 E. 8TH ST.                       SUITE 200                              ODESSA          TX           79761
ENVIRONMENTAL
OIL-TECH CONSTRUCTION, LLC    ADVANTAGE BUSINESS          DEPT. 6163                            P.O. BOX 4283                          HOUSTON         TX           77210-4283
                              CAPITAL
OLD SCHOOL SERVICES           P.O. BOX 1598                                                                                            HENDERSON       TX           75653
OLIVER H DANIEL
ONE ELEVEN MINERAL            1901 N. AKARD ST.                                                                                        DALLAS          TX           75201
PARTNERSHIP
ONE SOURCE ENERGY             P.O. BOX 9226                                                                                            GREENVILLE      TX           75404
SERVICES
O'NEILL MINERALS I, LLC       ONE RADNOR CORPORATE        100 MATSONFORD RD.                                                           RADNOR          PA           19087
                              CENTER
OPPORTUNE, LLP                711 LOUISIANA ST            SUITE 3100                                                                   HOUSTON         TX           77002
ORBIT CONSTRUCTION            P.O. BOX 1452                                                                                            BRECKENRIDGE    TX           76424
ORIGINAL SERVICES, INC        P.O. BOX 62703                                                                                           SAN ANGELO      TX           76906
ORLANDO L. CISNEROS           257 EVANTE ST.                                                                                           LAS VEGAS       NV           89138
ORMAN BLACKWELL               11771 RAMONA AVENUE                                                                                      CHINO           CA           91710
ORWELL J. & BEVERLY J.        EARLY SURV. TRUST           139 VIA UNDINE                                                               NEWPORT BEACH   CA           92663
ORYX SOUTHERN DELWARE         4000 N BIG SPRING ST        STE 300                                                                      MIDLAND         TX           79705-4628
HOLDINGS, LLC
OSADO PROPERTIES LTD          C/O AUSTIN S CAMPBELL,      P.O. BOX 11086                                                               MIDLAND         TX           79702
                              AGENT
OSCAR DANE, III               8007 ROWAN LANE                                                                                          HOUSTON         TX           77036
OSO CAPITAL LP                P.O. BOX 882                                                                                             MIDLAND         TX           79702
O-TEX PUMPING LLC             7045 N. HIGHWAY 81                                                                                       DUNCAN          OK           73533
OUWA OIL, LLC                 C/O LULLENE KNOX            196 WATERWOOD                                                                HUNTSVILLE      TX           77320
OUWA OIL, LLC                 C/O PAUL FUNKHOUSER         94 NORTHGATE DRIVE                                                           THE WOODLANDS   TX           77380
OWEN HAGGARD                  800 CENTRAL PARKWAY EAST    SUITE 100                                                                    PLANO           TX           75074
P. A. MEYERS
P. O'B MONTGOMERY
P. O'B MONTGOMERY, SR. &
WIFE
P.E. RENTALS, INC             P.O. BOX 21748                                                                                           BAKERSFIELD     CA           93390
P.O'B MONTGOMERY, JR.
P.O'B MONTGOMERY, JR.,        THE BENEFIT OF WILLIAM      MONTGOMERY, ET AL.
TRUSTEE FOR                   SLACK
PAJUAL ENTERPRISE,LLC         P.O. BOX 1764                                                                                            MIDLAND         TX           79702
PALADIN COMPLETION            P.O. BOX 60602                                                                                           MIDLAND         TX           79711
SERVICES
PANTHER WELL SERVICE LLC      49 LIGHTWOOD TRACE                                                                                       THE WOODLANDS   TX           77382
PARKER GROUP                  P.O. BOX 575                                                                                             BEDFORD         IN           47421
PASON SYSTEMS USA CORP        7701 WEST LITTLE YORK       SUITE 800                                                                    HOUSTON         TX           77040
PATE TRUCKING COMPANY, LLC    P.O. BOX 760                                                                                             DENVER CITY     TX           79323
PATRICIA ANN EDENS            4809 DENTCREST DRIVE                                                                                     MIDLAND         TX           79707
PATRICIA L. POOLE
PATRICIA LYNN DIXON           108 MONTREAL LANE                                                                                        OAK RIDGE       TN           37830
PATRICK GRAY                  P.O. BOX 4097                                                                                            MIDLAND         TX           79704
PATRIOT MUDLOGGING, LLC       P.O. BOX 1191                                                                                            MIDLAND         TX           79702
PATRIOT PREMIUM THREADING     SERVICES LLC                8300 W.HIGHWAY 80                     P.O. BOX 13660                         MIDLAND         TX           79706-2604
PATSY NELL RAMSEY             P.O. BOX 170536                                                                                          ARLINGTON       TX           76003
PATTERSON RENTAL TOOLS        PATTERSON SERVICES, INC.    P.O. BOX 203379                                                              DALLAS          TX           75320-3379


                                                                                        In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS               Doc 81            Filed 11/13/19   Page 35 of 53
                                                                                            Creditor Matrix


            Name                        Address 1                           Address 2                      Address 3       Address 4            City        State       Zip      Country
PATTERSON SERVICES, INC       P.O. BOX 203379                                                                                          DALLAS          TX           75320-3379
PATTERSON-UTI DRILLING        ATTN: LANCE CRESSWELL       P.O. BOX 260111                                                              DALLAS          TX           75326-0111
COMPANY, LLC
PATTI W MITCHELL              6831 GATERIDGE DR.                                                                                       DALLAS          TX           75254
PATTI WOLFE MITCHELL          6831 GATERIDGE DR.                                                                                       DALLAS          TX           75254
PAUL & TARA SCHWARTZ FARMS    2001 CR 270                                                                                              GARDEN CITY     TX           79739
INC.
PAUL CHRISTOPHER DANIEL       P.O. BOX 249                                                                                             GUNTER          TX           75098
PAUL CYPHERS                  801 MOGFORD ST                                                                                           MIDLAND         TX           79701
PAUL J SIMS                   IND EXEC OF EST OF ANNALEE H SIMS DEC                             1201 S CR 1072                         MIDLAND         TX           79706
PAUL L. LOUCHIS REVOCABLE     DATED NOVEMBER 15, 1999    P.O. BOX 17756                                                                IRVINE          CA           92623
TRUST
PAUL L. SOSSI LIVING TRUST    DATED 7.18.80               59612 GLACIER RIDGE SOUTH                                                    WASHINGTON      MI           48094
                                                                                                                                       TOWNSHIP
PAUL LYNN ROGERS           336 ELDERBERRY ROAD                                                                                         AUSTIN          TX           78737
PAUL RICKER ESTATE TRUST   1ST FINANCIAL TRUST & ASSET MGT COMP                                 P.O. BOX 701                           ABILENE         TX           79601
PAUL SCHWARTZ              2001 CR 270                                                                                                 GARDEN CITY     TX           79739
PAUL W. FUNKHOUSER         94 NORTHGATE DRIVE                                                                                          THE WOODLANDS   TX           77380
PAUL W. WHITE, TRUSTEE     THE PAUL W. WHITE WHITE     MINERAL TRUST                            2617 CALLE DELL ROBLES                 KERRVILLE       TX           78028
                           WING
PAULA E. SULLIVAN          2246 LOVE SHOP ROAD                                                                                         HALIFAX         VA           24558
PAULA FAYE ROGERS STAFFORD 1925 RICHLAND DRIVE                                                                                         ABILENE         TX           79603

PAYZONE DIRECTIONAL           1600 STOUT STREET           SUITE 1520                                                                   DENVER          CO           80202
SERVICES, INC
PBR PROPERTIES JOINT          P.O. BOX 2802                                                                                            MIDLAND         TX           79702
VENTURE
PCL PARTNERS, LTD.            4023 COCHRAN CHAPEL ROAD                                                                                 DALLAS          TX           75209
PDM SERVICES LLC              P.O. BOX 1838                                                                                            ADA             OK           74821
PEAK OILFIELD SERVICES, LLC   P.O. BOX 203997                                                                                          DALLAS          TX           75320-3997
PECAN BAYOU ENERGY, LLC       6500 RIVER PLACE BLVD       BLDG. 5, SUITE 150                                                           AUSTIN          TX           78730
PECOS BEND ROYALTIES, LP      P.O. BOX 2802                                                                                            MIDLAND         TX           79702
PECOS ENTERPRISE              324 SOUTH CEDAR                                                                                          PECOS           TX           79772
PECOS FARM TRUST              C/O AQUA VITAE TRUST        455 MACKENZIE AVE                                                            CANON CITY      CO           81212
PECOS VALLEY PRODUCTION       P.O. BOX 482                                                                                             GRANDFALLS      TX           79742
SERVICE
PEGASUS RESOURCES, LLC        ATTN: DON COLLINS           P.O. BOX 470698                                                              FORT WORTH      TX           76147
PEGGI W MORGAN                1009 CLINTON STREET                                                                                      CARROLLTON      TX           75007
PEGGI WOLFE MORGAN            203 COVE DRIVE                                                                                           COPPELL         TX           75019
PEGGY ADAMS                   P.O. BOX 216                                                                                             DESTIN          FL           32540
PEGGY ANGELA RAMBO            P.O. BOX 101027                                                                                          FORT WORTH      TX           76185
PEGGY M COOK                  7415 NORTHRIDGE AVE NE                                                                                   ALBUQUERQUE     NM           87109
PEGGY SELDEN REVOCABLE        ATTN: PEGGY GARY SELDEN     2206 W. MISTLETOE                                                            SAN ANTONIO     TX           78201
TRUST
PELOTON COMPUTER              23501 CINCO RANCH BLVD.     SUITE C220                                                                   KATY            TX           77494
ENTERPRISES, INC.
PENNELL & MARLOWE LAND        P.O. BOX 51887                                                                                           MIDLAND         TX           79710
SURVEYORS
PERMIAN ANCHORS               P.O. BOX 12238                                                                                           ODESSA          TX           79768
PERMIAN ENTERPRISES,LTD       2121 W. MURPHY                                                                                           ODESSA          TX           79763
PERMIAN EQUIPMENT RENTALS     ATTN: NORMAN ALLEN          12409 QUAKER AVENUE                                                          LUBBOCK         TX           79424
PERMIAN EQUIPMENT RENTALS     P.O. BOX 61730                                                                                           MIDLAND         TX           79711
PERMIAN GEOLOGICAL            16736 N. PECAN AVE.                                                                                      GARDENDALE      TX           79758
SERVICES, LLC
PERMIAN PETROLEUM             P.O. BOX 3663                                                                                            MIDLAND         TX           79702
SERVICES, INC.
PERMIAN POWER TONG, LLC       P.O. BOX 625                                                                                             GARDENDALE      TX           79758
PERMIAN SIGN CO               4111 S COUNTY RD 1276                                                                                    MIDLAND         TX           79706


                                                                                        In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS             Doc 81            Filed 11/13/19   Page 36 of 53
                                                                                            Creditor Matrix


              Name                         Address 1                        Address 2                      Address 3       Address 4         City            State       Zip      Country
PERMIAN WATER SOLUTIONS,        DEPT 552                   P.O. BOX 4346                                                               HOUSTON          TX           77210
LLC
PERMICO PARTNERS II, LLC        508 W. WALL ST.            SUITE 1250                                                                  MIDLAND          TX           79707
PERMICO ROYALTIES, LLC          508 W. WALL STREET         SUITE 1250                                                                  MIDLAND          TX           79701
PERRY COLWELL ESTATE
PETCO LIMITED                   P.O. BOX 911                                                                                           BRECKENRIDGE     TX           76424-0911
PETER F. CORBETT                812 N. SECOND STREET                                                                                   BELLAIRE         TX           77401
PETER FAUFMAN AND               2912 BEVERLY DRIVE                                                                                     PLANO            TX           75093
ELIZABETH KAUFMAN
PETRA RENTAL AND SUPPLY,        1210 W. BROADWAY ST        P.O. BOX 28                                                                 ANDREWS          TX           79714
LLC
PETRA REYES
PETRO AMIGOS SUPPLY INC.        P.O. BOX 957554                                                                                        ST.LOUIS         MO           63195-7554
PETRO WASTE                     153 TREELINE PARK          SUITE 100                                                                   SAN ANTONIO      TX           78209
ENVIRONMENTAL, LP
PETROLEO, LLC                   P.O. BOX 470722                                                                                        FORT WORTH       TX           76107
PETROLERO, LLC                  P.O. BOX 112843                                                                                        CARROLLTON       TX           75011-2843
PETROPLEX ACIDIZING INC.        P.O. BOX 60365                                                                                         MIDLAND          TX           79711-0365
PETROPLEX SWD, LLC              P.O. BOX 1873                                                                                          MIDLAND          TX           79702
PETROSMITH EQUIPMENT, LP        P.O. BOX 6291                                                                                          ABILENE          TX           79608
PGH PETROLEUM &                 ENGINEERS, LLC             P.O. BOX 91629                                                              AUSTIN           TX           78709-1629
ENVIRONMENTAL
PHARES EDWIN LEMOND, JR.        P.O. BOX 13041                                                                                         ARLINGTON        TX           76094
PHILIP L. ELKUS TRUST           27888 ORCHARD LAKE ROAD                                                                                FARMINGTON HILLS MI           48334
PHILIP O'B MONTGOMERY SR &
WIFE TRU
PHILLIP SCOTT HILLGER           P.O. BOX 203                                                                                           GARDEN CITY      TX           79739
PHILLIP TYLER YENZER            24 LAKES DRIVE                                                                                         MIDLAND          TX           79705
PHILLIPS INVESTMENTS, LLC       330 MARSHALL STREET        SUITE 300                                                                   SHREVEPORT       LA           71101
PHOENIX TECHNOLOGY              P.O. BOX 205413                                                                                        DALLAS           TX           75320-5413
SERVICES USA, I
PIERSON FAMILY TRUST            4149 HARRY STREET                                                                                      CORPUS CHRISTI   TX           78411
PILOT THOMAS LOGISTICS, LLC     P.O. BOX 677732                                                                                        FORT WORTH       TX           75267-7732
PINKSTON ROYALTIES, LP          P.O. BOX 53188                                                                                         LUBBOCK          TX           79453
PIONEER NATURAL RESOURCES       P.O. BOX 840835                                                                                        DALLAS           TX           75284-0835
USA INC
PIONEER WIRELINE SERVICES,      P.O. BOX 202567                                                                                        DALLAS           TX           75320-2567
LLC
PIRATE OILFIELD SERVICES, INC   DBA VAQUERO ENERGY         P.O. BOX 14367                                                              ODESSA           TX           79768
                                SERVICES, INC
PLATFORM II, LLC                P.O. BOX 2078                                                                                          ABILENE          TX           79604
PLATINUM COLLISION REPAIR       1501 SOUTH MIDKIFF                                                                                     MIDLAND          TX           79701
CENTER
PLATINUM PIPE RENTALS, LLC      P.O. BOX 4152                                                                                          ODESSA           TX           79760
PLUNGERS & MORE                 P.O. BOX 10983                                                                                         MIDLAND          TX           79702
POCO MINERALS LLC               4809 COLE AVE STE 107                                                                                  DALLAS           TX           75205-3553
POLLARD PETROLEUM               CONSULTING ENGINEERS       2643 CREEKS EDGE PARKWAY                                                    AUSTIN           TX           78733
CONSULTING
POLYFLOW, LLC                   2309 EAST INTERSTATE 20                                                                                MIDLAND          TX           79706
POWERSAT COMMUNICATIONS         2009 SPANISH OAK TRAIL                                                                                 ROUND ROCK       TX           78681
USA LP
PRADON CONSTRUCTION &           P.O. BOX 14969                                                                                         ODESSA           TX           79768
TRUCKING
PRECISION DRILLING COMPANY,     P.O. BOX 202695                                                                                        DALLAS           TX           75320-2695
LP
PRECISION PRESSURE DATA,        P.O. BOX 8571                                                                                          MIDLAND          TX           79708
INC.
PREDATOR DRILLING, LLC          P.O. BOX 3120                                                                                          MIDLAND          TX           79702


                                                                                        In re: MTE Holdings, LLC, et al.
                                                     Case 19-12269-CSS                 Doc 81            Filed 11/13/19   Page 37 of 53
                                                                                           Creditor Matrix


             Name                      Address 1                          Address 2                       Address 3       Address 4         City        State       Zip      Country
PREFERRED PERSONNEL INC.     P.O. BOX 50454                                                                                           MIDLAND      TX           79710-0454
PREMIER DIRECTIONAL          363 N SAM HOUSTON PARKWAY SUITE 300                                                                      HOUSTON      TX           77060
DRILLING, LLC                EAST
PREMIER OILFIELD GROUP       11335 CLAY RD.            STE. 180                                                                       HOUSTON      TX           77041
PREMIUM CLEAN                P.O. BOX 5393                                                                                            MIDLAND      TX           79704
PREMIUM OILFIELD             DEPT 150                  P.O. BOX 4458                                                                  HOUSTON      TX           77210-4458
TECHNOLOGIES,LLC.
PREMIUM TOOLS, LLC           P.O. BOX 677901                                                                                          DALLAS       TX           75267
PREWIT LAND AND MINERALS,    C/O JOHN C. PREWIT         6159 PRESTON CREEK DRIVE                                                      DALLAS       TX           75240
LTD.
PRIMAL ENERGY O&G, LLC       21021 SPRINGBROOK PLAZA,                                                                                 SPRING       TX           77379
                             #160
PRIMAVERA RESOURCES, INC.    1901 NORTH AKARD ST                                                                                      DALLAS       TX           75201
PRIME ROCK MINERALS II, LLC  ONE RADNOR CORPORATE       100 MATSONFORD RD. SUITE 101                                                  RADNOR       PA           19087
                             CENTER
PRIME ROCK MINERALS, LLC     ONE RADNOR CORPORATE       100 MATSONFORD RD. SUITE 101                                                  RADNOR       PA           19087
                             CENTER
PRIME TIME WATER SUPPLY, LLC 12108 SWAPS DRIVE                                                                                        EL PASO      TX           79936

PRIMITIVE PETROLEUM, INC.    4514 ROBIN LANE                                                                                          MIDLAND      TX           79707
PRIORITY ARTIFICIAL LIFT     SERVICES, LLC              DBA PRIORITY ENERGY HOLDINGS LLC       681 RIVER HIGHLANDS                    COVINGTON    LA           70433
                                                                                               BLVD
PRL ENERGY HOLDING, LLC      P.O. BOX 2032                                                                                            MIDLAND      TX           79702
PRO SELECT SWD 4 LLC ,       P.O. BOX 203997                                                                                          DALLAS       TX           75320-3997
PROBITY SWD
PRO WELDING, LLC             2421 W. 49TH STREET                                                                                      ODESSA       TX           79764
PRODUCTION LIFT COMPANIES,   P.O. BOX 9423                                                                                            MIDLAND      TX           79708
INC.
PROFESSIONAL DIRECTIONAL     ENTERPRISES                P.O. BOX 734455                                                               DALLAS       TX           75373-4455
PROPERTY RESOURCES           125 BRAZILIAN AVE                                                                                        PALM BEACH   FL           33480
COMPANY, INC.
PROPETRO SERVICES, INC.      P.O. BOX 734247                                                                                          DALLAS       TX           75373-4247
PROSPERITY BANK, USA         509 W WALL STREET                                                                                        MIDLAND      TX           79701
PRO-TECH HARDBANDING         P.O. BOX 6920                                                                                            MOORE        OK           73153
SERVICES, INC.
PRO-TEST, INC.               454 FM 1252 E                                                                                            KILGORE      TX           75662
PSG RESOURCES, LLC           P.O. BOX 204653                                                                                          DALLAS       TX           75320-4653
PSI WIRELINE, INC            3524 KNICKERBOCKER RD      SUITE C-304                                                                   SAN ANGELO   TX           76904
PUMPCO ENERGY SERVICES,      P.O. BOX 202295                                                                                          DALLAS       TX           75320-2295
INC.
PURCHASE POWER, PITNEY       P.O. BOX 371874                                                                                          PITTSBURGH   PA           15250-7874
BOWES
PURPLE LAND MANAGEMENT,      210 E. 8TH STREET                                                                                        FORT WORTH   TX           76102
LLC
PYOTE WATER SOLUTIONS, LLC   P.O. BOX 2106                                                                                            MIDLAND      TX           79705
QES DIRECTIONAL DRILLING,    DEPT. 158                  P.O. BOX 4346                                                                 HOUSTON      TX           77210-4346
LLC
QES PRESSURE CONTROL, LLC    DEPT. 105                  P.O. BOX 4346                                                                 HOUSTON      TX           77210-4346
QPC3, LP                     P.O. BOX 10004                                                                                           MIDLAND      TX           79702
QUALITAS OILFIELD SERVICES   12329 CUTTEN RD.                                                                                         HOUSTON      TX           77066
QUALITY FLUIDS, LLC          P.O. BOX 14263                                                                                           ODESSA       TX           79768
QUANAH EXPLORATION, LLC      515 TRADEWINDS BLVD.                                                                                     MIDLAND      TX           79706
QUEST ELECTRICAL &           P.O. BOX 50495                                                                                           MIDLAND      TX           79710
MECHANICAL CORP
QUORUM BUSINESS SOLUTIONS    (USA), INC.                P.O. BOX 205973                                                               DALLAS       TX           75320-5973
QWIKPIPE INC.                DEPT.103                   P.O. BOX 4652                                                                 HOUSTON      TX           77210
R 360 ENVIRONMENTAL          P.O. BOX 671798                                                                                          DALLAS       TX           75267-1798
SOLUTIONS, LLC


                                                                                       In re: MTE Holdings, LLC, et al.
                                                           Case 19-12269-CSS             Doc 81            Filed 11/13/19   Page 38 of 53
                                                                                             Creditor Matrix


             Name                        Address 1                         Address 2                        Address 3       Address 4            City          State       Zip      Country
R F STEINER HEIRS                                                                                                                                         TX           11111
R. B. MCGOWEN III              711 N. TRAVIS                                                                                            SHERMAN           TX           75090
RACHEL REYNOLDS LEIGH          5501 TRAVIS GREEN LANE                                                                                   AUSTIN            TX           78735
RAILROAD COMMISSION OF         P.O. BOX 12967                                                                                           AUSTIN            TX           78711-2967
TEXAS
RAIN OIL & GAS MANAGEMENT,     3303 NORTHLAND DR.           SUITE 201                                                                   AUSTIN            TX           78731
LLC
RALPH E. FAIR, JR.             30260 SARATOGA LANE                                                                                      FAIR OAKS RANCH   TX           78015
RALPH H. LANG, JR. &           P.O. BOX 10726                                                                                           MIDLAND           TX           79702
ASSOCIATES
RALPH HAWTHORNE
RALPH R. SHADLE                146 WOLAND RD.                                                                                           ELIZABETHVILLE    PA           17023
RAMOS TRUCKING CO., INC.       3108 SOUTH COUNTY ROAD                                                                                   MIDLAND           TX           79706
                               1200
RAMOS TUBING TESTING,          P.O. BOX 507                                                                                             ANDREWS           TX           79714
INCORPORATE
RAMSEY FAMILY LIMITED          P.O. BOX 170536                                                                                          ARLINGTON         TX           76003
PARTNERSHIP
RANDALL K FARLEY & CYNTHIA B   4802 105TH STREET                                                                                        LUBBOCK           TX           79424
FARLEY
RANDALL W. HILLGER             2210 ROGERS RD.              UNIT 6206                                                                   SAN ANTONIO       TX           78251
RANGER ENERGY SERVICES,        800 GESSNER                  SUITE 1000                                                                  HOUSTON           TX           77027
LLC
RAUL M. QUIROZ              DBA CORONA BACKHOE              460 W APACHE PT                                                             ODESSA            TX           79766
                            SERVICE
RAUL RODRIGUEZ              4601 RIC DR                                                                                                 MIDLAND           TX           79703-5458
RAY DURHAM                  P.O. BOX 954                                                                                                PECOS             TX           79772
RAYMOND C. DAVIS            1222 N. LOOP 12                                                                                             IRVING            TX           75061
RAYMOND L. FERRARI, TRUSTEE 2017 TREMONT LAKE                                                                                           RENO              NE           89509
RAYMOND OLIVER              1313 NW 16TH                                                                                                ANDREWS           TX           79714
RAYMOND WOODROW YOUNG, II 2816 NE 26TH COURT                                                                                            FORT LAUDERDALE   FL           33306

RAY'S AUTOMOTIVE               2925 MACARTHUR DR                                                                                        WACO              TX           76708
RBC CAPITAL MARKETS, LLC,      FBO WILLIAM MORRIS, ROTH     60 S. SIXTH STREET P09                                                      MINNEAPOLIS       MN           55402
CUSTODIAN                      IRA
RBC DAIN RAUSCHER,             FBO ADDI WANSRATH            510 MARQUETTE AVENUE SOUTH                                                  MINNEAPOLIS       MN           55402
CUSTODIAN
RBC DAIN RAUSCHER,             FBO WILLIAM E. MORRIS IRA    510 MARQUETTE AVENUE SOUTH                                                  MINNEAPOLIS       MN           55402
CUSTODIAN
RBC DAIN RAUSCHER,             FBO WILLIAM E. MORRIS ROTH   510 MARQUETTE AVENUE SOUTH                                                  MINNEAPOLIS       MN           55402
CUSTODIAN                      IRA
RBC WEALTH MANAGEMENT          FBO DAVID SNELLBACHER IRS    550 W. TEXAS AVE.                                                           MIDLAND           TX           79701
RBC WEALTH MANAGEMENT          FBO JON T. PIERATT           550 W. TEXAS AVE.                    #120                                   MIDLAND           TX           79701
RBC WEALTH MANAGEMENT          FBO KINDER PSP               550 W. TEXAS AVE.                    #120                                   MIDLAND           TX           79701
RBC WEALTH MANAGMENT           FBO JAY F. SHORT             550 W. TEXAS AVE.                    #120                                   MIDLAND           TX           79701
RBC WEALTH MANAGMENT           FBO KENNETH LAND             550 W. TEXAS AVE.                    #120                                   MIDLAND           TX           79701
RBC WEALTH MANAGMENT           FBO KERRY A. WANSRATH        550 W. TEXAS AVE.                    #120                                   MIDLAND           TX           79701
RBC WEALTH MANAGMENT           FBO MARIE KUFFNER, MD        550 W. TEXAS AVE.                    #120                                   MIDLAND           TX           79701
RCS, INC.                      #6 STEGNER LANE                                                                                          AUSTIN            TX           78746-2530
RCS, INC.                      5450 BEE CAVE ROAD           SUITE 2B                                                                    WEST LAKE HILLS   TX           78746
RDL TRANSPORTATION INC         P.O. BOX 3144                                                                                            MIDLAND           TX           79702
RDUB TRUCKING                  8 OASIS                                                                                                  ODESSA            TX           79765
REACH WIRELINE, LLC            100 NU ENERGY DR.            SUITE 1                                                                     ALEDO             TX           76008
READY DRILL, LLC               P.O. BOX 265                                                                                             MONAHANS          TX           79756
REBECCA L. BOGGS               216 WESTERN HILLS DRIVE                                                                                  MOUNT VERNON      IN           47620
REBECCA RUCKMAN BOGGS          216 WESTERN HILLS DR                                                                                     MOUNT VERNON      IN           47620
RED BONE SERVICES, LLC         P.O. BOX 887                                                                                             ELK CITY          OK           73648
RED DIRT RENTALS               P.O. BOX 5006                                                                                            GRANBURY          TX           76049


                                                                                         In re: MTE Holdings, LLC, et al.
                                                           Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 39 of 53
                                                                                              Creditor Matrix


            Name                        Address 1                             Address 2                      Address 3       Address 4          City          State       Zip      Country
RED STONE OPERATIONS INC.     P.O. BOX 13237                                                                                             ODESSA          TX           79768
RED WILLOW PRODUCTION         14933 CO-172                                                                                               IGNACIO         CO           81137
COMPANY
RED WILLOW PRODUCTION LLC     P.O. BOX 369                                                                                               IGNACIO         CO           81137
REDGE FRIDAY WELDING LLC      P.O. BOX 461                                                                                               MIDLAND         TX           79702
REDHEAD SERVICES, LLC         P.O. BOX 61748                                                                                             MIDLAND         TX           79711
REDRIVER OILFIELD SERVICES,   P.O. BOX 52907                                                                                             MIDLAND         TX           79710
LLC
REEVES COUNTY APPRAISAL       P.O. BOX 1229                                                                                              PECOS           TX           79772-1229
DISTRICT
REEVES COUNTY CLERK           100 E. 4TH STREET             ROOM 101                                                                     PECOS           TX           79772
REEVES COUNTY DISTRICT        P.O. BOX 848                                                                                               PECOS           TX           79772-0848
CLERK
REEVES COUNTY RESOURCES,      ATTN: BENJAMIN CISNEROS       6926 N. LAMAR BLVD                                                           AUSTIN          TX           78752
LLC
REEVES COUNTY, ROSEMARY       P.O. BOX 700                                                                                               PECOS           TX           79772
CHABARRIA
REGINA DALE KUETHE TRUST                                                                                                                 KUETHE
REGIUM HOLDINGS LP           7500 TURTLE CREEK BLVD                                                                                      DALLAS          TX           75225
REHMEYER FAMILY, LP          C/O CATOICO RESOURCE           P.O. BOX 10841                                                               MIDLAND         TX           79702
                             MGMT, LP
RELIANT , AN NRG COMPANY     DEPARTMENT 0954                P.O. BOX 120954                                                              DALLAS          TX           75312-0954
REMOTE MONITORING SYSTEMS, 1240 JOHNSON FERRY PLACE         SUITE C5                                                                     MARIETTA        GA           30068
LLC
RENDOVA OIL CO., INC.        BOX 3106                                                                                                    MIDLAND         TX           79702
RENE DAUGHERTY GILL          9921 VICKIE LANE                                                                                            FRISCO          TX           75035
RENEGADE TORQUE AND TEST , P.O. BOX 1261                                                                                                 PORTER          TX           77365
RWLS LLC
REPEAT PRECISION, LLC        P.O. BOX 1990                                                                                               MARBLE FALLS    TX           78654
REPUBLIC SERVICES INC.       P.O. BOX 840730                                                                                             DALLAS          TX           75284-0730
RESCATE ROYALTIES, LP        P.O. BOX 53188                                                                                              LUBBOCK         TX           79453
RESERVOIR DATA SYSTEMS       P.O. BOX 660                                                                                                KATY            TX           77492
REVEAL ENERGY SERVICES, INC. 1500 CITYWEST BLVD             STE 741                                                                      HOUSTON         TX           77042-2300

REYNOLD'S BROTHERS            315 N. COLORADO                                                                                            MIDLAND         TX           79701
REPRODUCTION LTD
RH WELL SERVICE INC.          2401 BAYLOR BLVD.                                                                                          BIG SPRING      TX           79720
RHINO RENTALS INC             6029 WESTMOOR ROAD                                                                                         ODESSA          TX           79764
RHL ENERGY LLC                P.O. BOX 10922                                                                                             MIDLAND         TX           79702
RICHARD & BEVERLY BRAUER      TRUST OF 1992                 1652 S. E. SKYLINE DRIVE                                                     SANTA ANA       CA           92705
RICHARD CARLTON LATHAM        5942 JOYCE WAY                                                                                             DALLAS          TX           75225
RICHARD DELANE HAMNER         4917 44TH STREET                                                                                           LUBBOCK         TX           79414
RICHARD F. SAMMONS            455 WORTH AVE.                #303                                                                         PALM BEACH      FL           33480
RICHARD L. BONAR              11219 DELL LOCH WAY                                                                                        FORT WAYNE      IN           46814
RICHARD M. BARGE 1998 TRUST   5956 SHERRY LANE              SUITE 1200                                                                   DALLAS          TX           75225
RICHARD R. PAUL, JR.          REV. LIVING TRUST             40516 TONOPAH ROAD                                                           RANCHO MIRAGE   CA           92270
RICK EUTSLER                  12429 N 3980 RD                                                                                            DEWEY           OK           74029
RICKY W. MIRANDA              1343 RED HILL DR.                                                                                          ROMANCE         AR           72136
RIDGEFIELD PERMIAN            1333 WEST LOOP SOUTH          SUITE #1333                                                                  HOUSTON         TX           77027
MINERALS, LLC
RIDGELY PARTNERS, LTD.        P.O. BOX 803544                                                                                            DALLAS          TX           75380
RIG POWER INC                 P.O. BOX 10983                                                                                             MIDLAND         TX           79702
RIGG-ETT INC.                 TCI BUSINESS CAPITAL, INC.    9185 PAYSPHERE CIRCLE                                                        CHICAGO         IL           60674
RIGHT LIGHT SERVICES, LLC     P.O. BOX 1663                                                                                              MIDLAND         TX           79702
RIG-ID                        5802 GRASSLAND CT                                                                                          MIDLAND         TX           79707
RIP GRIFFIN TRUCK SERVICE     CENTER, INC                   5202 FOURTH STREET                                                           LUBBOCK         TX           79416
RIVER ROCK ENERGY, INC.       P.O. BOX 1038                                                                                              UVALDE          TX           78802
RIVERCREST ROYALTIES, LLC     777 TAYLOR STREET             SUITE 810                                                                    FORT WORTH      TX           76102


                                                                                          In re: MTE Holdings, LLC, et al.
                                                          Case 19-12269-CSS                Doc 81            Filed 11/13/19   Page 40 of 53
                                                                                               Creditor Matrix


              Name                        Address 1                       Address 2                           Address 3       Address 4         City            State       Zip      Country
RIVERSTONE CREDIT               ATTN: CHRISTOPHER A.        712 FIFTH AVENUE, 36TH FLOOR                                                  NEW YORK         NY           10019
MANAGEMENT, LLC                 ABBATE, MD
RIVERSTONE CREDIT PARTNERS      ATTN: CHRISTOPHER A.        712 FIFTH AVENUE, 36TH FLOOR                                                  NEW YORK         NY           10015
I DIRECT, LP                    ABBATE, MD
RIVERSTONE CREDIT PARTNERS      ATTN: CHRISTOPHER A.        712 FIFTH AVENUE, 36TH FLOOR                                                  NEW YORK         NY           10015
II DIRECT, LP                   ABBATE, MD
RIVERSTONE STRATEGIC            ATTN: CHRISTOPHER A.        712 FIFTH AVENUE, 36TH FLOOR                                                  NEW YORK         NY           10015
CREDIT PARTNERS A-1 AIV, L.P.   ABBATE, MD
RJG ENTERPRISES, LLC            P.O. BOX 4024                                                                                             ODESSA           TX           79760
RK PUMP AND SUPPLY              11400 WEST COUNTY ROAD 30                                                                                 MIDLAND          TX           79707
RMCC EQUIPMENT LLC              P.O. BOX 1890                                                                                             HOBBS            NM           88241
RMTDC, LLC , TOTAL ENERGY       100 NORTH FREEWAY           SUITE 100                                                                     CONROE           TX           77301
SERVICES
ROB D. TRIMBLE, III             10254 COUNTY ROAD 2173                                                                                    WHITEHOUSE       TX           75791
ROBBY KOHUTEK, INC.             P.O. BOX 1135                                                                                             MIDLAND          TX           79702
ROBERT A. HORNE, JR.            P.O. BOX 271                                                                                              COLEMAN          TX           76834
ROBERT EUGENE GLENN, JR.        P.O. BOX 6695                                                                                             TEXARKANA        TX           75505
ROBERT F. INGRAM                3300 TIFTON LANE                                                                                          OPELIKA          AL           36804
ROBERT G. TALLEY REVOCABLE      12695 EAST HARVARD CIRCLE                                                                                 AURORA           CO           80014
TRUST
ROBERT HALF FINANCE &           P.O. BOX 743295                                                                                           LOS ANGELES      CA           90074-3295
ACCOUNTING
ROBERT M BEARMAN                2160 S CLAYTON ST                                                                                         DENVER           CO           80210
ROBERT M. KNIGHT                P.O. BOX 1407                                                                                             NEW ALBANY       IN           47151
ROBERT ORONA                    11349 W. UNIVERSITY                                                                                       ODESSA           TX           79764
ROBERT ROY HILLGER              P.O. BOX 612                                                                                              FORSAN           TX           79733
ROBERT UTTER                    2306 METZ PLACE                                                                                           MIDLAND          TX           79705
ROBERT WILLEN                   P.O. BOX 2283                                                                                             ALBANY           TX           76430
ROBERT WILLEN                   P.O. BOX 283                                                                                              ALBANY           TX           76430
ROBERT WILLIAM HILLGER          2130 SOUTH COUNTY ROAD                                                                                    MIDLAND          TX           79706
                                1120
ROBIN STANSELL                  2572 CRESTLINE DR.                                                                                        ABILENE          TX           79602
ROBINSON DRILLING OF TEXAS,     P.O. BOX 311                                                                                              BIG SPRING       TX           79721-0311
LTD
ROCK TOOL COMPANY               P.O. BOX 1906                                                                                             ODESSA           TX           79760
ROCKWATER ENERGY                REEF SERVICES               P.O. BOX 203187                        DEPT 18703                             DALLAS           TX           75320-3187
SOLUTIONS
RODNEY THOMAS CARSWELL          800 CAMINO MILITAR                                                                                        SANTA FE         NM           87501
ROGER PAUL SARAS                7537 GLENTURRET CIRCLE                                                                                    THE COLONY       TX           75056
ROGER POLLEX                    889 USENER                                                                                                HOUSTON          TX           77009
ROGERS CONSTRUCTION             P.O. BOX 234                                                                                              GARDEN CITY      TX           79739
ROGERS FORD                     4200 W. WALL STREET                                                                                       MIDLAND          TX           79703
ROGII, INC.                     14400 MEMORIAL DRIVE                                                                                      HOUSTON          TX           77079
ROLAND R. GILLS                 1049 FAWN HOLLOW                                                                                          BOSSIER CITY     LA           71111
ROLFSON OIL, LLC                P.O. BOX 77063                                                                                            COLUMBUS         OH           44194-7063
RONALD E. RODGERS               17866 COUNTRY CLUB DR.                                                                                    KEMP             TX           75143
RONALD F. GILLS                 361 CREEKSIDE DRIVE                                                                                       LEAGUE CITY      TX           77573
RONALD H. MAYER & MARTHA M.     TRUSTEES                    P.O. BOX 2391                                                                 ROSWELL          NM           88202-2391
MAYER
RONALD J. KLEIN TRUST           5437 PLEASANT LAKE ROAD                                                                                   WEST BLOOMFIELD MI            48322
RONALD LICHT REVOCABLE          U/A DATED 8-8-93            AND RESTATED 7-19-93                   2189 FAWNWOOD WAY                      BLOOMFIELD HILLS MI           48302-1615
TRUST
RONALD O. HOLMAN                8226 DOUGLAS AVE            SUITE 550                                                                     DALLAS           TX           75225
RONALD W HILLGER                2111 OLD AGNES RD                                                                                         WEATHERFORD      TX           76088
RONE PROPERTIES, LLC            6001 W. INDUSTRIAL AVENUE                                                                                 MIDLAND          TX           79706
ROOK CONTRACTORS                6112 N. STATE HWY 349       STE. C-6                                                                      MIDLAND          TX           79705
CORPORATION
ROOMS TO GO                     2900 N LOOP 250 W           STE A                                                                         MIDLAND          TX           79707


                                                                                           In re: MTE Holdings, LLC, et al.
                                                            Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 41 of 53
                                                                                               Creditor Matrix


            Name                           Address 1                           Address 2                      Address 3       Address 4         City             State       Zip      Country
ROUGH GROUND SERVICES           221 N. WALNUT                                                                                             PECOS             TX           79772
ROY M. BROWN AND JEANIE M.      900 LILLIE CIRCLE DR.                                                                                     FLORENCE          OR           97439
RAISER
ROY S. BATTLE                   1212 CHADWICK CROSSING                                                                                    SOUTHLAKE         TX           76092
ROY W. KELLY                    P.O. BOX 973                                                                                              STANTON           TX           79782
ROYAL T ENERGY, LLC             C/O HIGHLAND BILLING         P.O. BOX 682628                                                              FRANKLIN          TN           37068-2628
                                SERVICES, LLC
ROYALTY ASSET HOLDINGS, LP      5956 SHERRY LANE             SUITE 1221                                                                   DALLAS            TX           75225
ROYALTY CLEARINGHOUSE
PARTERSHIP
RPR I LLC                       1ST FINANCIAL TRUST & ASSET MGT COMP                               P.O. BOX 701                           ABILENE           TX           79601
RPR LLC , 1ST FINANCIAL TRUST   ASSET MGT COMP              P.O. BOX 701                                                                  ABILENE           TX           79604
&
RSC, INC.                       5450 BEE CAVES ROAD          SUITE 2B                                                                     WEST LAKE HILLS   TX           78746-5250
RST FAMILY TRUST DATED MAY      JAMES RUSSELL & TRACEY       TRUSTEES                              8938 GREEN MEADOWS LN                  LITTLETON         CO           80126
14, 2015                        HEDRICK
RTX WIRELINE, LLC               P.O. BOX 60147                                                                                            MIDLAND           TX           79711
RUDOLF & ALBINE HERMANN         REVOCABLE TRUST              265 N. BOBOLINK DRIVE                                                        BROOKFIELD        WI           53005
RUDY ORTIZ WELL SERVICE, LLC    2604 N. KNOX AVE.                                                                                         ODESSA            TX           79763

RUPERT PAUL RICKER JR.          1ST FINANCIAL TRUST & ASSET MGT COMP                               P.O. BOX 701                           ABILENE           TX           79601
TRUST
RUSCO OPERATING LLC             111 CONGRESS AVE             SUITE 900                                                                    AUSTIN            TX           78701
RUSSAW TRANSPORT, LLC           400 WEST ILLINOIS AVENUE     SUITE 100                                                                    MIDLAND           TX           79701
RUSSAW TRANSPORT, LLC           ATTN: STEVE RUSSAW           1183 WEST I20                                                                PECOS             TX           79772
RUSTY FULLER, PC                P.O. BOX 10585                                                                                            MIDLAND           TX           79702
RUSTY'S OILFIELD SERVICE CO.,   P.O. BOX 220                                                                                              STANTON           TX           79782
INC.
RUTH MAXWELL
RWDY, INC.                      950 ECHO LN.                 SUITE 200                                                                    HOUSTON           TX           77024
RWLS LLC                        ATTN: MATT GRAY              P.O. BOX 862                                                                 LEVELLAND         TX           79336
RWLS LLC , DBA RENEGADE         P.O. BOX 862                                                                                              LEVELLAND         TX           79336
SERVICES
RWTI, LLC                       P.O. BOX 1003                                                                                             GILMER            TX           75644
S & T TRUCKING                  823 SOUTH PINE STREET                                                                                     KERMIT            TX           79745
S.R. SMITH HOLDINGS, LLC        C/O STEVE SMITH              P.O. BOX 14373                                                               POLAND            OH           44514
SAGE RIDER                      12950 SOUTH KIRKWOOD         SUITE 160                                                                    STAFFORD          TX           77477
SALAZAR SERVICE & TRUCKING,     5511 STARBOARD DR.                                                                                        MIDLAND           TX           79706
CORP.
SALLY G FINCH                   2903 N HILLS DR                                                                                           ATLANTA           GA           30305-3422
SALS RELIABLE TRANSPORT         DBA:SRT SERVICES             P.O. BOX 53232                                                               MIDLAND           TX           79710
SERVICES IN
SAMEDAN ROYALTY CORP            P.O. BOX 731690                                                                                           DALLAS            TX           75397-1690
SAMUEL LESTER RATLIFF           P.O. BOX 715                                                                                              RANKIN            TX           79778
SAMUEL SIDNEY WHITE             217 WINN VALLEY DRIVE                                                                                     WIMBERLY          TX           78676
SAMUEL T. CHAMBERS              2509 PELHAM DR                                                                                            HOUSTON           TX           77019
SAN SABA RESOURCES LLC          550 W TEXAS AVENUE           SUITE 310                                                                    MIDLAND           TX           79701
SANBAR ENERGY SERVICES,LLC      3939 W. GREEN OAKS BLVD      SUITE 202                                                                    ARLINTON          TX           76016

SANDRA HUMPHRIES DEATON         210 SOUTH 8TH ST.                                                                                         GURDON            AR           71743
FRANCIS
SANDRA J. LINDER                99 FRAZIER GAP RD.                                                                                        VILONIA           AR           72173
SANDRA JEAN HARVEY              151 WINTER STREET                                                                                         BATTLE CREEK      MI           49015
SANDRA K. SCHAFER ROTH IRA      C/O WELLS FARGO BANK         420 MONTGOMERY STREET                                                        SAN FRANCISCO     CA           94104
SANFORD LAW FIRM, PLLC          C/O TESS BRADFORD            1FINANCIAL CENTRE, 650 S.             SUITE 411                              LITTLE ROCK       AR           72211
                                                             SHACKLEFORD
SANJAN, LLC, AND                DIVERSIFIED LENDERS, INC.    P.O. BOX 94208                                                               LUBBOCK           TX           79493
SANTA ELENA MINERALS IV, LP     P.O. BOX 2063                                                                                             MIDLAND           TX           79702


                                                                                           In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS                Doc 81            Filed 11/13/19         Page 42 of 53
                                                                                              Creditor Matrix


            Name                        Address 1                             Address 2                      Address 3              Address 4          City           State       Zip      Country
SANTA ELENA MINERALS, LP      P.O. BOX 2063                                                                                                      MIDLAND         TX           79702
SAPPHIRE OILFIELD SERVICES,   DBA EAGLES PRESSURE           1516 S BETTY                                                                         MONAHANS        TX           79756
LLC                           WASHER, LLC
SARAH BECKNER NORTHWOOD       132 WILLOWBEND ROAD                                                                                                ROCHESTER       NY           14618
SARAJANE STOUDENMIRE          7326 3RD AVE N                                                                                                     SAINT           FL           33710
                                                                                                                                                 PETERSBURG
SASQUATCH HOLDINGS, LLC       1401 FIELDSTONE DRIVE                                                                                              ALLEN           TX           75002
SAUTERS CORP                                                                                                                                                     TX           11111
SAWYER OILFIELD PRODUCTS      2700 VIRGIL GRAY DR.                                                                                               BROWNWOOD       TX           76801
LLC
SCANDRILL, INC.               11777 KATY FREEWAY            SUITE 470                                                                            HOUSTON         TX           77079
SCAN-X, LLC                   3001 WEST LOOP 250 NORTH      SUITE C105 #180                                                                      MIDLAND         TX           79705
SCARPULLA FAMILY TRUST        DATED 5-15-1997, I GEORGE &   ROSEMARIE SCARPULLA, TRUSTEES         14088 N. FORTHCAMP CT.                         ORO VALLEY      AZ           85755
SCHLUMBERGER ROD LIFT, INC.   PUMPING UNIT & ROD LIFT       CONSULTING DIV.                       713 MARKET DRIVE                               OKLAHOMA CITY   OK           73114
SCHLUMBERGER TECHNOLOGY       P.O. BOX 732149                                                                                                    DALLAS          TX           75373-2149
CORP.
SCIENTIFIC DRILLING           INTERNATIONAL, INC            P.O. BOX 301036                                                                      DALLAS          TX           75303-1036
SCOTT MICHAEL PANTHAKY        2102 NORTH N ST                                                                                                    MIDLAND         TX           79705
SCOTT WELCH                   5200 EAST COUNTY ROAD 140                                                                                          MIDLAND         TX           79706
SCOTTISH RITE MASONIC         1733 16TH ST NW                                                                                                    WASHINGTON      DC           20009
ELDERLY
SCOUT DOWNHOLE, INC.          TURBO DRILL INDUSTRIES, INC. 1125 BEACH AIRPORT DR                                                                 CONROE          TX           77301

SCYTHIAN, LTD.                300 N. MARIENFELD             SUITE 950                                                                            MIDLAND         TX           79701
SEAN ESCHBERGER               3336 SPRUCE LANE                                                                                                   GRAPEVINE       TX           76051
SEARLS COLLIER, LTD.          P.O. BOX 2327                                                                                                      CONROE          TX           77305
SECRETARY OF STATE            DIVISION OF CORPORATIONS      FRANCHISE TAX                         P.O. BOX 898                                   DOVER           DE           19903
SECURITIES & EXCHANGE         100 F STREET, NE                                                                                                   WASHINGTON      DC           20549
COMMISSION
SECURITIES & EXCHANGE         NEW YORK REGIONAL OFFICE  ATTN: ANDREW CALAMARI, REGIONAL           BROOKFIELD PLACE           200 VESEY STREET,   NEW YORK        NY           10281-1022
COMMISSION                                              DIRECTOR                                                             SUITE 400
SECURITY BUSINESS CAPITAL     ROADRUNNER TRUCKING       P.O. BOX 60593                                                                           MIDLAND         TX           79711
SECURITY BUSINESS CAPITAL,    FOR BENEFIT OF J&M ENERGY SERVICES, LP                              P.O. BOX 60593                                 MIDLAND         TX           79711
LLC
SELECT ENERGY SERVICES,LLC    P.O. BOX 203997                                                                                                    DALLAS          TX           75320-3997
SELMAN & ASSOCIATES           P.O. BOX 61150                                                                                                     MIDLAND         TX           79711
SEQUIA TUBING TESTERS, LLC    8235 AGORA PARKWAY, SUITE BOX 465                                                                                  SELMA           TX           78154-1335
                              111
SEYFARTH SHAW, LLP            3807 COLLECTIONS CENTER DR                                                                                         CHICAGO         IL           60693

SH PERMIAN MINERALS, LLC      1320 S. UNIVERSITY DRIVE      SUITE 500                                                                            FORT WORTH      TX           76107
SHACK ACID & CEMENT           P.O. BOX 2317                                                                                                      ALBANY          TX           76430
SERVICE, INC.
SHACK ENERGY SERVICES, INC.   P.O. BOX 2317                                                                                                      ALBANY          TX           76430
SHAE LUJAN                    1418 CIMARRON AVE                                                                                                  ODESSA          TX           79761
SHANNON D. FREE               P.O. BOX 303                                                                                                       ELECTRA         TX           76360
SHARON B. ST. CLAIR           C/O JESS ST CLAIR, GUARDIAN 9125 RIVER TRAILS BLVD.                                                                FORT WORTH      TX           76118
SHARON LEE PARR               4314 57TH ST                                                                                                       LUBBOCK         TX           79413
SHARON SCOTT SELDMEYER
SHARRON A. CHENAULT           333 WEST BRASHER ROAD         #65                                                                                  ROSWELL         NM           88203
SHARRON A. SIBLEY TRUST       SHARRON ANN SIBLEY,           P.O. BOX 59                           C/O BRADBURY & NIX                             ABILENE         TX           79604-0059
                              TRUSTEE
SHARRON ANN SIBLEY TRUST      P.O. BOX 59                                                                                                        ABILENE         TX           79604-0059
SHARYLAND UTILITIES           1031 ANDREWS HWY              #400                                                                                 MIDLAND         TX           79701
SHAW INTERESTS, INC.          310 W. WALL ST                STE 305                                                                              MIDLAND         TX           79701
SHAWN GRAMMER BIANCA          16652 SE 49TH STREET RD                                                                                            OCKLAWAHA       FL           32179
SHAWN GRAMMER BIANCA          311 VALLEY DRIVE                                                                                                   LONGWOOD        FL           32779




                                                                                          In re: MTE Holdings, LLC, et al.
                                                      Case 19-12269-CSS                    Doc 81            Filed 11/13/19   Page 43 of 53
                                                                                               Creditor Matrix


          Name                           Address 1                           Address 2                        Address 3       Address 4         City           State       Zip      Country
SHEEP MOUNTAIN, LTD           C/O H. L. BROWN OPERATING,   P.O. BOX 2237                                                                  MIDLAND         TX           79702
                              LLC
SHEILA ANNE CODY              4589 NORTH NARRAGANSETT                                                                                     CHICAGO         IL           60630
                              AVENUE
SHEILA E. CHUNN               3903 KRISTIN PLACE                                                                                          VAL RICO        FL           33596
SHEPARD R. SITES              P.O. BOX 11193                                                                                              MIDLAND         TX           79702
SHERRIE FINLEY                120 POLO PONY                                                                                               LIBERTY HILL    TX           78642
SHERRY DAY FOSTER             CROWN COLONY COUNTRY         900 CROWN COLONY DRIVE                  VILLA #8                               LUFKIN          TX           75901
                              CLUB
SHERRY LYNNE DAY
SHIRLEY FORD                  1525 BIG BEND DR.                                                                                           CEDAR PARK      TX           78613
SHORTRIP HOLDINGS/JARED
POGOLOFF
SHRIEVE CHEMICAL              1755 WOODSTEAD COURT                                                                                        THE WOODLANDS   TX           77380
PRODUCTS,INC
SHRINERS HOSPITAL FOR         P.O. BOX 226270                                                                                             DALLAS          TX           75222-6270
CHILDREN
SIDEWINDER DRILLING LLC       952 ECHO LANE               SUITE 460                                                                       HOUSTON         TX           77024
SIDNEY MALLARD REVOCABLE      1ST FINANCIAL TRUST & ASSET INDEPENDENT EXECUTOR                     P.O. BOX 701                           ABILENE         TX           79601
TRUST
SIERRA HAMILTON ,             900 THREADNEEDLE             SUITE 150                                                                      HOUSTON         TX           77079
ENGINEERING
SIERRA ROYALTY, LTD.          P.O. BOX 701225                                                                                             SAN ANTONIO     TX           78270
SILVER SPUR RESOURCES LLC     P.O. BOX 92761                                                                                              SOUTHLAKE       TX           76092
SILVER ZONE, INC.             ATTN: JUAN                   2840 SOUTH HIGHWAY, SUITE 385                                                  ODESSA          TX           79766
SILVERBACK TRANSPORT          400 W. ILLINOIS              STE.100                                                                        MIDLAND         TX           79701
SIMER SERVICES INC.           DBA TEXAS ANCHOR             9905 CENTERPOINT RD.                                                           BIG SPRING      TX           79720
SITEPRO AUTOMATION            SOLUTIONS                    9502 HWY 87                                                                    LUBBOCK         TX           79423
SOFTWARE
SIX HOUSE DESIGN              P.O. BOX 9293                                                                                               BOISE           ID           83707
SK SUPPLY CO.                 1606 S. REGAL AVE                                                                                           ODESSA          TX           79763
SLEDGEHAMMER, LLC             1207 SMITH ST.                                                                                              ODESSA          TX           79763
SLINGSHOT SUPPLY              DEPT 3448                    P.O. BOX 123448                                                                DALLAS          TX           75312-3448
INCORPORATED
SLOAN BLAIR                   5517 BYERS AVENUE                                                                                           FT. WORTH       TX           76107
SLOAN-KETTERING INSTITUTE     FOR CANCER RESEARCH          1275 YORK AVE.                                                                 NEW YORK        NY           10021-6007
SLYDER ENERGY                 P.O. BOX 467                                                                                                CHANDLER        OK           74834
SOLUTIONS,LLC
SMITH INTERNATIONAL, INC.     SCHLUMBERGER COMPANY         P.O. BOX 732136                                                                DALLAS          TX           75373-2136
SNIPER DENT COMPANY           1704 RIVIERA LANE                                                                                           OKLAHOMA CITY   OK           73128
SNYPER ENERGY SERVICES, INC   12331 W YUKON                                                                                               ODESSA          TX           79764

SOLID LIBERTY RENTAL          P.O. BOX 1016                                                                                               EL CAMPO        TX           77437
SERVICES, LLC
SOLID LIBERTY SERVICES, LLC   P.O. BOX 1016                                                                                               EL CAMPO        TX           77437
SONIC CONNECTORS LTD          P.O. BOX 60825                                                                                              MIDLAND         TX           79711-0825
SONOMA RUDMAN SIBLEY,         1700 PACIFIC AVE.            STE 4700                                                                       DALLAS          TX           75201-7325
DECEASED
SONS OF MUNDY                 1111 AINSLEE ST                                                                                             MIDLAND         TX           79701
SOOL, LTD                     P.O. BOX 2237                                                                                               MIDLAND         TX           79702
SOOL, LTD.                    300 WEST LOUISIANA                                                                                          MIDLAND         TX           79701
SOURCING ROCK, LLC            1304 SILVERTON DR.                                                                                          MIDLAND         TX           79705
SOUTHERN CONNECTIONS &        1300 W COUNTY RD 114         BLDG B                                                                         MIDLAND         TX           79706
SERVICES LLC
SOUTHWELL & ASSOCIATES, LLC   730 17TH ST.                 STE. 370                                                                       DENVER          CO           80202

SOUTHWEST FEDERATED           8214 WESTCHESTER DR.         SUITE 635                                                                      DALLAS          TX           75225
NORTH TEXAS, LP


                                                                                           In re: MTE Holdings, LLC, et al.
                                                            Case 19-12269-CSS             Doc 81             Filed 11/13/19   Page 44 of 53
                                                                                               Creditor Matrix


            Name                          Address 1                           Address 2                       Address 3       Address 4            City        State       Zip          Country
SOUTHWEST OILFIELD              P.O. BOX 732963                                                                                           DALLAS          TX           75373-2963
PRODUCTS, INC
SPECIAL CORE ANALYSIS LABS,     SCAL, INC.                   P.O. BOX 9730                                                                MIDLAND         TX           79708
INC.
SPINDLETOP EXPLORATION CO.      P.O. BOX 25163                                                                                            DALLAS          TX           75225
INC.
SPORT ENVIRONMENTAL             502 NORTH BIG SPRING ST.                                                                                  MIDLAND         TX           79701
SERVICES PLLC
SPRABERRY PRODUCTION            500 W TEXAS AVE              SUITE 900                                                                    MIDLAND         TX           79701
SERVICES
SPUR SERVICES & RENTAL, LLC     P.O. BOX 2065                                                                                             HOBBS           NM           88241
ST. EDWARDS UNIVERSITY          VICE PRESIDENT OF FINANCE & 3001 SOUTH CONGRESS AVENUE                                                    AUSTIN          TX           78704
                                ADMIN.
ST. EDWARDS UNIVERSITY          3001 CONGRESS AVENUE                                                                                      AUSTIN          TX           78704
TREASURERS
STACEY L. HAINES                16856 N PECAN                                                                                             GARDENDALE      TX           79758
STACY SHELBURNE                 2630 MIRAGE LANE                                                                                          ROCKWALL        TX           75087
STAG MINERALS, LLC              4455 CAMP BOWIE BLVD         SUITE 114-74                                                                 FORT WORTH      TX           76107
STAGE 3 SEPERATION,LLC          2000 SILBER RD                                                                                            HOUSTON         TX           77055
STALLION OILFIELD HOLDINGS,     950 CORBINDALE               SUITE 400                                                                    HOUSTON         TX           77024
INC.
STANDARD TUBULAR SERVICES,      6415 WINDWOOD DRIVE                                                                                       COLLEGE STATION TX           77845
INC.
STANLEY BOYNTON DANE            7415 FOOTHILLS BLVD                                                                                       TUJUNGA         CA           91042
STANLEY D. RUNYON               9939 LOCH STRATFORD PT.                                                                                   LAKELAND        TN           38002
STANLEY FORD                    P.O. BOX 279                                                                                              ANDREWS         TX           79714
STAR PROPERTY MANAGEMENT        & CONSTRUCTION, INC.         110 W. LOUISIANA                      SUITE 100                              MIDLAND         TX           79701
STATE COMPTROLLER               TEXAS COMPTROLLER OF         P.O. BOX 149358                                                              AUSTIN          TX           78714-9358
                                PUBLIC ACCTS
STEALTH OILWELL SERVICES        P.O. BOX 69063                                                                                            ODESSA          TX           79769
STEALTH PUMP & SUPPLY, LLC      7680 W. 42ND STREET                                                                                       ODESSA          TX           79764
STEFAN YOUNG                    10876 WEST 55TH LANE                                                                                      ARVADA          CO           80002
STELLAR AUTOMATION, INC.        P.O. BOX 910                                                                                              BIG SPRING      TX           79721
STELLAR DRILLING FLUIDS, LLC    P.O. BOX 22328                                                                                            HOUSTON         TX           77227-2328
STEP ENERGY SERVICES (USA)      ATTN: JAMES MINAHAN III      480 WILDWOOD FOREST DRIVE SUITE 300                                          SPRING          TX           77380
LTD.
STEP ENERGY SERVICES (USA)      LOCK BOX, P.O. BOX 205992                                                                                 DALLAS          TX           75320-5992
LTD.
STEPHEN J FLANAGAN              TRUSTEE OF THE MIDLAND       P.O. BOX 12208                                                               DALLAS          TX           75225
                                TRUST
STEPHEN MEYERS                  2006 FORD ST.                                                                                             AUSTIN          TX           78704
STEPHEN NEIL PREWIT             1016 RUSSELL ST                                                                                           SCOTT CITY      KS           67871
STEPHEN SLAUGHTER
STEVE KENT TRUCKING NM, LLC     P.O. BOX 1890                                                                                             HOBBS           NM           88241
STEVE KENT TRUCKING             BASIN LLC                    P.O. BOX 1028                                                                JOAQUIN         TX           75954
PERMIAN
STEVEN C BARNES                 P.O. BOX 505                                                                                              MIDLAND         TX           79702
STEVEN EARL GLENN               4218 BASS PRO DRIVE          APT. 302                                                                     GARLAND         TX           75043
STEVEN R. SMITH                 58 WINDER GROVE SOUTH                                                                                     LONDON          ON           N6K 4K6      CANADA
STOCKTON OIL AND GAS            P.O. BOX 310                                                                                              FORT STOCKTON   TX           79735
SERVICES, LLC
STONE HILL EXPLORATION AND      PRODUCTION, LLC              1320 S UNIVERSITY DRIVE               SUITE 500                              FORT WORTH      TX           76107
STONE OILFIELD SERVICES, INC.   P.O. BOX 10                                                                                               LOVINGTON       NM           88260

STONE RENTALS II                P.O. BOX 130                                                                                              LOVINGTON       NM           88260
STR INVESTMENTS, LLC            P.O. BOX 560747                                                                                           DALLAS          TX           75356-0747
STRIBLING FUNDING CORP.         40 W. TWOHIG AVENUE, SUITE                                                                                SAN ANGELO      TX           76903
                                412


                                                                                           In re: MTE Holdings, LLC, et al.
                                                         Case 19-12269-CSS               Doc 81            Filed 11/13/19   Page 45 of 53
                                                                                             Creditor Matrix


             Name                      Address 1                             Address 2                      Address 3       Address 4         City            State       Zip      Country
STRIDE OILFIELD SERVICES,LLC DEPT #101                     P.O. BOX 4528                                                                HOUSTON          TX           77210-4528

STUBBEMAN, MCRAE, SEALY,       & BROWDER, INC.             550 W. TEXAS AVE                      SUITE 800                              MIDLAND          TX           79701
LAUGHLIN
SUBTERRA RESOURCES LLC         P.O. BOX 59305                                                                                           BIRMINGHAM       AL           35259
SUE H. MAY, INDIVIDUALLY AND   INDEPENDENT EXECUTRIX OF    L. MAY ESTATE                         P.O. BOX 250                           DALLAS           TX           75320-7050
AS                             THE JOHN
SUMMIT CASING SERVICES LLC     P.O. BOX 207050                                                                                          DALLAS           TX           75320-7050
SUMMIT ESP, LLC                P.O. BOX 9616                                                                                            TULSA            OK           74157
SUMMIT PIPE RENTALS, LLC       P.O. BOX 4024                                                                                            ODESSA           TX           79760
SUN DRILLING PRODUCTS, CORP    ATTN: AR DEPARTMENT         503 MAIN STREET                                                              BELLE CHASSE     LA           70037

SUNBELT RENTALS, INDUSTRIAL    SERVICES, LLC               P.O. BOX 409211                                                              ATLANTA          GA           30384-9211
SUNOCO LOGISTICS               1004 N BIG SPRING ST                                                                                     MIDLAND          TX           79701
SUNSET WELL SERVICE, INC.      P.O. BOX 7139                                                                                            MIDLAND          TX           79708
SUPREME PRODUCTION             P.O. BOX 4746                                                                                            CORPUS CHRISTI   TX           78469
SERVICES, INC.
SURF FRAC WELLHEAD             P.O. BOX 15110                                                                                           ODESSA           TX           79768
SURFACE DRILLING OF TEXAS      P.O. BOX 53240                                                                                           MIDLAND          TX           79710
SURO INVESTMENTS, LLC          P.O. BOX 2370                                                                                            FARMINGTON       NM           87499
SUSAN B. ROGERS MIRIKE         5129 SADDLE RIDGE TRAIL                                                                                  SAN ANGELO       TX           76904
SUSAN COLLIER                  10 PROMENADE ST N                                                                                        MONTGOMERY       TX           77356
SUSAN ELIZABETH DANIEL         3801 COUNTY RD 1120                                                                                      CELBURNE         TX           76033
HAMMOND
SUSAN HENDERSON ASKINS         904 PINE COURT                                                                                           MIDLAND          TX           79705
SUSAN KAY FINLEY ELLIS         1102 HUNTERS CREEK                                                                                       CEDAR PARK       TX           78613
SUSAN M. MYERS                 119 CRYSTAL SPRINGS DRIVE                                                                                GEORGETOWN       TX           78633
SUSAN YOUNG PHILLIPS
SUZANNE W. NOWELL              1141 PAPER FIG COURT                                                                                     SANIBEL          FL           33957
SV RELIABLE TRANSPORT, LLC     2963 SCR W                                                                                               ODESSA           TX           79766
SW BANK FACTORING              DBA TITAN FACTORING         C/O AFD TRANSPORT, CORP               P.O. BOX 14367                         ODESSA           TX           79768
SWECO                          DEPT 3411                   P.O. BOX 123411                                                              DALLAS           TX           75312-3411
SWIFTWATER - A TETRA           TETRA TECHNOLOGIES          SWIFTWATER ENERGY                     P.O. BOX 841185                        DALLAS           TX           75284-1185
COMPANY
SYCAMORE ENERGY PARTNERS,      2714 BEE CAVE ROAD          SUITE 202                                                                    AUSTIN           TX           78746
LP
SYLVIA RAMONA BUSH             6839 SPRING LARK                                                                                         SAN ANTONIO      TX           78249
SYNERGY CLEANING               P.O. BOX 70040                                                                                           ODESSA           TX           79769
SOLUTIONS, LLC
SYNERGY RENTALS, LLC           P.O. BOX 2212                                                                                            LUBBOCK          TX           79408
SYSTEM SOLUTIONS               P.O. BOX 50307                                                                                           MIDLAND          TX           79710
T YORKMAN TRUCKING, LLC        DBA: ROADRUNNER TRUCKING P.O. BOX 404322                                                                 ATLANTA          GA           30384-4322
T. AND W. ROY LP               9 SUNSET TRAIL                                                                                           ROCKWALL         TX           75032
T3 VOICENET                    P.O. BOX 4363                                                                                            MIDLAND          TX           79704
TABOR MINERALS, LP             P.O. BOX 6366                                                                                            AUSTIN           TX           78762
TALL CITY WELL SERVICE CO.,    P.O. BOX 4636                                                                                            MIDLAND          TX           79704
LP
TAMMY LYNN FREETAGE ALVIN      109 BLACKBERRY COURT                                                                                     MIDLAND          TX           79705
TANGO LIMA, LLC                P.O. BOX 471184                                                                                          FORT WORTH       TX           76147
TANK PARTNERS PERMIAN, LLC     TANK PARTNERS EQUIPMENT     COMPANY, INC.                         P.O. BOX 734275                        DALLAS           TX           75273-4275
TANKLOGIX, LLC                 1082 W. 1700 N.                                                                                          LOGAN            UT           84321
TANMAR RENTALS LLC             ATT: MAURICE                711 SOUTH CHESTNUT                                                           TOMBALL          TX           77375
TANMAR RENTALS LLC             P.O. BOX 1376                                                                                            EUNICE           LA           70535
TARGETED GEOVISION, LLC        P.O. BOX #701594                                                                                         HOUSTON          TX           77270
TARPON PIPE & SUPPLY LP        P.O. BOX 52002                                                                                           MIDLAND          TX           79710
TAUREX DRILL BITS, LLC         P.O. BOX 679388                                                                                          DALLAS           TX           75267-9388
T'AWNA L. FREE                 2357 N. EARL RUDDER WAY                                                                                  BRYAN            TX           77803
TAYLOR BARR MOLITIERNO         P.O. BOX 78694                                                                                           CHARLOTTE        NC           28271


                                                                                         In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS                  Doc 81            Filed 11/13/19   Page 46 of 53
                                                                                               Creditor Matrix


             Name                          Address 1                           Address 2                      Address 3       Address 4          City          State       Zip      Country
TAYLOR HOT SHOTS LLC            9044 NOLAN RYAN DR                                                                                        MIDLAND         TX           79706
TC LAND, LTD.                   800 CENTRAL PARKWAY EAST     SUITE 100                                                                    PLANO           TX           75074
TCI - CASING SPECIALTIES, LLC   12456 SNOW ROAD                                                                                           BAKERSFIELD     CA           93314
TCS TRUST                       W. R. (TREY) SIBLEY, III,    4851 LBJ FREEWAY                      SUITE 210                              DALLAS          TX           75224
                                TRUSTEE
TD MINERALS LLC                 8111 WESTCHESTER             SUITE 900                                                                    DALLAS          TX           75225
TD WATERHOUSE BANK FBO          ATTN. JIM FARRELL            120 A1A NORTH, SUITE 102                                                     PONTE VEDRA     FL           32082
JAMES CAHILL                                                                                                                              BEACH
TDC FRAC SOLUTIONS &            P.O. BOX 2132                                                                                             ODESSA          TX           79760
EQUIPMENT INC
TDJ OILFIELD SERVICE, LLC       P.O. BOX 370                                                                                              PRINCETON       LA           71067
TECH MANAGEMENT, LLC            OILFIELD CHEMICALS &         P.O. BOX 51168                                                               MIDLAND         TX           79710
                                SERVICES
TED CHESTER BERRIDGE
TEJAS HOT SHOT SERVICE          & TRANSPORTATION, LLC        2396 E. PEARL STREET                                                         ODESSA          TX           79761
TELEDRIFT COMPANY, A FLOTEK     P.O. BOX 677496                                                                                           DALLAS          TX           75267-7496
COMPANY
TENAIRS PARTNERS, LTD           1222 NORTH LOOP 12                                                                                        IRVING          TX           75060
TENARIS GLOBAL SERVICES USA     P.O. BOX 2962                                                                                             CAROL STREAM    IL           60132-2962
CORPOR
TERA BURKHOLDER KING            P.O. BOX 7140                                                                                             MIDLAND         TX           79708
TERESA BELL                     16498 E. SUNRISE LOOP                                                                                     CHRISTOVAL      TX           76935
TERI LYNN MOORE                 517 COUNTY ROAD 176                                                                                       OVALO           TX           79541
TERRA GUIDANCE, LLC             67 W. FLOYD AVE.             SUITE #105                                                                   ENGLEWOOD       CO           80110
TERRA OILFIELD SERVICES, LLC    15487 PIN OAK DRIVE                                                                                       CONROE          TX           77384
TERRA OILFIELD SOLUTIONS,       DEPARTMENT 127               P.O. BOX 4458                                                                HOUSTON         TX           77210-4458
LLC
TERRY LEE HAINES BLOVSKY        10 JACKSON PARKWAY                                                                                        LAKE PLACID     FL           33852-6508
TERRY RAY DAVIS                 452 THOMPSON ROAD                                                                                         TROY            TX           76579
TERVITA, LLC                    10613 W. SAM HOUSTON                                                                                      HOUSTON         TX           77064
                                PARKWAY
TESTAMENTARY                    12 LYTLE PLACE                                                                                            ABILENE         TX           79602
TESTAMENTARY TRUST              WILLIAM D. YOUNG
CREATED U/W/O
TETRA PRODUCTION TESTING        P.O. BOX 841185                                                                                           DALLAS          TX           75284-1185
HOLDING L
TEXAS ENERGY LOBBY, LLC         P.O. BOX 5100                                                                                             AUSTIN          TX           78763
TEXAS EQUIPMENT RENTAL, LLC     P.O. BOX 38                                                                                               JUSTIN          TX           76247
TEXAS FUELING SERVICES, INC.    ATTN: JOHN MORAN             4220 LAURA KOPPE ROAD                                                        HOUSTON         TX           77016
TEXAS FUELING SERVICES, INC.    P.O. BOX 207466                                                                                           DALLAS          TX           75320-7466
TEXAS GENERAL LAND OFFICE       ENERGY RESOURCES /           P.O. BOX 12873                                                               AUSTIN          TX           78711-2873
                                MINERAL LEASING
TEXAS PETROLEUM LAND            4111 LAGUNA CIRCLE                                                                                        MISSOURI CITY   TX           77459
MANAGEMENT LLC
TEXAS SECRETARY OF STATE        P.O. BOX 13375                                                                                            AUSTIN          TX           78711-3375
TEXAS-NEW MEXICO POWER          ATTN: KAREN CORRIGAN         2641 E. HIGHWAY 6                                                            ALVIN           TX           77511
TFH LTD, CO.                    P.O. BOX 132                                                                                              HOBBS           NM           88241
THE ALLAR COMPANY               P.O. BOX 1567                                                                                             GRAHAM          TX           76450
THE BANK OF NEW YORK            CORPORATE TRUST              P.O. BOX 392013                                                              PITTSBURGH      PA           15251-9013
MELLON                          DEPARTMENT
THE CAVINS CORPORATION          1800 BERING DRIVE, STE 825                                                                                HOUSTON         TX           77057
THE DEPARTMENT OF               7100 REGENCY SQUARE BLVD     STE 190                                                                      HOUSTON         TX           77036
HOMELAND SECURI
THE ESTATE OF ALLEN W.          5 VIRGINIA AVE.                                                                                           RICHMOND        VA           23226
HAMIL, JR.
THE ESTATE OF BEN M.            304 BUENA VISTA AVE.                                                                                      VICTORIA        TX           77901
ANDERSON
THE GAS & OIL COMPANY, LLC      209A SOUTH SECOND ST.                                                                                     APOLLO          PA           15613


                                                                                           In re: MTE Holdings, LLC, et al.
                                                            Case 19-12269-CSS           Doc 81            Filed 11/13/19   Page 47 of 53
                                                                                            Creditor Matrix


            Name                          Address 1                        Address 2                    Address 3          Address 4         City             State       Zip      Country
THE HAMILL FOUNDATION          ATTN: CHARLIE H. READ         1160 DAIRY ASHFORD RD              SUITE 250                              HOUSTON           TX           77079
THE JEROME FAMILY TRUST        DAVID H. JEROME, TRUSTEE      412 W. BROOKDALE PLACE                                                    FULLERTON         CA           92832
THE JOSEPH & JEREMY HOGAN      4314 57TH ST                                                                                            LUBBOCK           TX           79413
TRUST
THE MARGARET S. MURPHY         TEXAS STATE BANK              SAN ANGELO, TRUSTEE                P.O. BOX 3782                          SAN ANGELO        TX           76902
TRUST
THE MCRAE MGMT TRUST,          IND. EXEC: H. & M.A. MCRAE    T. SLOAN                           P.O. BOX 5401                          MIDLAND           TX           79704
BETTY H MCRAE
THE REED HUMPHREYS LP          ATTENTION: JH                 21031 VENTURA BLVD                 #750                                   WOODLAND HILLS    CA           91364
THE REED HUMPHREYS LP          C/O DON MESS                  74998 COUNTRY CLUB DRIVE           SUITE 220- #55                         PALM DESERT       CA           92260
THE RUBIN-LADD FOUNDATION      P.O. BOX 63                                                                                             GEORGETOWN        CT           06289
THE SHED INC                   113 1/2 E PALACE AVE                                                                                    SANTA FE          NM           87501
THE SUBSURFACE LIBRARY         P.O. BOX 2538                                                                                           MIDLAND           TX           79702
THE WARD FAMILY FOUNDATION     5949 SHERRY LANE              SUITE 1735                                                                DALLAS            TX           75225

THE WELLBOSS COMPANY,LLC       12450 CUTTEN ROAD                                                                                       HOUSTON           TX           77066
THE WHITE WING MINERAL         P.O. BOX 2148                                                                                           KERRVILLE         TX           78209
TRUST
THE WILLIAM K. WARREN          P.O. BOX 470372                                                                                         TULSA             OK           74147-0372
FOUNDATION
THERESA CYPHERS                801 MOGFORD ST                                                                                          MIDLAND           TX           79701
THERMAL SCIENTIFIC, INC.       2700 WESTOVER DRIVE                                                                                     ODESSA            TX           79764
THETA OILFIELD SERVICES, INC   5201 CALIFORNIA AVE           SUITE 370                                                                 BAKERSFIELD       CA           93309
THI WATER WELL                 P.O. BOX 1419                                                                                           BOWIE             TX           76230
THOMAS BRITTON HARRIS, IV      1102 BLACKACRE TRAIL                                                                                    WEST LAKE HILLS   TX           78746
THOMAS F. HEDRICK              10709 MARSHA LANE                                                                                       HOUSTON           TX           77024
THOMAS L. FREE FAMILY TRUST    U/A BANK OF AMERICA, N.A.,    P.O. BOX 840738                                                           DALLAS            TX           75284-0738
                               TRUSTEE
THOMAS L. MCCRAY               RESERVOIR ENGINEERING         5812 DEVLIN PLACE                                                         MIDLAND           TX           79707
                               CONSULTING
THOMAS R BARR                  4117 BRIDGEWOOD LN.                                                                                     CHARLOTTE         NC           28226
THOMAS TOOLS                   P.O. BOX 732868                                                                                         DALLAS            TX           75373-2868
THOMPSON & KNIGHT              1722 ROUTH STREET             SUITE 1500                                                                DALLAS            TX           75201-2533
THORNTON T CARSWELL                                                                                                                                      TX           11111
THRU TUBING SOLUTIONS, INC     RPC, INC.                     P.O. BOX 203379                                                           DALLAS            TX           75320
TIDAL LOGISTICS,INC.           P.O. BOX 207835                                                                                         DALLAS            TX           75320-7835
TIDWELL INVESTMENTS, INC.      P.O. BOX 578                                                                                            ALBANY            TX           76430
TIER ONE ENERGY, LLP           ATTN: MARCO GALVAN            P.O. BOX 1660                                                             PECOS             TX           79772
TIGER INDUSTRIAL RENTALS       CRENSHAW ENTERPRISES,         P.O. BOX 733253                                                           DALLAS            TX           75373
                               LLC.
TILLMAN & ASSOCIATES           P.O. BOX 1195                                                                                           MUSTANG           OK           73064
CONSULTING LLC
TIMOTHY M. SNELLBACHER         2086 HALFMOON BLUFF                                                                                     KENNESAW          GA           30152
TIMOTHY SCOTT & DARCIE JO      3007 81ST STREET                                                                                        LUBBOCK           TX           79423
KNIGHT
TISHA ANN BURNETT              P.O. BOX 2134                                                                                           BIG SPRING        TX           79721-2134
TITAN PETROSERVICES, LLC       P.O. BOX 52968                                                                                          MIDLAND           TX           79710
TJB GROUNDGAME TRUCKING        AND OILFIELD SERVICES         P.O. BOX 2132                                                             ODESSA            TX           79762
TM GAS MEASUREMENT, INC.       P.O. BOX 1158                                                                                           MONAHANS          TX           79756
TODD ALLEY                     1334 BELAIRE                                                                                            RICHARDSON        TX           75080
TODD M. RAY                    16112 MONROE STREET                                                                                     OMAHA             NE           68135
TOM-E-LEE INDUSTRIES, LLC      P.O. BOX 53367                                                                                          MIDLAND           TX           79710
TOMMY N. PERRY                 2470 BAY VISTA DRIVE                                                                                    BILOXI            MS           39531
TOMMY VASCOCU                  P.O. BOX 5133                                                                                           AUSTIN            TX           78763
TOMMY VASCOCU                  P.O. BOX 5311                                                                                           AUSTIN            TX           78763
TONI TRIMBLE BIGGS             553 COVINGTON CIRCLE                                                                                    CARTHAGE          TX           75633
TONY M PRESLAR                 P.O. BOX 7139                                                                                           ABILENE           TX           79608-7139
TONYA BENNITT                  P.O. BOX 1300                                                                                           GRAHAM            TX           76450


                                                                                        In re: MTE Holdings, LLC, et al.
                                                            Case 19-12269-CSS              Doc 81            Filed 11/13/19   Page 48 of 53
                                                                                               Creditor Matrix


            Name                        Address 1                              Address 2                      Address 3       Address 4            City        State       Zip      Country
TOOTSIE ELISE YOUNG
TOP ROUSTABOUT & BACKHOE      P.O. BOX 10845                                                                                              MIDLAND         TX           79702
SERVICES
TOPOGRAPHIC LAND              1400 EVERMAN PARKWAY           SUITE 146                                                                    FORT WORTH      TX           76140
SURVEYORS
TORNADO PRODUCTION            P.O. BOX 734455                                                                                             DALLAS          TX           75373-4455
SERVICES,LLC
TORRENCE NICKSIC              3701 TURTLE CREEK              SUITE 10-J                                                                   DALLAS          TX           75219
TOTAL ENERGY SOLUTIONS, LLC   1338 PETROLEUM PARKWAY                                                                                      BROUSSARD       LA           70518
TOTAL RIG TOOLS,              32403 TAMINA RD                SUITE 1                                                                      MAGNOLIA        TX           77354
CORPORATION
TOTAL ROD CONCEPTS, INC.      8505 TECHNOLOGY FOREST         SUITE 702                                                                    THE WOODLANDS   TX           77381
                              PLACE
TOTEM OIL SERVICES, INC       14175 HIGHWAY 1                                                                                             VIVIAN          LA           71082
TOWER ROCK ROYALTIES TWO,     P.O. BOX 5746                                                                                               AUSTIN          TX           78763
LP
TOYAH FARMS, LP               106 CARMEN COURT                                                                                            LA GRANGE       TX           78945
TRACERCO USA                  ATTN: JOHNSON MATTHEY          88724 EXPEDITE WAY                                                           CHICAGO         IL           60695-1700
TRACY ANDERSON MODISETTE      FKA TRACY MARLENE              24602 IKES LANE                                                              HUFFMAN         TX           77336
                              ANDERSON
TRANS PECOS INSTRUMENT &      P.O. DRAWER 71                                                                                              PECOS           TX           79772
SUPPLY, IN
TRANS PECOS WELL LOGGING,     24306 E. ROAD 1030                                                                                          WEATHERFORD     OK           73096
INC
TRANSCEND DRILLING            P.O. BOX 1323                                                                                               LEVELLAND       TX           79336
COMPANY, INC.
TRANSONTINENTAL GROUP         7324 SOUTHWEST FWY                                                                                          HOUSTON         TX           77074
TRANS-TEX CEMENTING           P.O. BOX 50455                                                                                              MIDLAND         TX           79710
SERVICES, LLC
TRANS-TEX DYNO SERVICES,      P.O. BOX 50455                                                                                              MIDLAND         TX           79710
LLC
TRAVELERS CL REMITTANCE       PARKER GROUP INSURANCE         P.O. BOX 660317                                                              DALLAS          TX           75266
CENTER
TREY BRIGHT                   A/K/A RALPH IRA BRIGHT, III    2137 FOUNTAIN SQUARE DR.                                                     FORT WORTH      TX           76107
T-REY PROPERTIES, INC.        P.O. BOX 2476                                                                                               MIDLAND         TX           79702
TRI R SERVICES, INC           10201 W STATE HWY 158                                                                                       MIDLAND         TX           79707
TRICIA DEANN BOREN            7709 BRANDON ROAD                                                                                           BIG SPRING      TX           79720
TRIDENT RESPONSE GROUP LLC    1319 CRAMPTON ST.                                                                                           DALLAS          TX           75207
TRIDENT STEEL CORPORATION     P.O. BOX 798279                                                                                             SAINT LOUIS     MO           63179-8000
TRI-MONT IRREVOCABLE TRUST    ELTON M.                       P.O. BOX 1300                                                                GRAHAM          TX           76450
                              MONTGOMERY,TRUSTEE
TRIO EQUIP. RENTAL &          P.O. BOX 2208                                                                                               ALICE           TX           78333-2208
SERVICES
TRIPLEPLAY TRANSPORT, LLC     9545 US HWY 385                                                                                             ODESSA          TX           79766
TRISTATE OILFIELD SERVICES,   3710 TRADEWIND STREET                                                                                       AMARILLO        TX           79118
LLC
TRJ INVESTMENTS, LLC          P.O. BOX 1003                                                                                               GILMER          TX           75644
TRM LLC.                      P.O. BOX 730                                                                                                HOBBS           NM           88241
TROJAN TUBULAR SERVICES,      P.O. BOX 8186                                                                                               LONGVIEW        TX           75607
LLC
TROTH 11 LLC - C/O 1ST        TRUST & ASSET MANAGEMENT AGENT                                       P.O. BOX 701                           ABILENE         TX           79604
FINANCIAL                     CO., N.A.,
TRUST CO OF TEXAS
TRYTON TOOLS USA, INC.        P.O. BOX 722833                                                                                             NORMAN          OK           73070
TTCZ PROPERTIES, LLC          ATTN: WELLS FARGO BANK,        P.O. BOX 40909                                                               AUSTIN          TX           78704
                              AGENT
TUBULAR SOLUTIONS, INC.       12335 KINGSRIDE LN #250                                                                                     HOUSTON         TX           77024




                                                                                           In re: MTE Holdings, LLC, et al.
                                                     Case 19-12269-CSS                 Doc 81            Filed 11/13/19   Page 49 of 53
                                                                                           Creditor Matrix


           Name                        Address 1                      Address 2                           Address 3       Address 4            City         State       Zip      Country
TUCKER ENERGY SERVICES, INC 12607 E 60TH STREET S                                                                                     TULSA            OK           74146

TURN RIGHT TOOLS, LLC        P.O. BOX 4122                                                                                            HOUSTON          TX           79708
TWISTED K SERVICES, INC.     P.O. BOX 8948                                                                                            MIDLAND          TX           79708
TXU ENERGY                   P.O. BOX 650638                                                                                          DALLAS           TX           75265-0638
TYE WAYNE GILLS              P.O. BOX 1032                                                                                            MURFREESBORO     AR           71958
TYLER PATRICK                8615 SARATOGA DRIVE                                                                                      SUGAR LAND       TX           77479
U.S. ATTORNEY'S OFFICE FOR   HERCULES BUILDING          1313 N MARKET STREET                                                          WILMINGTON       DE           19801
THE DISTRICT OF DELAWARE
ULTERRA DRILLING             P.O. BOX 733586                                                                                          DALLAS           TX           75373-3586
TECHNOLOGIES, L.P.
ULTRA BLEND SOLUTIONS        SERVICES, UBS              ATTN: ACCOUNTING                       9054 SUNDANCE LN                       SHREVEPORT       LA           71106
OILFIELD
ULTRAFAB , NALCO COMPANY,    P.O. BOX 730005                                                                                          DALLAS           TX           75373-0005
LLC
UMC AUTOMATION               P.O. BOX 51691                                                                                           MIDLAND          TX           79710
UMD SOLUTIONS,LLC            P.O. BOX 218608                                                                                          HOUSTON          TX           77218
UNDERDOG WIRELINE, LLC       9909 WCR 57                                                                                              MIDLAND          TX           79707
UNITED CASING INCORPORATED   8505 TECHNOLOGY FOREST     SUITE 401                                                                     THE WOODLANDS    TX           77381
                             PLACE
UNITED PRODUCTION &          CONSTRUCTION SERVICES      4110 COTEAU RD, HWY 88                                                        NEW IBERIA       LA           70560
UNITED STATES TREASURY       INTERNAL REVENUE SERVICE                                                                                 KANSAS CITY      MO           64999-0202
UNITED STRING UP COMPANY,    P.O. BOX 52354                                                                                           MIDLAND          TX           79710
LLC
UNITED VISION LOGISTICS      4021 AMBASS. CAFFERY PKWY SUITE 220, BLDG A                                                              LAFAYETTE        LA           70503

US BANK, LV15001 N/P        P.O. BOX 790179                                                                                           ST. LOUIS        MO           63179-0179
US POSTAL SERVICE           100 E. WALL ST.                                                                                           MIDLAND          TX           79701-9998
USC THOMPSON, INC.          C/O LIQUID CAPITAL EXCHANGE P.O. BOX 168688                                                               IRVING           TX           75016
                            INC
USE WINCH N WRENCH , DO NOT P.O. BOX 12787                                                                                            ODESSA           TX           79768
USE
VALENCE DRILLING FLUIDS,LLC P.O. BOX 7174                                                                                             EDMOND           OK           73083
VALERIE CHAPMAN             17218 COLONY CREEK DR.                                                                                    SPRING           TX           77379
VAN A WILSON                                                                                                                                           TX           11111
VAN T TETTLETON             P.O. BOX 10909                                                                                            MIDLAND          TX           79702
VANGUARD MODULAR BUILDING SYSTEMS LLC                   P.O. BOX 827527                                                               PHILADELPHIA     PA           19182-7527
VANZANDT CONTROLS, LLC      P.O. BOX 944                                                                                              ODESSA           TX           79760
VAUGHN ENERGY SERVICES,     P.O. BOX 2288                                                                                             KELLER           TX           76244
INC.
VECTOR SEISMIC DATA         ATTN: MD417                 1200 ENCLAVE PARKWAY                                                          HOUSTON          TX           77077
PROCESSING
VENITA F. DAY
VERDE BIOCHEM,LLC , DRAWER P.O. BOX 5935                                                                                              TROY             MI           48007-5935
#2434
VERITAS ENERGY HOLDINGS,    P.O. BOX 10850                                                                                            FORT WORTH       TX           76114
LLC
VERSATILE OIL TOOLS, LLC    P.O. BOX 80310                                                                                            MIDLAND          TX           79708
VES SURVEY INTERNATIONAL    GYRO TECHNOLOGIES, INC.     P.O. BOX 261021                                                               CORPUS CHRISTI   TX           78426-1021
VESTA M. MCDERMOTT          630 THE VILLAGE             UNIT 307                                                                      REDONDO BEACH    CA           90277
VICKI ZOE MADISON           225 SOUTH VIA MONTANERA                                                                                   ANAHEIM          CA           92807
VICO SAFETY SOLUTIONS, INC. P.O. BOX 12942                                                                                            ODESSA           TX           79768
VIKING COIL TUBING, LLC     P.O. BOX 1989                                                                                             ADDISON          TX           75001-7555
VINSON & ELKINS LLP         ATTN: DAVID S. MEYER,       666 FIFTH AVENUE, 26TH FLOOR                                                  NEW YORK         NY           10103-0040
                            CLIFFORD THAU, MARISA
                            ANTOS-FALLON, JESSICA C.
                            PEET
VINSON & ELKINS LLP         P.O. BOX 301019                                                                                           DALLAS           TX           75303-1019


                                                                                       In re: MTE Holdings, LLC, et al.
                                                           Case 19-12269-CSS                  Doc 81            Filed 11/13/19   Page 50 of 53
                                                                                                  Creditor Matrix


             Name                       Address 1                             Address 2                          Address 3       Address 4          City        State       Zip      Country
VIPER BIT SERVICES            4720 SUNRISE CIRCLE                                                                                            FARMINGTON      NM         87401
VIPER ENERGY PARTNERS, LLC    500 W. TEXAS                  SUITE 1200                                                                       MIDLAND         TX         79701
VIRGIE NELL ROGERS CARTER     4072 BENBROOK                                                                                                  ABILENE         TX         79605
VIRGINIA HANKINS              132 PRIVATE ROAD 6125                                                                                          QUITMAN         TX         75783
VIRGINIA L NEFF               5915 SABINE DR                                                                                                 MIDLAND         TX         79707
VIRGINIA LOUISE FREDE         25669 FM 2154                                                                                                  NAVASOTA        TX         77868
PODRAZA
VIRGINIA MEADOWS TRUST U/W    P.O. BOX 830241                                                                                                DALLAS          TX         75283
VIRGINIA R. COVER             P.O. BOX 207                                                                                                   ADKINS          TX         78101
VIRGINIA WILLIAMS             1230 N. ISABELA STREET                                                                                         GLENDALE        CA         91207
VIVIAN LENN PERRY CHEW        318 COMMONS DRIVE                                                                                              HOLLY SPRINGS   NC         27540
VIVYAN STEINER                7 LILLIAN CT.                                                                                                  BARBERSVILLE    WV         25504
VLADIMIR NICHOLAS DACKIW      IMMIGRATION TRT               JPMORGAN TRUST CO. OF DELEWAREM           500 STANTON CHRISTIANA                 NEWARK          DE         19713-2350
                                                            TRUSTEE                                   ROAD, 2C/S
VP RATTLESNAKE LLC            C/O VÄRDE PARTNERS, INC.      ATTN: SETH LITCHKE                        901 MARQUETTE AVENUE                   MINNEAPOLIS     MN         55402
                                                                                                      SOUTH, SUITE 3300
VT INTERESTS,LLC              DBA VIBRATION TECHNOLOGY      P.O. BOX 159                                                                     FLORESVILLE     TX         78114
W JEAN LUFT                   13113 SANDSTONE NE                                                                                             ALBUQUERQUE     NM         87111
W W MEEKER TEST TRUST
W&G OILFIELD SERVICES, INC    DEPT. 6121                    P.O. BOX 1572                                                                    MIDLAND         TX         79702
W&W ENERGY SERVICES INC       8820 NW LOOP 338                                                                                               ODESSA          TX         79764
W. CLAYTON GASTON, PLLC       400 W. ILLINOIS, SUITE 120                                                                                     MIDLAND         TX         79701
W.A. WILSON AND COMPANY
W.M. OILFIELD SERVICES, INC   P.O. BOX 1347                                                                                                  MCCAMEY         TX         79752
WADE CHAPMAN                  P.O. BOX 2303                                                                                                  DENTON          TX         76202
WADECO SPECIALTIES, LLC       P.O. BOX 60634                                                                                                 MIDLAND         TX         79711
WAGNER & BROWN LTD            P.O. BOX 1714                                                                                                  MIDLAND         TX         79702
WALKING C OILFIELD SERVICES   104 SAN POLO COURT                                                                                             VICTORIA        TX         77904
WALTER MASON PRIDDY TRUST     J. DEVIN ALSUP, TRUSTEE       300 N MARIENFELD ST                       SUITE 700                              MIDLAND         TX         79701
WARRIOR ENERGY, LLC           PAYABLE TO VIVA CAPITAL       FUNDING, INC.                             P.O. BOX 17548                         EL PASO         TX         79917
WASTE MANAGEMENT ENERGY       P.O. BOX 7400                                                                                                  PASADENA        CA         91109-7400
SERVICES
WATER RESCUE SERVICES, LLC    131 E. EXCHANGE AVENUE,                                                                                        FORTH WORTH     TX         76164
                              #216
WATER TRANSFER, LLC           619 W. TEXAS                  SUITE 111                                                                        MIDLAND         TX         79701
WATER WORKS FIELD             2425 STAFFORD BLVD.                                                                                            PECOS           TX         79772
SERVICES, LLC
WATERBRIDGE TEXAS             ATTN: JASON LONG              840 GESSNER, SUITE 100                                                           HOUSTON         TX         77024
MIDSTREAM LLC
WATERBRIDGE TEXAS             ATTN: JASON LONG              840 GESSNER, SUITE 100                                                           HOUSTON         TX         77024
OPERATING, LLC
WATERBRIDGE TEXAS             C/O PORTER HEDGES LLP         ATTN: JOHN F. HIGGINS, KIRAN K.           1000 MAIN STREET,36TH FL               HOUSTON         TX         77002
OPERATING, LLC                                              VAKAMUDI
WATERFLEET, LLC               10110 MOURSUND BLVD                                                                                            SAN ANTONIO     TX         78221
WB SUPPLY AND BASIN SUPPLY,   RENAE HOTZ, PRES              P.O. BOX 206620                                                                  DALLAS          TX         75320-6620
LP
WBA RESOURCES LTD             110 W LOUISIANA AVE                                                                                            MIDLAND         TX         79701
WBA RESOURCES LTD             P.O. BOX 50468                                                                                                 MIDLAND         TX         79710
WEATHERFORD ARTIFICIAL LIFT   P.O. BOX 301003                                                                                                DALLAS          TX         75303-1003
SYSTEMS
WEAVER AND TIDWELL, L.L.P.    400 W. ILLINOIS AVE, SUITE                                                                                     MIDLAND         TX         79701
                              1550
WEAVER AND TIDWELL, LLP       2821 WEST 7TH STREET , SUITE SUITE 700                                                                         FORT WORTH      TX         76107
                              700
WEHE FAMLY TRUST              3182 VISTA DEL RIO                                                                                             FALLBROOK       CA         92028
WELL DATA LABS                1675 LARIMER STREET SUITE    SUITE 700                                                                         DENVER          CO         80202
                              700




                                                                                              In re: MTE Holdings, LLC, et al.
                                                           Case 19-12269-CSS                Doc 81            Filed 11/13/19   Page 51 of 53
                                                                                                Creditor Matrix


            Name                          Address 1                             Address 2                      Address 3       Address 4            City        State       Zip      Country
WELLBORE FISHING & RENTAL       P.O. BOX 2818                                                                                              HOUMA           LA           70361
TOOLS LLC
WELLEZ INFORMATION              11931 WICKCHESTER LANE        SUITE 102                                                                    HOUSTON         TX           77043
MANAGEMENT, LLC
WELL-FOAM,INC. , C/O SECURITY   600 N. MARIENFELD SUITE 200   SUITE 200                                                                    MIDLAND         TX           79701
BANK
WELLTEC, INC.                   22440 MERCHANTS WAY                                                                                        KATY            TX           77449
WEST TEXAS MINERALS, LLC        520 MADISON AVENUE, 30TH                                                                                   NEW YORK        NY           10022
                                FLOOR
WEST TEXAS OFFICE               1403 N. BIG SPRING ST.                                                                                     MIDLAND         TX           79701
EQUIPMENT
WEST TEXAS PREMIX PITS, LP      P.O. BOX 1784                                                                                              MIDLAND         TX           79702
WEST TEXAS SILVERBACKS
WESTCO FAMILY LIMITED
PARTNERSHIP
WESTERN ABSTRACT & TITLE        P.O. BOX 989, 321 S. OAK                                                                                   PECOS           TX           79772
CO.
WESTERN FALCON                  P.O. BOX 670682                                                                                            DALLAS          TX           75267-0682
WESTERN PETROLEUM, LLC          PILOT LOGISTICS               P.O. BOX 677732                                                              DALLAS          TX           75267-7732
WESTERNGECO,LLC , JP            P.O. BOX 732150                                                                                            DALLAS          TX           75373-2150
MORGAN CHASE
WESTWAY RANCH, LLC              P.O. BOX 10282                                                                                             MIDLAND         TX           79702
WEX BANK                        P.O. BOX 6293                                                                                              CAROL STREAM    IL           60197-6293
WHETSTONE ENERGY, LLC           P.O. BOX 470274                                                                                            FORT WORTH      TX           76147
WHITNEY ICENHAUER               2200 SHARON LANE                                                                                           AUSTIN          TX           78703
WI-CCS, LP                      P.O. BOX 100903                                                                                            FORT WORTH      TX           76185
WILBANKS TRUCKING SERVICES,     11246 LOVINGTON HWY                                                                                        ARTESIA         NM           88210
LLC
WILD HORSE ENERGY SERVICES      1905 MORGAN WAY                                                                                            MIDLAND         TX           79705

WILDCAT OIL TOOLS, LLC          P.O. BOX 50592                                                                                             MIDLAND         TX           79710
WILDCAT TECHNOLOGIES, LLC       218 HIGGINS STREET                                                                                         HUMBLE          TX           77338
WILDHORSE PRODUCTION            218 N. MAIN ST                UNIT C                                                                       MIDLAND         TX           79701
COMPANY, LLC
WILLIAM A. SHIELDS TRUST        296 ARGONNE AVENUE                                                                                         LONG BEACH      CA           90803
WILLIAM C GORHAM                555 S GILPIN ST                                                                                            DENVER          CO           80209-4509
WILLIAM C. WARD                 5949 SHERRY LANE              SUITE 1650                                                                   DALLAS          TX           75225
WILLIAM CARL PFLUGER            TRUSTEE                       2133 OFFICE PARK DRIVE                                                       SAN ANGELO      TX           76904
WILLIAM H. DUNHAM               3707 GILBERT #6                                                                                            DALLAS          TX           75219
WILLIAM J. BICKLEY
WILLIAM JAY MADISON             P.O. BOX 921                                                                                               TEKOA           WA           99033
WILLIAM JON CURRIE TRUST        BARBARA LU CURRIE RATLIFF     P.O. BOX 65                                                                  GARDEN CITY     TX           79739
                                TRUSTEE
WILLIAM JOSEPH BICKLEY          2194 APPLEWOOD ST.                                                                                         COLTON          CA           92324
WILLIAM KAY JAMISON             5424 N. BAGGETT                                                                                            HOBBS           NM           88242
WILLIAM L. CHAMBERS             213 W BOLTON ST               APT. A                                                                       SAVANNAH        GA           31401
WILLIAM MATTHEW ROBINSON        C/O WELLS FARGO, OIL, GAS,    MINERAL ADMIN                         P.O. BOX 5383                          DENVER          CO           80217
                                AND
WILLIAM NEEL CURRIE             FBO W.J. CURRIE, LAURA        HUITT TRUSTEE                         P.O. BOX 65                            GARDEN CITY     TX           79739
TESTAMENTARY                    RATLIFF
WILLIAM OLIVER DANIEL           P.O. BOX 52                                                                                                CELBURNE        TX           76033
WILLIAM R. HILLIARD             1265 HUGHES LANE                                                                                           LEXINGTON       KY           40511
WILLIAM RITCHIE KEEBLE III      1ST FINANCIAL TRUST & ASSET   MGT COMP                              P.O. BOX 701                           ABILENE         TX           79601
TRUST
WILLIAM S. ROBINSON             P.O. BOX 5383                                                                                              DENVER          CO           80217
WILLIAM SLACK MONTGOMERY
TRUST
WILLIAM T. HEALD                696 PUDDING HILL ROAD                                                                                      HAMPTON         CT           06247


                                                                                            In re: MTE Holdings, LLC, et al.
                                                        Case 19-12269-CSS                    Doc 81            Filed 11/13/19   Page 52 of 53
                                                                                                 Creditor Matrix


             Name                       Address 1                            Address 2                          Address 3       Address 4         City            State       Zip      Country
WILLIAM T. HILLIARD
WILLIAM TRAVIS LATTNER III    2306 BROKEN BOUGH LANE                                                                                        ARLINGTON        TX           76001
WILSHIRE MANOR, LP            3701 TURTLE CREEK             SUITE 10-J                                                                      DALLAS           TX           75219
WINCH AND WRENCH, INC.        DBA BLUESKY ENERGY            P.O. BOX 12787                                                                  ODESSA           TX           79768
                              SERVICES
WINDI GRIMES, TRUSTEE         3310 WEST MAIN ST                                                                                             HOUSTON          TX           77098
WINDI PHILLIPS 1983 TRUST
WINDOM ROYALTIES LLC          P.O. BOX 660082                                                                                               DALLAS           TX           75266-0082
WINDOW DECOR                  9901 SCR 1218                                                                                                 MIDLAND          TX           79706
WINTHROP STILES & WIFE, SUE   3075 HENDRICKS ROAD                                                                                           LAKEPORT         CA           95453
STILES
WIPHARR' TRAVIS LAMAR III                                                                                                                                    TX           11111
WJM CONSULTING, LLC           ATTN: WESLEY J. MORGAN        20103 BYRD AVENUE                                                               LAGO VISTA       TX           78645
WLP OILFIELD SERVICES, LP     P.O. BOX 1270                                                                                                 MIDLAND          TX           79702
WOLFEPAK SOFTWARE             2901 SOUTH 1ST                                                                                                ABILENE          TX           79605
WOLSELEY INDUSTRIAL GROUP     4407 W. INDUSTRIAL AVE                                                                                        MIDLAND          TX           79703-7601
WOODY ADAMS
WOODY KENT COWAN              1504 CHERRY DRIVE                                                                                             ARLINGTON        TX           76013
WS ENERGY SERVICES            ATTN: STEVEN BISHOP           13330 LEOPARD STREET, SUITE 32                                                  CORPUS CHRISTI   TX           78410-4481
WS ENERGY SERVICES, LLC       P.O. BOX 1188                                                                                                 PREMONT          TX           78375
WTG FUELS, INC.               P.O. BOX 3514                                                                                                 MIDLAND          TX           79705
XCHEM OILFIELD CHEMICALS      P.O. BOX 971433                                                                                               DALLAS           TX           75397-1433
YELLOWJACKET OILFIELD         P.O. BOX 678349                                                                                               DALLAS           TX           75267-8349
SERVICES
YOUNG CONAWAY STARGATT &      ATTN: ROBERT S, BRADY         RODNEY SQUARE                            1000 N. KING STREET                    WILMINGTON       DE           19801
TAYLOR                        EDMON L. MORTON, KENNETH
                              J. ENOS, JACLYN C.
                              WEISSGERBER
YOUNG FAMILY 1989 LIVING      JOHN W. & DORIS N. YOUNG,
TRUST UTA                     TRUSTEE
YOUNG FAMILY, LLC             ATTN: JEFF YOUNG              11549 SOUTH 49TH W. AVE.                                                        SAPULPA          OK           74066
YOUNGS MOBILE HOMES           4830 E. SEMINOLE HIGHWAY                                                                                      HOBBS            NM           88240
Z & L CONSULTING              P.O. BOX 9294                                                                                                 MIDLAND          TX           79708
Z&R INVESTMENTS LIMITED       13636 BRETON RIDGE ST.                                                                                        HOUSTON          TX           77070
ZACHARIAH J REID              P.O. BOX 899                                                                                                  SPRING           TX           77383-0899
ZEMULA JOHNSON                                                                                                                                               TX           11111
ZOOM HOT SHOT &               C/O SOUTHWEST COMMERCIAL CAPITAL, INC.                                 P.O. BOX 872                           ODESSA           TX           78257
TRANSPORTATION, LLC
ZPZ DELAWARE I, LLC           17802 IH-10 WEST, SUITE 300                                                                                   SAN ANTONIO      TX           78257




                                                                                             In re: MTE Holdings, LLC, et al.
                                Case 19-12269-CSS                 Doc 81           Filed 11/13/19               Page 53 of 53

 Fill in this information to identify the case and this filing:


                    MTE Holdings LLC
 Debtor Name __________________________________________________________________
                                                                              Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):      19-12269 (KBO)
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         #    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         #    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         #    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         #    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         #    Schedule H: Codebtors (Official Form 206H)

         #    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         #    Amended Schedule ____


        #     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         X                                                    Consolidated Creditor Matrix
         #    Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     11/13/2019
        Executed on _______________
                           MM / DD / YYYY
                                                           " /s/ Mark A. Siffin
                                                               _________________________________________________________________________
                                                                Signature of individual signing on behalf of debtor



                                                                  Mark A. Siffin
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



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